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               EXHIBIT
                 “A”
                           Case 2:20-cv-02539-JPM-cgc Document 22-1 Filed 09/10/20 Page 2 of 53                                                            PageID 219
                     FCI Lender Services.J Inc.                                                                                                                            Report Date: 11/01/2018

                     Customer Service: (800) 931-2424                          Fax: 714-282-5775
                 ~   Customer Infonnation www.trustfci.com NMLS #4920, BRE #01022780                                                                       Loan Master Report
Company                FCI Lender Services, Inc.                                                                                   Account Number:

                                                                                                                                   Primary Borrower:            DONAL MCDONAGH
                       PO BOX 27370

                                                                                                                                   Primary Property:            2416 SANDERS RIDGE LN
                       Anaheim CA 92809-0112
                                                                                                                                                                GERMANTOWN TN GERMANTOWN
                       800-931-2424




                                                                                       Account Activity From 4/7/2015
   Transact on        Payment         Reference                  Description           Transaction       Interest      Principal           LateChgs    Other          Reserve    Impound        CurrentBalance
      Date            Due Date                                                          Amount



                                                                                                                                                                                                        $0.00

   04/07/2015        04/07/2015        BOARD       Adj-LC                                       $0.00        $0.00         $0.00              $0.00     $0.00            $0.00      $0.00               $0.00

   04/07/2015                          BOARD       Late Charge                              -$898.86                                       -$898.86

   04/08/2015        10/01/2014         2044       RegPmt                                  $5,992.45    $2,635.82      $3,356.63              $0.00     $0.00            $0.00      $0.00          -$3,356.63

   04/08/2015                           2044       tate Charge                                 $0.00                                          $0.00

   04/08/2015        04/08/2015         2045       OtherCash                              -$1,000.00         $0.00         $0.00              $0.00     $0.00       -$1,000.00      $0.00           $3,356.63

   04/08/2015                           2045       Late Charge                                 $0.00                                          $0.00

   04/08/2015        04/08/2015         2046       OtherCash                               $1,800.00         $0.00         $0.00              $0.00     $0.00        $1,800.00      $0.00          -$3,356.63

   04/08/2015                           2046       tate Charge                                 $0.00                                          $0.00
   04/08/2015        04/08/2015         2046       OtherCash                              -$1,800.00         $0.00         $0.00              $0.00     $0.00       -$1,800.00      $0.00          -$3,356.63

   04/08/2015                           2046       Late Charge                                 $0.00                                          $0.00

   04/08/2015        11/01/2014         2044       RegPmt                                  $5,992.45    $2,618.60      $3,373.85              $0.00     $0.00            $0.00      $0.00          -$6,730.48

   04/08/2015                           2044       tate Charge                                 $0.00                                          $0.00

   04/08/2015        11/01/2014         2044       RegPmt                                  $5,992.45    -$2,618.60     $3,373.85              $0.00     $0.00            $0.00      $0.00           $3,356.63

   04/08/2015                           2044       Late Charge                                 $0.00                                          $0.00

   04/08/2015        10/01/2014         2044       RegPmt                                 -$5,992.45    -$2,635.82     -$3,356.63             $0.00     $0.00            $0.00      $0.00               $0.00

   04/08/2015                           2044       tate Charge                                 $0.00                                          $0.00

   04/08/2015        11/01/2014         2044       RegPmt                                  $5,992.45    $2,513.86      $3,478.59              $0.00     $0.00            $0.00      $0.00          -$3,478.59

   04/08/2015                           2044       Late Charge                                 $0.00                                          $0.00

   04/08/2015        04/08/2015         2045       OtherCash                               $1,000.00         $0.00         $0.00              $0.00     $0.00        $1,000.00      $0.00          -$3,478.59

   04/08/2015                           2045       Late Charge                                 $0.00                                          $0.00
   08/03/2015        08/03/2015         2144       OtherCash                               $5,992.45         $0.00         $0.00              $0.00     $0.00        $5,992.45      $0.00          -$3,478.59

   08/03/2015                           2144       Late Charge                                 $0.00                                          $0.00
   09/25/2015        12/01/2014         2195       RegPmt                                  $5,992.45    $2,496.46      $3,669.32              $0.00     $0.00        -$173.33       $0.00          -$7,147.91

   09/25/2015                           2195       Late Charge                                 $0.00                                          $0.00
   09/25/2015        12/01/2014         2195       RegPmt                                  $5,992.45    $2,496.99      $3,668.79              $0.00     $0.00        -$173.33       $0.00         -$10,816.70

   09/25/2015                           2195       Late Charge                                 $0.00                                          $0.00
   09/25/2015        12/01/2014         2195       RegPmt                                 -$5,992.45    -$2,496.99     -$3,668.79             $0.00     $0.00         $173.33       $0.00          -$7,147.91

   09/25/2015                           2195       Late Charge                                 $0.00                                          $0.00
   11/09/2015        02/01/2015        TRUST       RegPmt                                       $0.00   -$2,460.21     -$3,705.57             $0.00     $0.00        $6,165.78      $0.00          -$3,442.34

   11/09/2015                          TRUST       Late Charge                               $308.29                                        $308.29

   11/09/2015        02/01/2015        TRUST       RegPmt                                       $0.00   $2,460.21      $3,705.57              $0.00     $0.00       -$6,165.78      $0.00          -$7,147.91

   11/09/2015                          TRUST       Late Charge                              -$308.29                                       -$308.29

   11/09/2015        01/01/2015         2236       RegPmt                                  $5,992.45    $2,478.64      $3,687.14              $0.00     $0.00        -$173.33       $0.00         -$10,835.05

   11/09/2015                           2236       Late Charge                              -$308.29                                        $308.29


Centurion Powered                                                                                        Page 1 of 5                                                                        11/01/2018 2:28 p.m.
                          Case 2:20-cv-02539-JPM-cgc Document 22-1 Filed 09/10/20 Page 3 of 53                                              PageID 220
                    FCI Lender Services.J Inc.                                                                                                           Report Date: 11/01/2018

                    Customer Service: (800) 931-2424             Fax: 714-282-5775
                ~   Customer Infonnation www.trustfci.com NMLS #4920, BRE #01022780                                                         Loan Master Report
   11/09/2015       01/01/2015    2236     RegPmt                               $5,992.45    $2,478.12      $3,687.66       $0.00         $0.00     -$173.33      $0.00         -$14,522.71

   11/09/2015                     2236     Late Charge                            $308.29                                -$308.29

   11/09/2015       01/01/2015    2236     RegPmt                               -$5,992.45   -$2,478.64     -$3,687.14      $0.00         $0.00     $173.33       $0.00         -$10,835.57

   11/09/2015                     2236     Late Charge                            $308.29                                $308.29
   12/31/2015       03/01/2015    2301     RegPmt                               $5,992.45    -$2,441.68     -$3,724.10      $0.00         $0.00     $173.33       $0.00          -$7,111.47

   12/31/2015                     2301     Late Charge                            $308.29                                $308.29
   12/31/2015       02/01/2015    2301     RegPmt                               $5,992.45    $2,459.68      $3,706.10       $0.00         $0.00     -$173.33      $0.00         -$10,817.57

   12/31/2015                     2301     Late Charge                           -$308.29                                -$308.29

   12/31/2015       03/01/2015    2301     RegPmt                               $5,992.45    $2,441.68      $3,724.10       $0.00         $0.00     -$173.33      $0.00         -$14,541.67

   12/31/2015                     2301     Late Charge                           -$308.29                                -$308.29

   03/29/2016       03/01/2015   TRUST     RegPmt                                    $0.00   $1,747.83      $3,724.63       $0.00         $0.00   -$5,472.46      $0.00         -$18,266.30

   03/29/2016                    TRUST     Late Charge                           -$308.29                                -$308.29

   05/31/2016       05/31/2016    308      OtherCash                            $5,992.45        $0.00          $0.00       $0.00         $0.00    $5,992.45      $0.00         -$18,266.30

   05/31/2016                     308      Late Charge                              $0.00                                   $0.00

   06/20/2016       06/20/2016   ck 2532   Tax Payment Adv                     -$18,337.51       $0.00          $0.00       $0.00   -$18,337.51        $0.00      $0.00         -$18,266.30

   06/20/2016                    ck 2532   Late Charge                              $0.00                                   $0.00

   07/05/2016       07/05/2016   Reserve   TrustOp                                $173.33        $0.00          $0.00       $0.00         $0.00     -$173.33      $0.00         -$18,266.30

   07/05/2016                    Reserve   Late Charge                              $0.00                                   $0.00

   07/05/2016       04/01/2015    2458     RegPmt                               $5,992.45    $2,422.53      $3,743.25       $0.00         $0.00     -$173.33      $0.00         -$22,009.55

   07/05/2016                     2458     Late Charge                              $0.00                                   $0.00

   07/14/2016       04/01/2015    2458     NSF                                  -$5,992.45   -$2,422.53     -$3,743.25      $0.00         $0.00     $173.33       $0.00         -$18,266.30

   07/14/2016                     2458     Late Charge                              $0.00                                   $0.00

   07/14/2016       07/14/2016             NSF Payment Charge                      -$25.00       $0.00          $0.00       $0.00       -$25.00        $0.00      $0.00         -$18,266.30

   07/22/2016       04/01/2015    315      RegPmt                               $5,992.45    $2,422.53      $3,743.25       $0.00         $0.00     -$173.33      $0.00         -$22,009.55

   07/22/2016                     315      Late Charge                              $0.00                                   $0.00
   09/19/2016       09/19/2016    2522     OtherCash                            $4,000.00        $0.00          $0.00       $0.00         $0.00    $4,000.00      $0.00          $22,009.55

   09/19/2016                     2522     Late Charge                              $0.00                                   $0.00
   09/19/2016       05/01/2015   TRUST     RegPmt                                    $0.00   $2,403.81      $3,588.64       $0.00         $0.00   -$5,992.45      $0.00         -$25,598.19

   09/19/2016                    TRUST     Late Charge                           -$299.62                                -$299.62
   09/19/2016       09/19/2016    2523     OtherCash                            $5,992.45        $0.00          $0.00       $0.00         $0.00    $5,992.45      $0.00         -$25,598.19

   09/19/2016                     2523     Late Charge                              $0.00                                   $0.00

   09/19/2016       06/01/2015   TRUST     RegPmt                                    $0.00   $2,385.87      $3,606.58       $0.00         $0.00   -$5,992.45      $0.00         -$29,204.77

   09/19/2016                    TRUST     Late Charge                           -$299.62                                -$299.62
   10/27/2016       08/01/2015   TRUST     RegPmt                                    $0.00   $2,349.71      $3,642.74       $0.00         $0.00   -$5,992.45      $0.00         -$32,847.51

   10/27/2016                    TRUST     Late Charge                           -$299.62                                -$299.62

   10/27/2016       10/28/2016     135     OtherCash                           $10,018.00        $0.00          $0.00       $0.00       $18.00    $10,000.00      $0.00         -$32,847.51

   10/27/2016                      135     Late Charge                              $0.00                                   $0.00
   10/27/2016       07/01/2015   TRUST     RegPmt                                    $0.00   $2,367.83      $3,624.62       $0.00         $0.00   -$5,992.45      $0.00         -$36,472.13

   10/27/2016                    TRUST     Late Charge                            $299.62                                -$299.62
   10/27/2016       10/27/2016    CBP      [CBP] VCheck Confirmation 1630100       -$18.00       $0.00          $0.00       $0.00       $18.00         $0.00      $0.00         -$36,472.13

   10/27/2016                     CBP      Late Charge                              $0.00                                   $0.00

   11/28/2016       09/01/2015    1128     RegPmt                              $10,018.00    $2,331.50      $3,660.95       $0.00       $18.00     $4,007.55      $0.00         -$40,133.08

   11/28/2016                     1128     Late Charge                            $299.62                                $299.62
   11/28/2016       11/28/2016    CBP      [CBP] VCheck Confirmation 1633300       -$18.00       $0.00          $0.00       $0.00       -$18.00        $0.00      $0.00         -$40,133.08

   11/28/2016                     CBP      Late Charge                              $0.00                                   $0.00

   12/06/2016       12/06/2016   ck 2721   Tax Payment Adv                     -$18,832.59       $0.00          $0.00       $0.00   $18,832.59         $0.00      $0.00         -$40,133.08

   12/06/2016                    ck 2721   Late Charge                              $0.00                                   $0.00


Centurion Powered                                                                             Page 2 of 5                                                                 11/01/2018 2:28 p.m.
                           Case 2:20-cv-02539-JPM-cgc Document 22-1 Filed 09/10/20 Page 4 of 53                                           PageID 221
                     FCI Lender Services,1 Inc.                                                                                                        Report Date: 11/01/2018

                     C'usiomcr Service: (800) 931-2424             Fax: 714-282-5775
                •"   Customer Informaiion: www.triistfci.com NMLS #4920, BRE #01022780                                                    Loan Master Report
   12/29/2016        10/01/2015    1229      RegPmt                              $10,018.00    $2,313.19      $3,679.26       $0.00   $18.00     $4,007.55      $0.00         -$43,812.34

   12/29/2016                      1229      Late Charge                           -$299.62                                -$299.62

   12/29/2016        11/01/2015   TRUST      RegPmt                                   $0.00    $2,294.80      $3,697.65       $0.00     $0.00   -$5,992.45      $0.00         -$47,509.99

   12/29/2016                     TRUST      Late Charge                              $0.00                                   $0.00

   12/29/2016        12/29/2016     CBP      [CBP] VCheck Confirmation 1636400      -$18.00        $0.00          $0.00       $0.00   -$18.00        $0.00      $0.00         -$47,509.99

   12/29/2016                       CBP      Late Charge                              $0.00                                   $0.00

   01/30/2017        01/30/2017     CBP      [CBP] VCheck Confirmation 1703000      -$18.00        $0.00          $0.00       $0.00   -$18.00        $0.00      $0.00         -$47,509.99

   01/30/2017                       CBP      Late Charge                              $0.00                                   $0.00

   01/31/2017        01/01/2016   TRUST      RegPmt                                   $0.00    $2,257.73      $3,734.72       $0.00     $0.00   -$5,992.45      $0.00         -$51,244.71

   01/31/2017                     TRUST      Late Charge                           -$299.62                                -$299.62

   01/31/2017        12/01/2015    13017     RegPmt                              $10,018.00    $2,276.31      $3,716.14       $0.00   $18.00     $4,007.55      $0.00         -$54,960.85

   01/31/2017                      13017     Late Charge                           -$299.62                                -$299.62

   02/27/2017        02/01/2016     227      RegPmt                              $10,018.00    $2,239.05      $3,753.40       $0.00   $18.00     $4,007.55      $0.00         -$58,714.25

   02/27/2017                       227      Late Charge                           -$299.62                                -$299.62

   02/27/2017        02/27/2017     CBP      [CBP] VCheck Confirmation 1705800      -$18.00        $0.00          $0.00       $0.00   -$18.00        $0.00      $0.00         -$58,714.25

   02/27/2017                       CBP      Late Charge                              $0.00                                   $0.00

   03/02/2017        02/01/2016     227      NSF                                 -$10,018.00   -$2,239.05     -$3,753.40      $0.00   -$18.00   -$4,007.55      $0.00         -$54,960.85

   03/02/2017                       227      Late Charge                            $299.62                                $299.62

   03/02/2017        03/02/2017              NSF Payment Charge                     -$25.00        $0.00          $0.00       $0.00   -$25.00        $0.00      $0.00         -$54,960.85

   03/29/2017        02/01/2016     330      RegPmt                              $10,018.00    $2,239.05      $3,753.40       $0.00   $18.00     $4,007.55      $0.00         -$58,714.25

   03/29/2017                       330      Late Charge                           -$299.62                                -$299.62

   03/30/2017        03/30/2017     CBP      [CBP] VCheck Confirmation 1708900      -$18.00        $0.00          $0.00       $0.00   -$18.00        $0.00      $0.00         -$58,714.25

   03/30/2017                       CBP      Late Charge                              $0.00                                   $0.00

   04/27/2017        04/27/2017     CBP      [CBP] VCheck Confirmation 1711700      -$18.00        $0.00          $0.00       $0.00   -$18.00        $0.00      $0.00         -$58,714.25

   04/27/2017                       CBP      Late Charge                              $0.00                                   $0.00
   04/27/2017        06/01/2016   TRUST-4    RegPmt                                   $0.00    $2,163.42      $3,829.03       $0.00     $0.00   -$5,992.45      $0.00         -$62,543.28

   04/27/2017                     TRUST-4    Late Charge                           -$299.62                                -$299.62

   04/27/2017        04/27/2017     427      OtherCash                           $20,018.00        $0.00          $0.00       $0.00   $18.00    $20,000.00      $0.00         -$62,543.28

   04/27/2017                       427      Late Charge                              $0.00                                   $0.00

   04/27/2017        04/01/2016   TRUST-2    RegPmt                                   $0.00    $2,201.43      $3,791.02       $0.00     $0.00   -$5,992.45      $0.00         -$66,334.30

   04/27/2017                     TRUST-2    Late Charge                           -$299.62                                -$299.62

   04/27/2017        03/01/2016   TRUST- 1   RegPmt                                   $0.00    $2,220.29      $3,772.16       $0.00     $0.00   -$5,992.45      $0.00         -$70,106.46

   04/27/2017                     TRUST- 1   Late Charge                           -$299.62                                -$299.62

   04/27/2017        05/01/2016   TRUST-3    RegPmt                                   $0.00    $2,182.47      $3,809.98       $0.00     $0.00   -$5,992.45      $0.00         -$73,916.44

   04/27/2017                     TRUST-3    Late Charge                           -$299.62                                -$299.62

   05/31/2017        07/01/2016     531      RegPmt                              $10,018.00    $2,144.27      $3,848.18       $0.00   $18.00     $4,007.55      $0.00         -$77,764.62

   05/31/2017                       531      Late Charge                              $0.00                                   $0.00

   05/31/2017        05/31/2017     CBP      [CBP] VCheck Confirmation 1715100      -$18.00        $0.00          $0.00       $0.00   -$18.00        $0.00      $0.00         -$77,764.62

   05/31/2017                       CBP      Late Charge                              $0.00                                   $0.00

   06/30/2017        06/30/2017     CBP      [CBP] VCheck Confirmation 1718100      -$18.00        $0.00          $0.00       $0.00   -$18.00        $0.00      $0.00         -$77,764.62

   06/30/2017                       CBP      Late Charge                              $0.00                                   $0.00

   06/30/2017        08/01/2016    63017     RegPmt                              $10,018.00    $2,125.03      $3,867.42       $0.00   $18.00     $4,007.55      $0.00         -$81,632.04

   06/30/2017                      63017     Late Charge                              $0.00                                   $0.00
   06/30/2017        09/01/2016   TRUST      RegPmt                                   $0.00    $2,105.70      $3,886.75       $0.00     $0.00   -$5,992.45      $0.00         -$85,518.79

   06/30/2017                     TRUST      Late Charge                              $0.00                                   $0.00
   07/31/2017        10/01/2016     731      RegPmt                              $10,018.00    $2,086.26      $3,906.19       $0.00   $18.00     $4,007.55      $0.00         -$89,424.98

   07/31/2017                       731      Late Charge                           -$299.62                                -$299.62



Centurion Powered                                                                               Page 3 of 5                                                             11/01/2018 2:28 p.m.
                           Case 2:20-cv-02539-JPM-cgc Document 22-1 Filed 09/10/20 Page 5 of 53                                                     PageID 222
                     FCI Lender Services,1 Inc.                                                                                                                 Report Date: 11/01/2018

                     C'usiomcr Service: (800) 931-2424             Fax: 714-282-5775
                •"   Customer Informaiion: www.triistfci.com NMLS #4920, BRE #01022780                                                             Loan Master Report
   07/31/2017        07/31/2017     CBP      [CBP] VCheck Confirmation 1721200       -$18.00        $0.00             $0.00        $0.00       -$18.00       $0.00       $0.00         -$89,424.98

   07/31/2017                       CBP      Late Charge                              $0.00                                        $0.00

   07/31/2017        11/01/2016    TRUST     RegPmt                                    $0.00     $2,066.73        $3,925.72        $0.00         $0.00   -$5,992.45      $0.00         -$93,350.70

   07/31/2017                      TRUST     Late Charge                           -$299.62                                     -$299.62

   08/31/2017        08/31/2017     CBP      [CBP] VCheck Confirmation 1724300       -$18.00        $0.00             $0.00        $0.00       -$18.00       $0.00       $0.00         -$93,350.70

   08/31/2017                       CBP      Late Charge                              $0.00                                        $0.00
   09/01/2017        12/01/2016     831      RegPmt                               $10,018.00     $2,047.10        $3,945.35        $0.00        $18.00   $4,007.55       $0.00         -$97,296.05

   09/01/2017                       831      Late Charge                              $0.00                                        $0.00

   09/29/2017        01/01/2017   9292017    RegPmt                               $10,018.00     $2,027.38        $3,965.07        $0.00        $18.00   $4,007.55       $0.00        -$101,261.12

   09/29/2017                     9292017    Late Charge                           -$299.62                                     -$299.62

   09/29/2017        09/29/2017     CBP      [CBP] VCheck Confirmation 1727200       -$18.00        $0.00             $0.00        $0.00       -$18.00       $0.00       $0.00        -$101,261.12

   09/29/2017                       CBP      Late Charge                              $0.00                                        $0.00

   10/04/2017        10/04/2017              NSF Payment Charge                      -$25.00        $0.00             $0.00        $0.00       -$25.00       $0.00       $0.00        -$101,261.12

   10/04/2017        01/01/2017   9292017    NSF                                 -$10,018.00    -$2,027.38       -$3,965.07        $0.00       -$18.00   -$4,007.55      $0.00         -$97,296.05

   10/04/2017                     9292017    Late Charge                            $299.62                                      $299.62

   10/06/2017        10/06/2017     CBP      [CBP] VCheck Confirmation 1727900       -$18.00        $0.00             $0.00        $0.00       -$18.00       $0.00       $0.00         -$97,296.05

   10/06/2017                       CBP      Late Charge                              $0.00                                        $0.00

   10/06/2017        01/01/2017     106      RegPmt                                $6,018.00     $2,027.38        $3,965.07        $0.00        $18.00       $7.55       $0.00        -$101,261.12

   10/06/2017                       106      Late Charge                              $0.00                                        $0.00

   10/12/2017        01/01/2017     106      NSF                                  -$6,018.00    -$2,027.38       -$3,965.07        $0.00       -$18.00       -$7.55      $0.00         -$97,296.05

   10/12/2017                       106      Late Charge                              $0.00                                        $0.00

   10/12/2017        10/12/2017              NSF Payment Charge                      -$25.00        $0.00             $0.00        $0.00       -$25.00       $0.00       $0.00         -$97,296.05

   11/13/2017        11/13/2017    Regular   check                                -$5,962.57        $0.00             $0.00        $0.00         $0.00   -$5,962.57      $0.00         -$97,296.05

   11/13/2017                      Regular   Late Charge                              $0.00                                        $0.00

   11/13/2017        11/13/2017   TRANSFER   Funding                             $405,475.37        $0.00       $405,475.37        $0.00         $0.00       $0.00       $0.00        -$502,771.42

   11/13/2017                     TRANSFER   Late Charge                              $0.00                                        $0.00

                                                                                               $58,680.98      $502,771.42    $-6,318.03   -$37,324.10    -$173.33       $0.00




Centurion Powered                                                                                Page 4 of 5                                                                     11/01/2018 2:28 p.m.
                           Case 2:20-cv-02539-JPM-cgc Document 22-1 Filed 09/10/20 Page 6 of 53                                                         PageID 223
                     FCI Lender Services,1 Inc.                                                                                                                        Report Date: 11/01/2018

                     C'usiomcr Service: (800) 931-2424               Fax: 714-282-5775
                •"   Customer Informaiion: www.triistfci.com NMLS #4920, BRE #01022780                                                                  Loan Master Report

                                                                                  Outstanding Charges and Advances

Date of       Reference      Description                             Interest   Interest      Deferred        Assess Fin   Owned To          Original         Unpaid

Charge                                                                  Rate    From                               Chgs    Account           Amount          Balance
                                                                                                                                                                          Accruedlntere          TotalDue


04/27/2017 CBP               [CBP] VCheck Confirmation 17117000351     0.00%                             No        $0.00         BROKER       $18.00            $0.00             $0.00             so.oo



03/30/2017 CBP               [CBP] VCheck Confirmation 17089001576     0.00%                             No        $0.00         BROKER        $18.00           $0.00             $0.00             $0.00


 10/06/2017   CBP            [CBP] VCheck Confirmation 17279000686     0.00%                             No        $0.00         BROKER       $18.00           $18.00             $0.00            $18.00


 10/04/2017                  NSF Payment Charge                        0.00%                             No        $0.00         BROKER                        $25.00             $0.00            $25.00
                                                                                                                                              $25.00


 10/27/2016   CBP            [CBP] VCheck Confirmation 16301000951     0.00%                             No        $0.00         BROKER       $18.00            $0.00             $0.00             $0.00



01/30/2017    CBP            [CBP] VCheck Confirmation 17030001261     0.00%                             No        $0.00         BROKER       $18.00            $0.00             $0.00             $0.00



03/28/2015 Board             Corporate Advance                         6.25%    03/28/2015               No        $0.00     WESTVUENPL         $0.00           $0.00             $0.00             $0.00


 10/12/2017                  NSF Payment Charge                        0.00%                             No        $0.00         BROKER        $25.00          $25.00             $0.00            $25.00


06/30/2017    CBP            [CBP] VCheck Confirmation 17181001413     0.00%                             No        $0.00         BROKER       $18.00            $0.00             $0.00             $0.00



06/20/2016    ck 2532       Tax Payment Adv                            6.00%    06/20/2016               No        $0.00     WESTVUENPL    $18,337.51      $18,337.51         $2,640.60        $20,978.11



03/02/2017                   NSF Payment Charge                        0.00%                             No        $0.00         BROKER       $25.00           $25.00             $0.00            $25.00


 12/06/2016 ck 2721         Tax Payment Adv                            6.00%     12/06/2016              No        $0.00     WESTVUENPL    $18,832.59      $18,832.59         $2,181.44        $21,014.03


07/31/2017    CBP            [CBP] VCheck Confirmation 17212001599                                       No        $0.00         BROKER                         $0.00             $0.00             $0.00
                                                                       0.00%                                                                  $18.00


 11/28/2016   CBP            [CBP] VCheck Confirmation 16333001304     0.00%                             No        $0.00         BROKER                         $0.00             $0.00             $0.00
                                                                                                                                              $18.00


02/27/2017    CBP            [CBP] VCheck Confirmation 17058000690     0.00%                             No        $0.00         BROKER       $18.00           $18.00             $0.00            $18.00



05/31/2017    CBP            [CBP] VCheck Confirmation 17151001673     0.00%                             No        $0.00         BROKER       $18.00            $0.00             $0.00             $0.00



07/14/2016                   NSF Payment Charge                        0.00%                             No        $0.00         BROKER       $25.00           $25.00             $0.00            $25.00


 12/29/2016 CBP              [CBP] VCheck Confirmation 16364000540     0.00%                             No        $0.00         BROKER        $18.00           $0.00             $0.00             $0.00


09/29/2017    CBP            [CBP] VCheck Confirmation 17272001103     0.00%                             No        $0.00         BROKER       $18.00           $18.00             $0.00            $18.00



08/31/2017    CBP            [CBP] VCheck Confirmation 17243001408     0.00%                             No        $0.00         BROKER       $18.00            $0.00             $0.00             $0.00


                                                                                                                                          $37,504.10      $37,324.10         $4,822.04         $42,146.14




Centurion Powered                                                                                        Page 5 of 5                                                                      11/01/2018 2:28 p.m.
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LoanID   TransactionDate effectivedate duedate   TransactionAmt PrincipalAmount InterestAmount escrowamt EndPrincipalBal EndEscrowBal EndUnappliedBal TransactionCode   TransDescription          MoneyType MoneyTypeDescription subcode subcodedesc
               4/16/2018    4/16/2018 2/1/2017                   0             0              0          0     401510.3      ‐20567.91        404.66              140   Service Release                   0 None                       0 NULL
               4/16/2018    4/16/2018 2/1/2017          20567.91               0              0 20567.91       401510.3              0        404.66               12   Escrow Adjustment                 0 None                       0 NULL
               4/16/2018    4/16/2018 2/1/2017          401510.3        401510.3              0          0            0              0        404.66               11   Principal Adjustment              0 None                       0 NULL
                4/4/2018     4/4/2018 2/1/2017                 ‐15             0              0          0     401510.3      ‐20567.91        404.66              730   Other Fees Disb                   5 ACH                       13 Property Inspection
               3/15/2018    3/15/2018 2/1/2017                ‐1.4             0              0          0     401510.3      ‐20567.91        404.66              722   3rd Party Recov Fees Disb         5 ACH                       97 BPO
               3/14/2018    3/13/2018 2/1/2017            181.31               0              0          0     401510.3      ‐20567.91        404.66              260   Unapplied Payment                16 Post Pet ‐ Trustee         0 NULL
                3/8/2018     3/8/2018 2/1/2017                  ‐6             0              0          0     401510.3      ‐20567.91        223.35              722   3rd Party Recov Fees Disb         5 ACH                      211 Flood Cntr New/Xfer
               2/28/2018    2/28/2018 2/1/2017              ‐7.71              0              0          0     401510.3      ‐20567.91        223.35              722   3rd Party Recov Fees Disb         5 ACH                      245 Certified Mail Cost
               2/28/2018    2/28/2018 2/1/2017              ‐1.17              0              0          0     401510.3      ‐20567.91        223.35              722   3rd Party Recov Fees Disb         5 ACH                      245 Certified Mail Cost
               2/28/2018    2/28/2018 2/1/2017              ‐6.69              0              0          0     401510.3      ‐20567.91        223.35              722   3rd Party Recov Fees Disb         5 ACH                      245 Certified Mail Cost
               2/28/2018    2/28/2018 2/1/2017                ‐6.7             0              0          0     401510.3      ‐20567.91        223.35              722   3rd Party Recov Fees Disb         5 ACH                      245 Certified Mail Cost
               2/28/2018    2/28/2018 1/1/2017          ‐5992.45        ‐3965.07       ‐2027.38          0   405475.37       ‐20567.91        223.35              210   Regular Payment                   0 None                       0 NULL
               2/28/2018    2/28/2018 1/1/2017                   0             0              0          0   405475.37       ‐20567.91        223.35               20   Investor Loan Sale                0 None                       0 NULL
               2/28/2018    2/28/2018 1/1/2017                   0             0              0          0   405475.37       ‐20567.91        223.35               21   Inv Loan Purchase                 0 None                       0 NULL
               2/28/2018    2/28/2018 1/1/2017           5992.45         3965.07        2027.38          0     401510.3      ‐20567.91        223.35              210   Regular Payment                   0 None                       0 NULL
               2/19/2018    2/19/2018 2/1/2017                 ‐77             0              0          0     401510.3      ‐20567.91        223.35              722   3rd Party Recov Fees Disb         5 ACH                       85 New Tax Contract
               2/15/2018    2/15/2018 1/1/2017          ‐5992.45               0              0          0   405475.37       ‐20567.91        223.35              260   Unapplied Payment                 8 Other                      0 NULL
               2/14/2018    2/13/2018 1/1/2017            100.49               0              0          0   405475.37       ‐20567.91        6215.8              260   Unapplied Payment                16 Post Pet ‐ Trustee         0 NULL
               2/15/2018    2/13/2018 1/1/2017           5992.45         3965.07        2027.38          0     401510.3      ‐20567.91        223.35              210   Regular Payment                   8 Other                      0 NULL
               2/12/2018    2/12/2018 12/31/2016         ‐150.33               0              0    ‐150.33   405475.37       ‐20718.24       6115.31              511   Tax Bill 1 Disbursement           0 None                      81 NULL
               2/12/2018    2/12/2018 1/1/2017            150.33               0              0     150.33   405475.37       ‐20567.91       6115.31              240   Escrow Only Payment               0 None                       0 NULL
                2/9/2018     2/9/2018 1/1/2017                160              0              0          0   405475.37       ‐20567.91       6115.31              330   Other Fee Payment                 6 Lockbox                    4 NULL
                2/9/2018     2/9/2018 1/1/2017               ‐160              0              0          0   405475.37       ‐20567.91       6115.31              322   3rd Party Recov Fees Pmt          6 Lockbox                   97 NULL
                2/8/2018     2/8/2018 1/1/2017                 ‐15             0              0          0   405475.37       ‐20567.91       6115.31              730   Other Fees Disb                   5 ACH                       13 Property Inspection
                2/8/2018     2/8/2018 1/1/2017               ‐160              0              0          0   405475.37       ‐20567.91       6115.31              730   Other Fees Disb                  32 Check                      4 BPO/Aprsl Cost
                2/6/2018     2/6/2018 12/31/2015        ‐1877.74               0              0 ‐1877.74     405475.37        ‐1877.74       6115.31              511   Tax Bill 1 Disbursement           0 None                      81 NULL
                2/6/2018     2/6/2018 12/31/2016         ‐8155.2               0              0    ‐8155.2   405475.37       ‐10032.94       6115.31              512   Tax Bill 2 Disbursement           0 None                      81 NULL
                2/6/2018     2/6/2018 12/31/2016         ‐150.33               0              0    ‐150.33   405475.37       ‐10183.27       6115.31              511   Tax Bill 1 Disbursement           0 None                      81 NULL
                2/6/2018     2/6/2018 12/31/2017        ‐7019.88               0              0 ‐7019.88     405475.37       ‐17203.15       6115.31              511   Tax Bill 1 Disbursement           0 None                      50 NULL
                2/6/2018     2/6/2018 12/31/2017        ‐3364.76               0              0 ‐3364.76     405475.37       ‐20567.91       6115.31              511   Tax Bill 1 Disbursement           0 None                      51 NULL
               1/17/2018    1/16/2018 1/1/2017            152.74               0              0          0   405475.37               0       6115.31              260   Unapplied Payment                16 Post Pet ‐ Trustee         0 NULL
                1/9/2018     1/9/2018 1/1/2017           6318.03               0              0          0   405475.37               0       5962.57               72   Late Charge Waive                 0 None                       0 NULL
                1/5/2018     1/5/2018 1/1/2017                 ‐15             0              0          0   405475.37               0       5962.57              730   Other Fees Disb                   5 ACH                       13 Property Inspection
                1/5/2018     1/5/2018 1/1/2017           39805.3               0              0          0   405475.37               0       5962.57              320   Legal Fee Payment                 0 None                     156 NULL
                1/5/2018     1/5/2018 1/1/2017          ‐39805.3               0              0          0   405475.37               0       5962.57              322   3rd Party Recov Fees Pmt          0 None                     145 NULL
              12/28/2017 12/28/2017 1/1/2017                    54             0              0          0   405475.37               0       5962.57              330   Other Fee Payment                 6 Lockbox                  165 NULL
              12/28/2017 12/28/2017 1/1/2017                   ‐54             0              0          0   405475.37               0       5962.57              322   3rd Party Recov Fees Pmt          6 Lockbox                  145 NULL
               12/1/2017    12/1/2017 1/1/2017                 ‐15             0              0          0   405475.37               0       5962.57              730   Other Fees Disb                   5 ACH                       13 Property Inspection
              11/17/2017 11/17/2017 1/1/2017                     0     405475.37              0          0   405475.37               0       5962.57               10   New Loan                          0 None                       0 NULL
               10/6/2017    10/6/2017 1/1/2017                 ‐18             0              0          0   405475.37               0       5962.57               77   Other Fee Assessment              0 None                     165 Miscellaneous ‐ nr
               9/29/2017    9/29/2017 1/1/2017                 ‐18             0              0          0   405475.37               0       5962.57               77   Other Fee Assessment              0 None                     165 Miscellaneous ‐ nr
               2/27/2017    2/27/2017 1/1/2017                 ‐18             0              0          0   405475.37               0       5962.57               77   Other Fee Assessment              0 None                     165 Miscellaneous ‐ nr
               12/6/2016    12/6/2016 1/1/2017         ‐19906.05               0              0          0   405475.37               0       5962.57               75   Legal Fee Assessment              0 None                     156 Escrow Shortage
               6/20/2016    6/20/2016 1/1/2017         ‐19899.25               0              0          0   405475.37               0       5962.57               75   Legal Fee Assessment              0 None                     156 Escrow Shortage
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                                                                                                                     SN Servicing Corporation


                                                                                                                      Loan History - General


Loanid:                                           Borrower: MCDONAGH
Effective Date             Sj      ESS            Transaction          Batch Desc        Batch Id    Trans.                                                                                                                   ]»n

                                                  Description                                                                                                                                          Balance               Balance


      4/16/2018        4/16/2018         2/1/2017 New Loan                           0         0              $.00   $401,510.30   $401,510.30   $0.00        $.00          $00          $.00   $.00      $.00        $.00      $.00


      4/27/2018        4/27/2018         2/1/2017 Prior Scrv Esc Adv                97         0    ($20,567.91)            $.00   $401,510.30   $0 00        $.00          $00          $00    $.00      $.00        $.00      $00
                                                  Assessment

      4/27/2018        4/27/2018         2/1/2017 Prior Serv Corp                   96         0    ($40,170.97)            $.00   $401,510.30   $0 00        $.00          $.00         $.00   $.00      $.00        $.00      $00
                                                  Adv Assessment
      4/30/2018        4/30/2018         2/1/2017 Unapplied Payment 3000-47-LS       0     18797        $251.92             $00    $401,510.30   $0 00        $.00      $251.92      $251.92    $.00      $.00        $.00      $00


      4/30/2018        4/30/2018         2/1/2017 Prcpctition          3000-47-LS    0     18797        $152.74             $.00   $401,510.30   $0 00        $.00          $00      $404.66    $.00      $.00        $.00      $00
                                                  Unapplied Payment


      4/30/2018        4/30/2018         2/1/2017 Unapplied Payment 3000-47-LS       0     18837      $9,705 85             $00    $401,510.30   $0 00        $00     $9,705.85    $10,110 51   $00       $.00        $00       $00



      4/30/2018        4/30/2018         2/1/2017 Unapplied Payment 45-PA            0     19041     ($5,99245)             $00    $401,510.30   SO 00        $.00   ($5,992.45)    $4,118.06   $.00      $.00        $.00      $00
                                                  Reversal


      4/30/2018        4/30/2018         2/1/2017 Regular Payment      45-PA         0     19042      $5,992.45        $3,984.90   $397,525.40   $0.00   $2,007.55          $.00    $4,118.06   $.00      $.00        $.00      $.00


      6/11/2018        6/11/2018         3/1/2017 Unapplied Payment 3000-47-LS       0      9895        $258.37             $.00   $397,525.40   $0 00        $.00      $258.37     $4,376.43   $.00      $.00        $.00      $00


      6/27/2018        6/27/2018         3/1/2017 Unapplied Payment 3000-47-LS       0    27264         $232.48             $.00   $397,525.40   $0 00        $.00      $232.48     $4,608.91   $.00      $.00        $.00      $.00


      7/20/2018        7/23/2018         3/1/2017 Unapplied Payment ACH Pmt          0      3573      $5,992.00             $.00   $397,525.40   $0.00        $.00    $5,992.00    $10,600.91   $.00      $.00        $.00      $.00
                                                                       (3000-
                                                                       5555551)

      7/23/2018        7/23/2018         3/1/2017 Unapplied Payment 45-md            0      5391     ($5,992.45)            $.00   $397,525.40   $0.00        $.00   ($5,992.45)    $4,608.46   $.00      $.00        $.00      $.00
                                                  Reversal


      7/20/2018        7/23/2018         3/1/2017 Regular Payment      45-md         0      5391      $5,992.45        $4,004.82   $393,520.58   $0.00   $1,987.63          $.00    $4,608.46   $.00      $.00        $.00      $.00


      7/17/2018        7/28/2018         7/1/2018 Late Charge                        0         0      ($119.85)             $.00   $393,520.58   $0.00        $.00          $.00    $4,608.46   $.00      $.00   ($119.85)   $119.85
                                                  Assessment

      8/12/2018        8/12/2018         8/1/2018 Late Charge                        0         0        ($15.00)            $.00   $393,520.58   $0.00        $.00          $.00    $4,608.46   $.00      $.00    ($15.00)   $134.85
                                                  Assessment

      8/16/2018        8/16/2018         4/1/2017 Prior Serv Esc Adv 46-md          97    23994       $4.608 46             $.00   $393,520.58   $0 00        $.00          $.00    $4,608.46   $.00      $.00        $.00   $134.85
                                                  Payment

      8/16/2018        8/16/2018         4/1/2017 Unapplied Payment 46-md            0    23994      ($4,455.72)            $.00   $393,520.58   $0.00        $.00   ($4,455.72)     $152.74    $.00      $.00        $.00   $134.85
                                                  Reversal


      8/16/2018        8/16/2018         4/1/2017 Prior Serv Esc Adv 46*nd          97    23994       ($152.74)             $.00   $393,520.58   $0 00        $.00          $.00     $152.74    $.00      $.00        $.00   $134.85
                                                  Payment Reversal




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                                                                                                      SN Servicing Corporation


                                                                                                      Loan History - General

9/12/2018         9/12/2018        9/1/2018 Late Charge                    0      0        ($15.00)        $.00   $393,520.58    50 00   $.00   $00    $152.74   $.00   $.00   ($15.00)   $149.85
                                             Assessment

10/12/2018       10/12/2018       10/1/2018 Late Charge                    0      0        ($15.00)        $.00   $393,520.58    $0 00   $.00   $00    $152.74   $.00   $.00   ($15.00)   $164.85
                                             Assessment
11/12/2018       11/12/2018       11/1/2018 Late Charge                    0      0        ($15.00)        $00    $393,520.58    $0 00   $.00   $00    $152.74   $.00   $.00   ($15.00)   $179.85
                                             Assessment

11/15/2018       11/16/2018        4/1/2017 Prepetition           45-PA    0   2267      ($152.74)         $00    $393,520.58    $0 00   $.00   $.00      $.00   $.00   $.00       $.00   $179.85
                                             Unapplied Payment
                                             Reversal


11/15/2018       11/16/2018        4/1/2017 Prior Serv Corp       45-PA   96   2267        $152.74         $.00   $393,520.58    $0 00   $.00   $.00      $.00   $.00   $.00       $.00   $179.85
                                             Adv Payment

11/27/2018       11/27/2018        4/ 1 /20 1 7 Prior Serv Corp           96      0     $20,112.18         $.00   $393,520.58    $0 00   $.00   $.00      $.00   $.00   $.00       $.00   $179.85

                                             Adv Waiver

11/27/2018       11/27/2018        4/1/2017 Prior Serv Esc Adv            97      0    ($20,112.18)        $.00   $393,520.58    $0.00   $.00   $.00      $.00   $.00   $.00       $.00   $179.85
                                             Assessment

12/12/2018       12/12/2018       12/1/2018 Late Charge                    0      0        ($15.00)        $.00   $393,520.58    $0.00   $.00   $.00      $.00   $.00   $.00   ($15.00)   $194.85
                                             Assessment

 1/12/2019        1/12/2019         1/1/2019 Late Charge                   0      0        ($15.00)        $.00   $393,520.58    $0.00   $.00   $.00      $.00   $.00   $.00   ($15.00)   $209.85
                                             Assessment

2/12/2019         2/12/2019        2/1/2019 Late Charge                    0      0        ($15.00)        $.00   $393,520.58    $0.00   $.00   $.00      $.00   $.00   $.00   ($15.00)   $224.85
                                             Assessment

 3/12/2019        3/12/2019        3/1/2019 Late Charge                    0      0        ($15.00)        $.00   $393,520.58    $0.00   $.00   $.00      $.00   $.00   $.00   ($15.00)   $239.85
                                             Assessment

4/12/2019         4/12/2019        4/1/2019 Late Charge                    0      0        ($15.00)        $.00   $393,520.58    $0.00   $.00   $.00      $.00   $.00   $.00   ($15.00)   $254.85
                                             Assessment

 5/12/2019        5/12/2019        5/1/2019 Late Charge                    0      0        ($15.00)        $.00   $393,520.58    $0.00   $.00   $00       $.00   $.00   $.00   ($15.00)   $269.85
                                             Assessment

6/12/2019         6/12/2019        6/1/2019 Late Charge                    0      0        ($15.00)        $.00   $393,520.58    $0 00   $.00   $.00      $.00   $.00   $.00   ($15.00)   $284.85
                                              Assessment

 7/12/2019        7/12/2019        7/1/2019 Late Charge                    0      0        ($15.00)        $00    $393,520.58    $0 00   $.00   $00       $00    $.00   $.00   ($15.00)   $299.85
                                             Assessment

 8/12/2019        8/12/2019        8/1/2019 Late Charge                    0      0        ($15.00)        $.00   $393,520.58    $0 00   $.00   $00       $.00   $.00   $.00   ($15.00)   $314.85
                                             Assessment

9/12/2019         9/12/2019        9/1/2019 Late Charge                    0      0        ($15.00)        $.00   $393,520.58    $0 00   $.00   $00       $.00   $.00   $.00   ($15.00)   $329.85
                                             Assessment
10/12/2019       10/12/2019       10/1/2019 Late Charge                    0      0        ($15.00)        $00    $393,520 58    $0 00   $00    $00       $00    $.00   $.00   ($15 00)   $344.85
                                             Assessment

1 1/12/2019      1 1/12/2019      11/1/2019 Late Charge                    0      0        ($15.00)        $.00   $393,520.58    $0 00   $.00   $.00      $00    $.00   $.00   ($15.00)   $359.85
                                             Assessment
12/12/2019       12/12/2019       12/1/2019 Late Charge                                    ($15.00)        $.00   $393,520.58    $0 00   $00    $00       $00    $.00   $.00   ($15.00)   $374.85
                                             Assessment

 1/12/2020        1/14/2020         1/1/2020 Late Charge                   0      of       ($15.00)        $00    $393,520.58    $0 00   $.00   $.00      $.00   $.00   $.00   ($15.00)   $389.85

                                             Assessment

2/12/2020         2/12/2020        2/1/2020 Late Charge                    0      0        ($15.00)        5.00   $393,520.58    $0 00   $.00   $.00      $.00   $.00   $.00   ($15.00)   $404.85
                                             Assessment




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                                                                                                 SN Servicing Corporation


                                                                                                  Loan History - General

2/1 8/2020      2/18/2020        4/1/2017 Foreclosure                   235   0     ($110.70)           $.00   $393,520.58   50 00        $.00   $00    $00    $.00   $.00        $.00   5404.85
                                          Expense
                                          Assessment

2/18/2020       2/18/2020        4/1/2017 Legal Fee                       1   0     ($500 00)           $.00   $393,520.58   $0 00        $.00   $.00   $00    $.00   $.00        $.00   5404.85
                                          Assessment

3/12/2020       3/12/2020        3/1/2020 Late Charge                     0   0       ($15.00)          $.00   $393,520.58   $0 00        $.00   $00    $00    $.00   $.00    ($15.00)   $419.85
                                          Assessment

4/12/2020       4/14/2020        4/1/2020 Late Charge                     0   0       ($15.00)          $00    $393,520.58   $0 00        $.00   $00    $00    $.00   $.00    ($15.00)   $434.85

                                          Assessment

4/14/2020       4/14/2020        4/1/2020 Late Charge                     0   0        $15.00           5.00   $393,520.58   $0 00        $.00   $.00   $.00   $.00   $.00     S15.00    5419.85
                                          Waiver

5/12/2020       5/12/2020        5/1/2020 Late Charge                     0   0       ($15.00)          $.00   $393,520.58   $0.00        $.00   $.00   $.00   $.00   $.00    ($15.00)   $434.85

                                          Assessment

5/12/2020       5/12/2020        5/1/2020 Late Charge                     0   0        $15.00           $.00   $393,520.58   50 00        $.00   $00    $00    $.00   $.00     S15.00    5419.85

                                          Waiver

6/12/2020       6/12/2020        6/1/2020 Late Charge                     0   0       ($15.00)          $.00   $393,520.58   50.00        $.00   $00    $.00   $.00   $.00    ($15.00)   $434.85
                                          Assessment

7/12/2020       7/14/2020        7/1/2020 Late Charge                     0   0       ($15.00)          $.00   $393,520.58   50.00        $.00   $.00   $.00   $.00   $.00    ($15.00)   5449.85

                                          Assessment

8/12/2020       8/12/2020        8/1/2020 Late Charge                     0   0       ($15.00)          $.00   $393,520.58   $0.00        $.00   $.00   $.00   $.00   $.00    ($15.00)   $464.85
                                          Assessment

                                                              Totals:             ($45,221.07)   $409,500.02                         $3,995.18   $.00          $.00          ($464.85)




   Contains Customer Private Information - handle securely.
                            PAPERLESS
Case 2:20-cv-02539-JPM-cgc Document 22-1 Filed 09/10/20 Page 11 of 53                                 Account Information - Statement Date: 8/5/2020
                                                                                                                                                              PageID 228
              Jjij SERVICING CORPORATION                                                              Account Number

                                                                                                      Payment Due Date                                           9/1/2020
                        323 5TH STREET
                        EUREKA CA 95501                                                               Total Amount Due                                      $314,316.71
                                                                                                                   $15 00 late fee may be charged on or after 9/12/2020

                                                                                                      Outstanding Principal                                   $393,520.58
                                                                                                                              This is not the amount to pay off your loan
                                                                                                      Interest Rate (Until 7/1/2023)                                     6%
                                                                                                      Prepayment Penalty                                                  No
                                                                                                      Escrow Balance                                                $0.00

                                                                                                      Past Payment Breakdown
             DONAL MCDONAGH
                                                                                                                                            Paid Since       Paid Year to
             2416 SANDERS RIDGE LN                                                                                                            7/9/2020           Date
             GERMANTOWN, TN 38138
                                                                                                      Principal                                     $0.00               $0 00
                                                                                                      Interest                                      $0.00               $0.00
                                                                                                      Escrow (Taxes and Insurance)                  $0.00               $0 00
                                                                                                      Fees                                          $0.00               $0 00
                                                                                                      Partial Payment (Unapplied)                   $0.00               $0 00
                                                                                                      Total                                         $0.00               $0.00
    ** Delinquency Notice **                                      Explanation of Amount Due
    You are late on your mortgage payments. Your                     Due Date         Principal         Interest            Escrow         Other Funds           Total
    account has been referred to an attorney to initiate a           4/1/2017           $4,024.85         $1,967 60              $0.00              $0 00        $5,992.45
    foreclosure action. Failure to bring your loan current          5/1/2017 -
    may result in fees and foreclosure - the loss of your                             $188,641.64        $56,289.86              $0 00              $0.00      $244,931.50
                                                                     8/1/2020
    home As of August 5, 2020, you are 1221 days                     9/1/2020           $5,323.05             $878.74            $0.00              $0.00        $6,201.79
    delinquent on your mortgage loan and your most                Total Payments Due                                                                           $257:125.74
    delinquent payment was due on 4/1/201 7. This is your         Total Fees and Charges                                                                        $57,190.97
    Recent Account History                                        Total Amount Due                                                                             $314,316.71
    * Payment due 03/01/2020

    * Payment due 04/01/2020                                                                      Customer Service: (800) 603-0836
                                                                                Website: borrower.snsc.com * Email: customserv@snsc.com
    * Payment due 05/01/2020

    * Payment due 06/01/2020                                      Important Messages
    * Payment due 07/01/2020                                      Affected by COVID-19? Visit https://www.snsc.com/Covid-19.aspx to see how SNSC can help
    * Payment due 08/01/2020
                                                                  Reinstatement figures are subject to change
    * Current Payment due 09/01/2020: $6,201.79
                                                                  We may report information about your account to credit bureaus. Late payments, missed
    * Total: $314,316.71 due. You must pay this amount            payments, or other defaults on your account may be reflected on your credit report
    to bring your loan current.

    If you have previously received a discharge in bankruptcy and this debt was not reaffirmed, this correspondence is not and should not be construed to be an
    attempt to collect such a debt as your personal liability, but is instead a step in the enforcement of a mortgage lien against your property.
    Housing Counselor Information: If you would like counseling or assistance, you can contact the following
        •     U.S. Department of Housing and Urban Development (HUD): For a list of homeownership counselors or counseling organizations in your area, go to
              htto://www.hud.aov/offices/hsq/sfh/hcc/hcs.cfm or call 800-569^4287.
   loth er   Balances                                             Transaction Activity (7/9/2020 to 8/5/2020)

   [Description                                        Balance          Date      Description                                 Charges               Escrow        Payments
    Attorney Fee                                       $500 00       7/14/2020    Late Charge Assessment                        $15.00
    Foreclosure Expense                                $110.70
    Late Fees                                          $449.85
    Prior Serv Corp Adv                             $19,906.05
    Prior Serv Esc Adv                              $36,224 37




                                                                           Detach at Perforation

                                                                                                                     Payment Coupon
                    SERVICING CORPORATION                                                           Please return with your check payable to: SN Servicing Corporation

            Customer Service: (800) 603-0836

                                                                                                                   Amount due for Loan

                                                                                                     Due 9/1/2020                                           $5,992.45

                                                                                                     Total Amount Due *                                  $314,316.71
       DONAL MCDONAGH
                                                                                                         $15.00 late fee will be charged on or after 9/12/2020
       2416 SANDERS RIDGE LN
       GERMANTOWN, TN 38138                                                                          Additional Principal              $
                                                                                                     Additional Escrow                 $

                                                                                                     Total Amount Enclosed             $


                                                                                                     * Figures are subject to change.
                SN Servicing Corporation                                                             Please call (800) 6034)836 to update these figures prior to
                SCIG Series III Trust                                                                remitting funds.

                PO BOX 660820
                DALLAS, TX 75266-0820
                                                                PAPERLESS
Case 2:20-cv-02539-JPM-cgc Document 22-1 Filed 09/10/20 Page 12 of 53                                     Account Information - Statement Date       7/8/2020
                                                                                                                                                                  PageID 229
              ^ SERVICING CORPORATION                                                                     Account Number

                                                                                                          Payment Due Date                                           8/1/2020
                         323 5TH STREET
                         EUREKA CA 95501                                                                  Total Amount Due                                     $308,099.92
                                                                                                                       $15.00 late fee may be charged on or after 8/12/2020

                                                                                                          Outstanding Principal                                  $393,520 58
                                                                                                                                  This is not the amount to pay off your loan
                                                                                                          Interest Rate (Until 7/1/2023)                                     6%
                                                                                                          Prepayment Penalty                                                 No

                                                                                                          Escrow Balance                                                $0 00

                                                                                                          Past Payment Breakdown

             DONAL MCDONAGH                                                                                                                     Paid Since      Paid Year to
             2416 SANDERS RIDGE LN                                                                                                                6/4/2020          Date
             GERMANTOWN, TN 38138
                                                                                                          Principal                                    $0.00               $0.00
                                                                                                          Interest                                     $0.00               $0.00
                                                                                                          Escrow (Taxes and Insurance)                 $0.00               $0.00

                                                                                                          Fees                                         $0.00               $0.00
                                                                                                          Partial Payment (Unapplied)                  $0.00               $0.00
                                                                                                          Total                                        $0.00               $0.00

    ** Delinquency Notice ""                                         Explanation of Amount Due
    You are late on your mortgage payments. Your                        Due Date          Principal         Interest            Escrow         Other Funds           Total
    account has been referred to an attorney to initiate a              4/1/2017            $4,024.85         $1,967.60              $0.00            $0 00          $5,992.45
    foreclosure action.    Failure to bring your loan current          5/1/2017 -
    may result in fees and foreclosure -- the loss of your                                $183,341.77        $55,387.94              $0.00            $0 00       $238,729.71
                                                                        7/1/2020
    home. As of July 8, 2020, you are 1 193 days delinquent             8/1/2020            $5,299.87             $901.92                             $0 00          $6,201.79
                                                                                                                                     $0.00
    on your mortgage loan and your most delinquent                   Total Payments Due                                                                           $250,923.95
    payment was due on 4/1 /201 7.     This is your Recent           Total Fees and Charges                                                                        S57.175.97
    Account History:
                                                                     Total Amount Due                                                                             $308 099.92
    * Payment due 02/01/2020

    * Payment due 03/01/2020                                                                    Customer Service: (800) 603-0836
                                                                                   Website: borrower.snsc.com " Email: customserv@snsc.com
    * Payment due 04/01/2020

    * Payment due 05/01/2020                                         Important Messages
    * Payment due 06/01/2020                                         Affected by COVID-19? Visit https://www snsc.com/Covid-19.aspx to see how SNSC can help.
    * Payment due 07/01/2020
                                                                     Reinstatement figures are subject to change.
    * Current Payment due 08/01/2020: $6,201.79
                                                                     We may report information about your account to credit bureaus. Late payments, missed
    ' Total $308,099.92 due. You must pay this amount                payments or other defaults on your account may be reflected on your credit report.
    to bring your loan current.

    If you have previously received a discharge in bankruptcy and this debt was not reaffirmed, this correspondence is not and should not be construed to be an
    attempt to collect such a debt as your personal liability, but is instead a step in the enforcement of a mortgage lien against your property.
    Housing Counselor Information         If you would like counseling or assistance, you can contact the following:
        •     U.S. Department of Housing and Urban Development (HUD): For a list of homeownership counselors or counseling organizations in your area, go to
              http://www hud .a ov/offi ces/hsa/sfh/h cc/h cs cfm or call 800-569-4287.

    Other Balances                                                   Transaction Activity (6/4/2020 to 7/8/2020)

    Description                                          Balance          Date       Description                                  Charges            Escrow           Payments
    Attorney Fee                                          $500.00       6/12/2020    Late Charge Assessment                         $15.00
    Foreclosure Expense                                   $110.70
    Late Fees                                             $434.85
    Prior Serv Corp Adv                               $19,906.05
    Prior Serv Esc Adv                                $36 224.37




                                                                              Detach at Perforation

                                                                                                                         Payment Coupon
            Jjiq SERVICING CORPORATION                                                                  Please return with your check payable to: SN Servicing Corporation

            Customer Service     (800) 603-0836

                                                                                                                       Amount due for Loan

                                                                                                         Due 8/1/2020                                          $5,992.45

                                                                                                         Total Amount Due *                                  $308,099.92
       DONAL MCDONAGH
                                                                                                             $15.00 late fee will be charged on or after 8/12/2020
       2416 SANDERS RIDGE LN
       GERMANTOWN, TN 38138                                                                              Additional Principal              $
                                                                                                         Additional Escrow                 $
                                                                                                         Total Amount Enclosed             $


                I'llll                                                                                   * Figures are subject to change.
                SN Servicing Corporation                                                                 Please call (800) 603-0836 to update these figures prior to
                SCIG Series III Trust                                                                    remitting funds.

                PO BOX 660820
                DALLAS, TX 75266-0820
                                                                  PAPERLESS
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                                                                                                                                                                  PageID 230
              ^ SERVICING CORPORATION                                                                     Account Number

                                                                                                          Payment Due Date                                           7/1/2020
                       323 5TH STREET
                       EUREKA CA 95501                                                                    Total Amount Due                                     $301,883.13
                                                                                                                       $15.00 late fee may be charged on or after 7/12/2020

                                                                                                          Outstanding Principal                                  $393,520 58
                                                                                                                                  This is not the amount to pay off your loan
                                                                                                          Interest Rate (Until 7/1/2023)                                     6%
                                                                                                          Prepayment Penalty                                                 No

                                                                                                          Escrow Balance                                                $0 00

                                                                                                          Past Payment Breakdown

             DONAL MCDONAGH                                                                                                                     Paid Since      Paid Year to
             2416 SANDERS RIDGE LN                                                                                                                5/7/2020          Date
             GERMANTOWN, TN 38138
                                                                                                          Principal                                    $0.00               $0.00
                                                                                                          Interest                                     $0.00               $0.00
                                                                                                          Escrow (Taxes and Insurance)                 $0.00               $0.00

                                                                                                          Fees                                         $0.00               $0.00
                                                                                                          Partial Payment (Unapplied)                  $0.00               $0.00
                                                                                                          Total                                        $0.00               $0.00

    ** Delinquency Notice ""                                         Explanation of Amount Due
    You are late on your mortgage payments. Your                        Due Date          Principal         Interest            Escrow         Other Funds           Total
    account has been referred to an attorney to initiate a              4/1/2017            $4,024.85         $1,967.60              $0.00            $0 00          $5,992.45
    foreclosure action.    Failure to bring your loan current          5/1/2017 -
    may result in fees and foreclosure -- the loss of your                                $178,064.99        $54,462.93              $0.00            $0 00       $232,527.92
                                                                        6/1/2020
    home. As of June 3, 2020, you are 1158 days                         7/1/2020            $5,276.78             $925.01                             $0 00          $6,201.79
                                                                                                                                     $0.00
    delinquent on your mortgage loan and your most                   Total Payments Due                                                                           $244,722.16
    delinquent payment was due on 4/1/2017.        This is your      Total Fees and Charges                                                                        S57.160.97
    Recent Account History:
                                                                     Total Amount Due                                                                             $301 883.13
    * Payment due 01/01/2020

    * Payment due 02/01/2020                                                                    Customer Service: (800) 603-0836
                                                                                   Website: borrower.snsc.com " Email: customserv@snsc.com
    * Payment due 03/01/2020

    * Payment due 04/01/2020                                         Important Messages
    * Payment due 05/01/2020                                         Affected by COVID-19? Visit https://www snsc.com/Covid-19.aspx to see how SNSC can help.
    * Payment due 06/01/2020
                                                                     Reinstatement figures are subject to change.
    * Current Payment due 07/01/2020: $6,201.79
                                                                     We may report information about your account to credit bureaus. Late payments, missed
    ' Total $301,883.13 due. You must pay this amount                payments or other defaults on your account may be reflected on your credit report.
    to bring your loan current.

    If you have previously received a discharge in bankruptcy and this debt was not reaffirmed, this correspondence is not and should not be construed to be an
    attempt to collect such a debt as your personal liability, but is instead a step in the enforcement of a mortgage lien against your property.
    Housing Counselor Information         If you would like counseling or assistance, you can contact the following:
        •     U.S. Department of Housing and Urban Development (HUD): For a list of homeownership counselors or counseling organizations in your area, go to
              http://www hud .a ov/offi ces/hsa/sfh/h cc/h cs cfm or call 800-569-4287.

    Other Balances                                                   Transaction Activity (5/7/2020 to 6/3/2020)

    Description                                          Balance          Date       Description                                  Charges            Escrow           Payments
    Attorney Fee                                          $500.00       5/12/2020    Late Charge Assessment                         $15.00
    Foreclosure Expense                                   $110.70       5/12/2020    Late Charge Waiver                             -$15.00
    Late Fees                                             $419.85
    Prior Serv Corp Adv                               $19,906.05
    Prior Serv Esc Adv                                $36 224.37




                                                                              Detach at Perforation

                                                                                                                         Payment Coupon
            Jjiq SERVICING CORPORATION                                                                  Please return with your check payable to: SN Servicing Corporation

            Customer Service     (800) 603-0836

                                                                                                                       Amount due for Loan

                                                                                                         Due 7/1/2020                                          $5,992.45

                                                                                                         Total Amount Due *                                  $301,883.13
       DONAL MCDONAGH
                                                                                                             $15.00 late fee will be charged on or after 7/12/2020
       2416 SANDERS RIDGE LN
       GERMANTOWN, TN 38138                                                                              Additional Principal              $
                                                                                                         Additional Escrow                 $
                                                                                                         Total Amount Enclosed             $


                                                                                                         * Figures are subject to change.
                SN Servicing Corporation                                                                 Please call (800) 603-0836 to update these figures prior to
                SCIG Series III Trust                                                                    remitting funds.

                PO BOX 660820
                DALLAS, TX 75266-0820
                                                                PAPERLESS
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              ^ SERVICING CORPORATION                                                                     Account Number

                                                                                                          Payment Due Date                                           6/1/2020
                       323 5TH STREET
                       EUREKA CA 95501                                                                    Total Amount Due                                     $295,681.34
                                                                                                                       $15.00 late fee may be charged on or after 6/12/2020

                                                                                                          Outstanding Principal                                  $393,520 58
                                                                                                                                  This is not the amount to pay off your loan
                                                                                                          Interest Rate (Until 7/1/2023)                                     6%
                                                                                                          Prepayment Penalty                                                 No

                                                                                                          Escrow Balance                                                $0 00

                                                                                                          Past Payment Breakdown

             DONAL MCDONAGH                                                                                                                     Paid Since      Paid Year to
             2416 SANDERS RIDGE LN                                                                                                                4/9/2020          Date
             GERMANTOWN, TN 38138
                                                                                                          Principal                                    $0.00               $0.00
                                                                                                          Interest                                     $0.00               $0.00
                                                                                                          Escrow (Taxes and Insurance)                 $0.00               $0.00

                                                                                                          Fees                                         $0.00               $0.00
                                                                                                          Partial Payment (Unapplied)                  $0.00               $0.00
                                                                                                          Total                                        $0.00               $0.00

    ** Delinquency Notice ""                                          Explanation of Amount Due
    You are late on your mortgage payments. Your                        Due Date          Principal         Interest            Escrow         Other Funds           Total
    account has been referred to an attorney to initiate a              4/1/2017            $4,024.85         $1,967.60              $0.00             $0 00         $5,992.45
    foreclosure action.    Failure to bring your loan current          5/1/2017 -
    may result in fees and foreclosure -- the loss of your                                $172,811.19        $53,514.94              $0.00             $0 00      $226,326.13
                                                                        5/1/2020
    home. As of May 6, 2020, you are 1 130 days delinquent              6/1/2020            $5,253.80             $947,99                              $0 00         $6,201.79
                                                                                                                                     $0.00
    on your mortgage loan and your most delinquent                    Total Payments Due                                                                          $238,520.37
    payment was due on 4/1 /201 7.     This is your Recent            Total Fees and Charges                                                                       S57.160.97
    Account History:
                                                                      Total Amount Due                                                                            $295 681.34
    •Payment due 12/01/2019

    * Payment due 01/01/2020                                                                    Customer Service: (800) 603-0836
                                                                                   Website: borrower.snsc.com " Email: customserv@snsc.com
    * Payment due 02/01/2020

    * Payment due 03/01/2020                                          Important Messages
    * Payment due 04/01/2020                                          Affected by COVID-19? Visit https://www snsc.com/Covid-19.aspx to see how SNSC can help.
    * Payment due 05/01/2020
                                                                      Reinstatement figures are subject to change.
    * Current Payment due 06/01/2020: $6,201.79
                                                                      We may report information about your account to credit bureaus. Late payments, missed
    ' Total $295,681.34 due. You must pay this amount                 payments or other defaults on your account may be reflected on your credit report.
    to bring your loan current.

    If you have previously received a discharge in bankruptcy and this debt was not reaffirmed, this correspondence is not and should not be construed to be an
    attempt to collect such a debt as your personal liability, but is instead a step in the enforcement of a mortgage lien against your property.
    Housing Counselor Information         If you would like counseling or assistance, you can contact the following:
        •     U.S. Department of Housing and Urban Development (HUD): For a list of homeownership counselors or counseling organizations in your area, go to
              http://www hud .a ov/offi ces/hsa/sfh/h cc/h cs cfm or call 800-569-4287.

    Other Balances                                                    Transaction Activity (4/9/2020 to 5/6/2020)

    Description                                           Balance          Date      Description                                  Charges            Escrow           Payments
    Attorney Fee                                          $500.00       4/14/2020    Late Charge Assessment                         $15.00
    Foreclosure Expense                                    $110.70      4/14/2020    Late Charge Waiver                             -$15.00
    Late Fees                                             $419.85
    Prior Serv Corp Adv                                 $19,906.05
    Prior Serv Esc Adv                                  $36 224.37




                                                                              Detach at Perforation

                                                                                                                         Payment Coupon
            Jjiq SERVICING CORPORATION                                                                  Please return with your check payable to: SN Servicing Corporation

            Customer Service     (800) 603-0836

                                                                                                                       Amount due for Loan

                                                                                                         Due 6/1/2020                                          $5,992.45

                                                                                                         Total Amount Due *                                  $295,681.34
       DONAL MCDONAGH
                                                                                                             $15.00 late fee will be charged on or after 6/12/2020
       2416 SANDERS RIDGE LN
       GERMANTOWN, TN 38138                                                                              Additional Principal              $
                                                                                                         Additional Escrow                 $
                                                                                                         Total Amount Enclosed             $


                           Iiirll                  hi            'I                                      * Figures are subject to change.
                SN Servicing Corporation                                                                 Please call (800) 603-0836 to update these figures prior to
                SCIG Series III Trust                                                                    remitting funds.

                PO BOX 660820
                DALLAS, TX 75266-0820
                                                                PAPERLESS
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              ^ SERVICING CORPORATION                                                                     Account Number

                                                                                                          Payment Due Date                                           5/1/2020
                       323 5TH STREET
                       EUREKA CA 95501                                                                    Total Amount Due                                     $289,479.55
                                                                                                                       $15.00 late fee may be charged on or after 5/12/2020

                                                                                                          Outstanding Principal                                  $393,520 58
                                                                                                                                  This is not the amount to pay off your loan
                                                                                                          Interest Rate (Until 7/1/2023)                                     6%
                                                                                                          Prepayment Penalty                                                 No

                                                                                                          Escrow Balance                                                $0 00

                                                                                                          Past Payment Breakdown

             DONAL MCDONAGH                                                                                                                     Paid Since      Paid Year to
             2416 SANDERS RIDGE LN                                                                                                                3/5/2020          Date
             GERMANTOWN, TN 38138
                                                                                                          Principal                                    $0.00               $0.00
                                                                                                          Interest                                     $0.00               $0.00
                                                                                                          Escrow (Taxes and Insurance)                 $0.00               $0.00

                                                                                                          Fees                                         $0.00               $0.00
                                                                                                          Partial Payment (Unapplied)                  $0.00               $0.00
                                                                                                          Total                                        $0.00               $0.00

    ** Delinquency Notice ""                                         Explanation of Amount Due
    You are late on your mortgage payments. Your                        Due Date          Principal         Interest            Escrow         Other Funds           Total
    account has been referred to an attorney to initiate a              4/1/2017            $4,024.85         $1,967.60              $0.00            $0 00          $5,992.45
    foreclosure action.    Failure to bring your loan current          5/1/2017 -
    may result in fees and foreclosure -- the loss of your                                $167,580.28        $52,544.06              $0.00            $0 00       $220,124.34
                                                                        4/1/2020
    home. As of April 8, 2020, you are 11 02 days delinquent            5/1/2020            $5,230.91             $970,88                             $0 00          $6,201.79
                                                                                                                                     $0.00
    on your mortgage loan and your most delinquent                   Total Payments Due                                                                           $232,318.58
    payment was due on 4/1 /201 7.     This is your Recent           Total Fees and Charges                                                                        S57.160.97
    Account History:
                                                                     Total Amount Due                                                                             $289 479.55
    •Payment due 11/01/2019

    •Payment due 12/01/2019                                                                     Customer Service: (800) 603-0836
                                                                                   Website: borrower.snsc.com " Email: customserv@snsc.com
    * Payment due 01/01/2020

    * Payment due 02/01/2020                                         Important Messages
    * Payment due 03/01/2020                                         Affected by COVID-19? Visit https://www snsc.com/Covid-19.aspx to see how SNSC can help.
    * Payment due 04/01/2020
                                                                     Reinstatement figures are subject to change.
    * Current Payment due 05/01/2020: $6,201.79
                                                                     We may report information about your account to credit bureaus. Late payments, missed
    ' Total $289,479.55 due. You must pay this amount                payments or other defaults on your account may be reflected on your credit report.
    to bring your loan current.

    If you have previously received a discharge in bankruptcy and this debt was not reaffirmed, this correspondence is not and should not be construed to be an
    attempt to collect such a debt as your personal liability, but is instead a step in the enforcement of a mortgage lien against your property.
    Housing Counselor Information         If you would like counseling or assistance, you can contact the following:
        •     U.S. Department of Housing and Urban Development (HUD): For a list of homeownership counselors or counseling organizations in your area, go to
              http://www hud .a ov/offi ces/hsa/sfh/h cc/h cs cfm or call 800-569-4287.

    Other Balances                                                   Transaction Activity (3/5/2020 to 4/8/2020)

    Description                                          Balance          Date       Description                                  Charges            Escrow           Payments
    Attorney Fee                                          $500.00       3/12/2020    Late Charge Assessment                         $15.00
    Foreclosure Expense                                   $110.70
    Late Fees                                             $419.85
    Prior Serv Corp Adv                               $19,906.05
    Prior Serv Esc Adv                                $36 224.37




                                                                              Detach at Perforation

                                                                                                                         Payment Coupon
            Jjiq SERVICING CORPORATION                                                                  Please return with your check payable to: SN Servicing Corporation

            Customer Service     (800) 603-0836

                                                                                                                       Amount due for Loan

                                                                                                         Due 5/1/2020                                          $5,992.45

                                                                                                         Total Amount Due •                                  $289,479.55
       DONAL MCDONAGH
                                                                                                             $15.00 late fee will be charged on or after 5/12/2020
       2416 SANDERS RIDGE LN
       GERMANTOWN, TN 38138                                                                              Additional Principal              $
                                                                                                         Additional Escrow                 $
                                                                                                         Total Amount Enclosed             $


                                         VIM                                                             * Figures are subject to change.
                SN Servicing Corporation                                                                 Please call (800) 603-0836 to update these figures prior to
                SCIG Series III Trust                                                                    remitting funds.

                PO BOX 660820
                DALLAS, TX 75266-0820
                                                                   PAPERLESS
Case 2:20-cv-02539-JPM-cgc Document 22-1 Filed 09/10/20 Page 16 of 53                                     Account Information - Statement Date       3/4/2020
                                                                                                                                                                  PageID 233
              ^ SERVICING CORPORATION                                                                     Account Number

                                                                                                          Payment Due Date                                           4/1/2020
                       323 5TH STREET
                       EUREKA CA 95501                                                                    Total Amount Due                                     $283,262.76
                                                                                                                       $15.00 late fee may be charged on or after 4/12/2020

                                                                                                          Outstanding Principal                                  $393,520 58
                                                                                                                                  This is not the amount to pay off your loan
                                                                                                          Interest Rate (Until 7/1/2023)                                     6%
                                                                                                          Prepayment Penalty                                                 No

                                                                                                          Escrow Balance                                                $0 00

                                                                                                          Past Payment Breakdown

             DONAL MCDONAGH                                                                                                                     Paid Since      Paid Year to
             2416 SANDERS RIDGE LN                                                                                                                2/6/2020          Date
             GERMANTOWN, TN 38138
                                                                                                          Principal                                    $0.00               $0.00
                                                                                                          Interest                                     $0.00               $0.00
                                                                                                          Escrow (Taxes and Insurance)                 $0.00               $0.00

                                                                                                          Fees                                         $0.00               $0.00
                                                                                                          Partial Payment (Unapplied)                  $0.00               $0.00
                                                                                                          Total                                        $0.00               $0.00

    ** Delinquency Notice ""                                         Explanation of Amount Due
    You are late on your mortgage payments. Your                        Due Date          Principal         Interest            Escrow         Other Funds           Total
    account has been referred to an attorney to initiate a              4/1/2017            $4,024.85         $1,967.60              $0.00             $0 00         $5,992.45
    foreclosure action.    Failure to bring your loan current          5/1/2017 -
    may result in fees and foreclosure -- the loss of your                                $162,372.16        $51,550.39              $0.00             $0 00      $213,922.55
                                                                        3/1/2020
    home. As of March 4, 2020, you are 1067 days                        4/1/2020            $5,208.12             $993.67                              $0 00         $6,201.79
                                                                                                                                     $0.00
    delinquent on your mortgage loan and your most                   Total Payments Due                                                                           $226,116.79
    delinquent payment was due on 4/1/2017.         This is your     Total Fees and Charges                                                                        $57,145.97
    Recent Account History:
                                                                     Total Amount Due                                                                             $283 262.76
    •Payment due 10/01/2019

    •Payment due 11/01/2019                                                                     Customer Service: (800) 603-0836
                                                                                   Website: borrower.snsc.com " Email: customserv@snsc.com
    •Payment due 12/01/2019

    * Payment due 01/01/2020                                         Important Messages
    * Payment due 02/01/2020                                         Reinstatement figures are subject to change.
    * Payment due 03/01/2020                                         We may report information about your account to credit bureaus. Late payments, missed
                                                                     payments or other defaults on your account may be reflected on your credit report.
    * Current Payment due 04/01/2020: $6,201.79

    ' Total $283,262.76 due. You must pay this amount
    to bring your loan current.

    If you have previously received a discharge in bankruptcy and this debt was not reaffirmed, this correspondence is not and should not be construed to be an
    attempt to collect such a debt as your personal liability, but is instead a step in the enforcement of a mortgage lien against your property.
    Housing Counselor Information          If you would like counseling or assistance, you can contact the following:
        •     U.S. Department of Housing and Urban Development (HUD): For a list of homeownership counselors or counseling organizations in your area, go to
              http://www hud .a ov/offi ces/hsa/sfh/h cc/h cs cfm or call 800-569-4287.

    Other Balances                                                   Transaction Activity (2/6/2020 to 3/4/2020)

    Description                                           Balance         Date       Description                                  Charges            Escrow           Payments
    Attorney Fee                                          $500.00       2/12/2020    Late Charge Assessment                         $15.00
    Foreclosure Expense                                   $110.70       2/18/2020    Foreclosure Expense Assessment                $110.70
    Late Fees                                             $404.85       2/18/2020    Legal Fee Assessment                          $500.00
    Prior Serv Corp Adv                                $19,906.05
    Prior Serv Esc Adv                                 $36 224.37




                                                                              Detach at Perforation

                                                                                                                         Payment Coupon
            Jjiq SERVICING CORPORATION                                                                  Please return with your check payable to: SN Servicing Corporation

            Customer Service       (800) 603-0836

                                                                                                                       Amount due for Loan

                                                                                                         Due 4/1/2020                                          $5,992.45

                                                                                                         Total Amount Due •                                  $283,262.76
       DONAL MCDONAGH
                                                                                                             $15.00 late fee will be charged on or after 4/12/2020
       2416 SANDERS RIDGE LN
       GERMANTOWN, TN 38138                                                                              Additional Principal              $
                                                                                                         Additional Escrow                 $
                                                                                                         Total Amount Enclosed             $


                               I                                                                         * Figures are subject to change.
                SN Servicing Corporation                                                                 Please call (800) 603-0836 to update these figures prior to
                SCIG Series III Trust                                                                    remitting funds.

                PO BOX 660820
                DALLAS, TX 75266-0820
                                                                  PAPERLESS
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                                                                                                                                                                  PageID 234
              ^ SERVICING CORPORATION                                                                     Account Number

                                                                                                          Payment Due Date                                           3/1/2020
                       323 5TH STREET
                       EUREKA CA 95501                                                                    Total Amount Due                                     $276,435.27
                                                                                                                       $15.00 late fee may be charged on or after 3/12/2020

                                                                                                          Outstanding Principal                                  $393,520 58
                                                                                                                                  This is not the amount to pay off your loan
                                                                                                          Interest Rate (Until 7/1/2023)                                     6%
                                                                                                          Prepayment Penalty                                                 No

                                                                                                          Escrow Balance                                                $0 00

                                                                                                          Past Payment Breakdown

             DONAL MCDONAGH                                                                                                                     Paid Since      Paid Year to
             2416 SANDERS RIDGE LN                                                                                                                1/9/2020          Date
             GERMANTOWN, TN 38138
                                                                                                          Principal                                    $0.00               $0.00
                                                                                                          Interest                                     $0.00               $0.00
                                                                                                          Escrow (Taxes and Insurance)                 $0.00               $0.00

                                                                                                          Fees                                         $0.00               $0.00
                                                                                                          Partial Payment (Unapplied)                  $0.00               $0.00
                                                                                                          Total                                        $0.00               $0.00

    ** Delinquency Notice ""                                         Explanation of Amount Due
    You are late on your mortgage payments. Your                        Due Date          Principal         Interest            Escrow         Other Funds           Total
    account has been referred to an attorney to initiate a              4/1/2017            $4,024.85         $1,967.60              $0.00            $0 00          $5,992.45
    foreclosure action.    Failure to bring your loan current          5/1/2017 -
    may result in fees and foreclosure -- the loss of your                                $157,186.72        $50,534.04              $0.00            $0 00       $207,720.76
                                                                        2/1/2020
    home. As of February 5, 2020, you are 1039 days                     3/1/2020            $5,185.44         $1,016.35                               $0 00          $6,201.79
                                                                                                                                     $0.00
    delinquent on your mortgage loan and your most                   Total Payments Due                                                                           $219,915.00
    delinquent payment was due on 4/1/2017.        This is your      Total Fees and Charges                                                                        S56.520.27
    Recent Account History:
                                                                     Total Amount Due                                                                             $276 435.27
    * Payment due 09/01/2019

    •Payment due 10/01/2019                                                                     Customer Service: (800) 603-0836
                                                                                   Website: borrower.snsc.com " Email: customserv@snsc.com
    •Payment due 11/01/2019

    •Payment due 12/01/2019                                          Important Messages
    * Payment due 01/01/2020                                         Reinstatement figures are subject to change.
    * Payment due 02/01/2020                                         We may report information about your account to credit bureaus. Late payments, missed
                                                                     payments or other defaults on your account may be reflected on your credit report.
    * Current Payment due 03/01/2020: $6,201.79

    ' Total $276,435.27 due. You must pay this amount
    to bring your loan current.

    If you have previously received a discharge in bankruptcy and this debt was not reaffirmed, this correspondence is not and should not be construed to be an
    attempt to collect such a debt as your personal liability, but is instead a step in the enforcement of a mortgage lien against your property.
    Housing Counselor Information         If you would like counseling or assistance, you can contact the following:
        •     U.S. Department of Housing and Urban Development (HUD): For a list of homeownership counselors or counseling organizations in your area, go to
              http://www hud .a ov/offi ces/hsa/sfh/h cc/h cs cfm or call 800-569-4287.

    Other Balances                                                   Transaction Activity (1/9/2020 to 2/5/2020)

    Description                                          Balance          Date       Description                                  Charges            Escrow           Payments
    Late Fees                                             $389.85       1/14/2020    Late Charge Assessment                         $15.00
    Prior Serv Corp Adv                               $19,906.05
    Prior Serv Esc Adv                                $36 224.37




                                                                              Detach at Perforation

                                                                                                                         Payment Coupon
            Jjiq SERVICING CORPORATION                                                                  Please return with your check payable to: SN Servicing Corporation

            Customer Service     (800) 603-0836

                                                                                                                       Amount due for Loan

                                                                                                         Due 3/1/2020                                          $5,992.45

                                                                                                         Total Amount Due •                                  $276,435.27
       DONAL MCDONAGH
                                                                                                             $15.00 late fee will be charged on or after 3/12/2020
       2416 SANDERS RIDGE LN
       GERMANTOWN, TN 38138                                                                              Additional Principal              $
                                                                                                         Additional Escrow                 $
                                                                                                         Total Amount Enclosed             $


                                                                                                         * Figures are subject to change.
                SN Servicing Corporation                                                                 Please call (800) 603-0836 to update these figures prior to
                SCIG Series III Trust                                                                    remitting funds.

                PO BOX 660820
                DALLAS, TX 75266-0820
                                                                                                                                                      PAPERLESS
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                                                       Information - Statement Date: 1/8/2020

             ^ SERVICING CORPORATION                                                                   Account Number

                                                                                                       Payment Due Date                                           2/1/2020
                      323 5TH STREET
                      EUREKA CA 95501                                                                  Total Amount Due                                     $270,218.48
                                                                                                                   $15.00 late fee may be charged on or after 2/12/2020

                                                                                                       Outstanding Principal                                  $393,520.58
                                                                                                                               This is not the amount to pay off your loan
                                                                                                       Interest Rate (Until 7/1/2023)                                    6%
                                                                                                       Prepayment Penalty                                                 No
                                                                                                       Escrow Balance                                                $0.00

                                                                                                       Past Payment Breakdown

            DONAL MCDONAGH                                                                                                                   Paid Since      Paid Year to
            2416 SANDERS RIDGE LN                                                                                                             12/5/2019          Date
            GERMANTOWN, TN 38138                                                                       Principal                                    $0.00               $0.00
                                                                                                       Interest                                     $0.00               $0.00
                                                                                                       Escrow (Taxes and Insurance)                 $0.00               $0.00
                                                                                                       Fees                                         $0.00               $0.00
                                                                                                       Partial Pavment (Unapplied)                  $0.00               $0.00
                                                                                                       Total                                        $0.00               $0.00
    *• Delinquency Notice **                                      Explanation of Amount Due
    You are late on your mortgage payments. Your                    Due Date          Principal          Interest            Escrow         Other Funds           Total
    account has been referred to an attorney to initiate a           4/1/2017           $4,024.85          $1 .967.60             $0.00             $0.00         $5,992.45
    foreclosure action. Failure to bring your loan current         5/1/2017
    may result in fees and foreclosure -- the loss of your                            $152,023.87         $49,495.10              $0.00             $0.00      $201,518.97
                                                                     1/1/2020
    home. As of January 8. 2020, you are 101 1 days                  2/1/2020            $5,162,85         $1.038.94              $0,00             $0.00        $6,201 .79
    delinquent on your mortgage loan and your most                Total Payments Due                                                                           $213,713.21
    delinquent payment was due on 4/1/201 7. This is your         Total Fees and Charges                                                                        $56,505.27
    Recent Account History:
                                                                  Total Amount Due                                                                             S270.2 18.48
    * Payment due 08/01/2019

    * Payment due 09/01/2019                                                                 Customer Service: (800) 603-0836
                                                                                Website: borrower.snsc.com * Email: customserv@snsc.com
    •Payment due 10/01/2019

    •Payment due 11/01/2019                                       Important Messages
    •Payment due 12/01/2019
                                                                  Payment Due Date now shows the date your next payment is due. Reinstatement figures are
    * Payment due 01/01/2020                                      subject to change.
                                                                  We may report information about your account to credit bureaus. Late payments, missed
    * Current Payment due 02/01/2020: $6,201 .79
                                                                  payments, or other defaults on your account may be reflected on your credit report.
     * Total: $270,218.48 due. You must pay this amount
    to bring your loan current.

    If you have previously received a discharge in bankruptcy and this debt was not reaffirmed, this correspondence is not and should not be construed to be an
    attempt to collect such a debt as your personal liability, but is instead a step in the enforcement of a mortgage lien against your property.
    Housing Counselor Information: If you would like counseling or assistance, you can contact the following:
       •     U.S. Department of Housing and Urban Development (HUD): For a list of homeownership counselors or counseling organizations in your area, go to
             hnp://wvyw.h^(^.qgv/gfficgg/h§q,/§fh/hgg/hg§,gfm or call 800-569-4287.
    Other Balances                                                Transaction Activity (12/5/2019 to 1/8/2020)
    Description                                        Balance         Date         Description                                 Charges           Escrow          Payments
    Late Fees                                          $374.85      1 2/1 2/201 9   Late Charge Assessment                       $15.00
    Prior Serv Corp Adv                             $19,906.05
    Prior Serv Esc Adv                              $36,224.37




                                                                           Detach at Perforation

                                                                                                                     Payment Coupon
           Jjiq SERVICING CORPORATION                                                                Please return with your check payable to: SN Servicing Corporation

           Customer Service: (800) 603-0836

                                                                                                                   Amount due for Loan

                                                                                                      Due 2/1/2020                                          $5,992.45

                                                                                                      Total Amount Due*                                 $270,218.48
       DONAL MCDONAGH
                                                                                                          $15.00 late fee will be charged on or after 2/12/2020
       2416 SANDERS RIDGE LN
       GERMANTOWN, TN 38138                                                                           Additional Principal              $

                                                                                                      Additional Escrow                 $
                                                                                                      Total Amount Enclosed             $

                                         iHP-HilM            Ml                                       * Figures are subject to change.
                SN Servicing Corporation                                                              Please call (800) 603-0836 to update these figures prior to
                SCIG Series III Trust                                                                 remitting funds.

                PO BOX 660820
                DALLAS, TX 75266-0820
                                                                                                                                                    PAPERLESS
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                                                       Information - Statement Date: 12/4/2019

             ^ SERVICING CORPORATION                                                                 Account Number

                                                                                                     Payment Due Date                                           1/1/2020
                      323 5TH STREET
                      EUREKA CA 95501                                                                Total Amount Due                                     $264,001.69
                                                                                                                 $15.00 late fee may be charged on or after 1/12/2020

                                                                                                     Outstanding Principal                                  $393,520.58
                                                                                                                             This is not the amount to pay off your loan
                                                                                                     Interest Rate (Until 7/1/2023)                                    6%
                                                                                                     Prepayment Penalty                                                 No
                                                                                                     Escrow Balance                                                $0.00

                                                                                                     Past Payment Breakdown

            DONAL MCDONAGH                                                                                                                 Paid Since      Paid Year to
            2416 SANDERS RIDGE LN                                                                                                           11/7/2019          Date
            GERMANTOWN, TN 38138                                                                     Principal                                    $0.00               $0.00
                                                                                                     Interest                                     $0.00               $0.00
                                                                                                     Escrow (Taxes and Insurance)                 $0.00               $0.00
                                                                                                     Fees                                         $0.00               $0.00
                                                                                                     Partial Pavment (Unapplied)                  $0.00               $0.00
                                                                                                     Total                                        $0.00               $0.00
    *• Delinquency Notice **                                     Explanation of Amount Due
    You are late on your mortgage payments. Your                   Due Date          Principal         Interest            Escrow         Other Funds          Total
    account has been referred to an attorney to initiate a          4/1/2017           $4,024.85         $1 .967.60             $0.00             $0.00        $5,992.45
    foreclosure action. Failure to bring your loan current         5/1/2017
    may result in fees and foreclosure -- the loss of your                           $146,883.51        $48,433.67              $0.00             $0.00      $195,317.18
                                                                   12/1/2019
    home. As of December 4. 2019, you are 976 days                  1/1/2020           $5,140,36         $1.061.43              $0,00             $0.00         $6,201 .79
    delinquent on your mortgage loan and your most               Total Payments Due                                                                          $207,511.42
    delinquent payment was due on 4/1/201 7. This is your        Total Fees and Charges                                                                       $56,490.27
    Recent Account History:
                                                                 Total Amount Due                                                                            S264.001.69
    •Payment due 07/01/2019

    * Payment due 08/01/2019                                                                Customer Service: (800) 603-0836
                                                                               Website: borrower.snsc.com * Email: customserv@snsc.com
    •Payment due 09/01/2019

    •Payment due 10/01/2019                                      Important Messages
    •Payment due 11/01/2019
                                                                 Payment Due Date now shows the date your next payment is due. Reinstatement figures are
    •Payment due 12/01/2019                                      subject to change.
                                                                 We may report information about your account to credit bureaus. Late payments, missed
    * Current Payment due 01/01/2020: $6,201 .79
                                                                 payments, or other defaults on your account may be reflected on your credit report.
     * Total: $264,001.69 due. You must pay this amount
    to bring your loan current.

    If you have previously received a discharge in bankruptcy and this debt was not reaffirmed, this correspondence is not and should not be construed to be an
    attempt to collect such a debt as your personal liability, but is instead a step in the enforcement of a mortgage lien against your property.
    Housing Counselor Information: If you would like counseling or assistance, you can contact the following:
       •     U.S. Department of Housing and Urban Development (HUD): For a list of homeownership counselors or counseling organizations in your area, go to
             hnp://wvyw.h^(^.qgv/gfficgg/h§q/§fh/hgg/hg§,gfm or call 800-569-4287.
    Other Balances                                               Transaction Activity (11/7/2019 to 12/4/2019)
    Description                                       Balance         Date       Description                                  Charges           Escrow          Payments
    Late Fees                                         $359.85      1 1/12/2019   Late Charge Assessment                        $15.00
    Prior Serv Corp Adv                            $19,906.05
    Prior Serv Esc Adv                             $36,224.37




                                                                         Detach at Perforation

                                                                                                                   Payment Coupon
           Jjiq SERVICING CORPORATION                                                              Please return with your check payable to: SN Servicing Corporation

           Customer Service: (800) 603-0836

                                                                                                                 Amount due for Loan

                                                                                                    Due 1/1/2020                                          $5,992.45

                                                                                                    Total Amount Due*                                 $264,001.69
       DONAL MCDONAGH
                                                                                                        $15.00 late fee will be charged on or after 1/12/2020
       2416 SANDERS RIDGE LN
       GERMANTOWN, TN 38138                                                                         Additional Principal              $

                                                                                                    Additional Escrow                 $
                                                                                                    Total Amount Enclosed             $

                I1                                                                                  * Figures are subject to change.
                SN Servicing Corporation                                                            Please call (800) 603-0836 to update these figures prior to
                SCIG Series III Trust                                                               remitting funds.

                PO BOX 660820
                DALLAS, TX 75266-0820
                                                                                                                                                       PAPERLESS
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                                                       Information - Statement Date: 11/6/2019

             ^ SERVICING CORPORATION                                                                    Account Number

                                                                                                        Payment Due Date                                         12/1/2019
                      323 5TH STREET
                      EUREKA CA 95501                                                                   Total Amount Due                                     $257,784.90
                                                                                                                    515.00 late fee may be charged on or after 12/12/2019

                                                                                                        Outstanding Principal                                  $393,520.58
                                                                                                                                This is not the amount to pay off your loan
                                                                                                        Interest Rate (Until 7/1/2023)                                    6%
                                                                                                        Prepayment Penalty                                                 No
                                                                                                        Escrow Balance                                               $0.00

                                                                                                        Past Payment Breakdown

            DONAL MCDONAGH                                                                                                                    Paid Since      Paid Year to
            2416 SANDERS RIDGE LN                                                                                                              10/3/2019          Date
            GERMANTOWN, TN 38138                                                                        Principal                                    $0.00               $0.00
                                                                                                        Interest                                     $0.00               $0.00
                                                                                                        Escrow (Taxes and Insurance)                 $0.00               $0.00
                                                                                                        Fees                                         $0.00               $0.00
                                                                                                        Partial Pavment (Unapplied)                  $0.00               $0.00
                                                                                                        Total                                        $0.00               $0.00
    *• Delinquency Notice **                                     Explanation of Amount Due
    You are late on your mortgage payments. Your                     Due Date          Principal          Interest            Escrow         Other Funds          Total
    account has been referred to an attorney to initiate a           4/1/2017            $4,024.85          $1 .967.60             $0.00             $0.00        $5,992.45
    foreclosure action. Failure to bring your loan current           5/1/2017
    may result in fees and foreclosure -- the loss of your                             $141,765.54         $47,349.85              $0.00             $0.00      $189,115.39
                                                                     11/1/2019
    home. As of November 6. 2019, you are 948 days                   12/1/2019            $5,117,97         $1,083.82              $0,00             $0.00        $6,201 .79
    delinquent on your mortgage loan and your most               Total Payments Due                                                                             $201,309.63
    delinquent payment was due on 4/1/201 7. This is your        Total Fees and Charges                                                                          $56,475.27
    Recent Account History:
                                                                 Total Amount Due                                                                               S257.784.90
    * Payment due 06/01/2019

    •Payment due 07/01/2019                                                                  Customer Service: (800) 603-0836
                                                                                Website: borrower.snsc.com * Email: customserv@snsc.com
    * Payment due 08/01/2019

    •Payment due 09/01/2019                                      Important Messages
    •Payment due 10/01/2019
                                                                 Payment Due Date now shows the date your next payment is due. Reinstatement figures are
    •Payment due 11/01/2019                                      subject to change.
                                                                 We may report information about your account to credit bureaus. Late payments, missed
    * Current Payment due 12/01/2019: $6,201 .79
                                                                 payments, or other defaults on your account may be reflected on your credit report.
     * Total: $257,784.90 due. You must pay this amount
    to bring your loan current.

    If you have previously received a discharge in bankruptcy and this debt was not reaffirmed, this correspondence is not and should not be construed to be an
    attempt to collect such a debt as your personal liability, but is instead a step in the enforcement of a mortgage lien against your property.
    Housing Counselor Information: II you would like counseling or assistance, you can contact the following:
       •     U.S. Department of Housing and Urban Development (HUD): For a list of homeownership counselors or counseling organizations in your area, go to
             hnp://wvyw.h^(^.qgv/gfficgg/h§q/§fh/hgg/hg§,gfm or call 800-569-4287.
    Other Balances                                               Transaction Activity (10/3/2019 to 11/6/2019)
    Description                                       Balance           Date         Description                                 Charges           Escrow          Payments
    Late Fees                                         $344.85        1 0/1 2/201 9   Late Charge Assessment                       $15.00
    Prior Serv Corp Adv                            $19,906.05
    Prior Serv Esc Adv                             $36,224.37




                                                                            Detach at Perforation

                                                                                                                       Payment Coupon
           Jjiq SERVICING CORPORATION                                                                 Please return with your check payable to: SN Servicing Corporation

           Customer Service: (800) 603-0836

                                                                                                                     Amount due for Loan

                                                                                                       Due 12/1/2019                                         $5,992.45

                                                                                                       Total Amount Due*                                 $257,784.90
       DONAL MCDONAGH
                                                                                                          $15.00 late fee will be charged on or after 12/12/2019
       2416 SANDERS RIDGE LN
       GERMANTOWN, TN 38138                                                                            Additional Principal              $

                                                                                                       Additional Escrow                 $
                                                                                                       Total Amount Enclosed             $

                                                             Ilr'l                                     * Figures are subject to change.
                SN Servicing Corporation                                                               Please call (800) 603-0836 to update these figures prior to
                SCIG Series III Trust                                                                  remitting funds.

                PO BOX 660820
                DALLAS, TX 75266-0820
                                                                                                                                                      PAPERLESS
Case 2:20-cv-02539-JPM-cgc Document 22-1 Filed Account
                                                09/10/20          Page 21 of 53 PageID 238
                                                       Information - Statement Date: 10/2/2019

             ^ SERVICING CORPORATION                                                                   Account Number

                                                                                                       Payment Due Date                                         11/1/2019
                      323 5TH STREET
                      EUREKA CA 95501                                                                  Total Amount Due                                     $251,568.11
                                                                                                                   $15.00 late fee may be charged on or after 1 1/12/2019

                                                                                                       Outstanding Principal                                  $393,520.58
                                                                                                                               This is not the amount to pay off your loan
                                                                                                       Interest Rate (Until 7/1/2023)                                    6%
                                                                                                       Prepayment Penalty                                                 No
                                                                                                       Escrow Balance                                               $0.00

                                                                                                       Past Payment Breakdown

            DONAL MCDONAGH                                                                                                                    Paid Since     Paid Year to
            2416 SANDERS RIDGE LN                                                                                                              9/5/2019          Date
            GERMANTOWN, TN 38138                                                                       Principal                                    $0.00               $0.00
                                                                                                       Interest                                     $0.00               $0.00
                                                                                                       Escrow (Taxes and Insurance)                 $0.00               $0.00
                                                                                                       Fees                                         $0.00               $0.00
                                                                                                       Partial Pavment (Unapplied)                  $0.00               $0.00
                                                                                                       Total                                        $0.00               $0.00
    *• Delinquency Notice **                                     Explanation of Amount Due
    You are late on your mortgage payments. Your                   Due Date          Principal           Interest            Escrow         Other Funds         Total
    account has been referred to an attorney to initiate a         4/1/2017            $4,024.85           $1 ,967.60             $0.00             $0.00       $5,992.45
    foreclosure action. Failure to bring your loan current        5/1/2017
    may result in fees and foreclosure -- the loss of your                           $136,669.86          $46,243.74              $0.00             $0.00      $182,913.60
                                                                   10/1/2019
    home. As of October 2. 2019, you are 91 3 days                 11/1/2019             $5,095.68         $1,106,11              $0.00             $0,00        $6,201.79
    delinquent on your mortgage loan and your most               Total Payments Due                                                                            $195,107.84
    delinquent payment was due on 4/1/201 7. This is your        Total Fees and Charges                                                                         $56,460.27
    Recent Account History:
                                                                 Total Amount Due                                                                              $251.568,11
    •Payment due 05/01/2019
    •Payment due 06/01/2019                                                                Customer Service: (800) 603-0836
                                                                              Website: borrower.snsc.com * Email: customserv@snsc.com
    •Payment due 07/01/2019

    * Payment due 08/01/2019                                     Important Messages
    * Payment due 09/01/2019                                     Payment Due Date now shows the date your next payment is due. Reinstatement figures are
    •Payment due 10/01/2019                                      subject to change.
                                                                 We may report information about your account to credit bureaus. Late payments, missed
    * Current Payment due 1 1/01/2019: $6,201 .79
                                                                 payments, or other defaults on your account may be reflected on your credit report,
     * Total: $251,568.11 due. You must pay this amount
    to bring your loan current.

    If you have previously received a discharge in bankruptcy and this debt was not reaffirmed, this correspondence is not and should not be construed to be an
    attempt to collect such a debt as your personal liability, but is instead a step in the enforcement of a mortgage lien against your property.
    Housing Counselor Information: II you would like counseling or assistance, you can contact the following:
       •     U.S. Department of Housing and Urban Development (HUD): For a list of homeownership counselors or counseling organizations in your area, go to
             hnp://wvyw.h^(^.qgv/gfficgg/h§q/§fh/hgg/hg§,gfm or call 800-569-4287.
    Other Balances                                                          Transaction Activity (9/5/2019 to 10/2/2019)
    Description                                                  Balance          Date       Description                                          Charges        Payments
    Late Fees                                                   $329.85        9/1 2/201 9   Late Charge Assessment                                $15.00
    Prior Serv Corp Adv                                       $19,906.05
    Prior Serv Esc Adv                                        $36,224.37




                                                                           Detach at Perforation

                                                                                                                      Payment Coupon
           Jjiq SERVICING CORPORATION                                                                Please return with your check payable to: SN Servicing Corporation

           Customer Service: (800) 603-0836

                                                                                                                   Amount due for Loan

                                                                                                      Due 11/1/2019                                         $5,992.45

                                                                                                      Total Amount Due*                                 $251,568.11
       DONAL MCDONAGH
                                                                                                         $15.00 late fee will be charged on or after 1 1/12/2019
       2416 SANDERS RIDGE LN
       GERMANTOWN, TN 38138                                                                           Additional Principal              $

                                                                                                      Additional Escrow                 $
                                                                                                      Total Amount Enclosed             $

                                                                     I'm                              * Figures are subject to change.
                SN Servicing Corporation                                                              Please call (800) 603-0836 to update these figures prior to
                SCIG Series III Trust                                                                 remitting funds.

                PO BOX 660820
                DALLAS, TX 75266-0820
                                                                                                                                                      PAPERLESS
Case 2:20-cv-02539-JPM-cgc Document 22-1 Filed Account
                                                09/10/20          Page 22 of 53 PageID 239
                                                       Information - Statement Date: 9/4/2019

             ^ SERVICING CORPORATION                                                                   Account Number

                                                                                                       Payment Due Date                                         10/1/2019
                      323 5TH STREET
                      EUREKA CA 95501                                                                  Total Amount Due                                     $245,351.32
                                                                                                                   $15.00 late fee may be charged on or after 10/12/2019

                                                                                                       Outstanding Principal                                  $393,520.58
                                                                                                                               This is not the amount to pay off your loan
                                                                                                       Interest Rate (Until 7/1/2023)                                    6%
                                                                                                       Prepayment Penalty                                                 No
                                                                                                       Escrow Balance                                               $0.00

                                                                                                       Past Payment Breakdown

            DONAL MCDONAGH                                                                                                                    Paid Since     Paid Year to
            2416 SANDERS RIDGE LN                                                                                                              8/8/2019          Date
            GERMANTOWN, TN 38138                                                                       Principal                                    $0.00               $0.00
                                                                                                       Interest                                     $0.00               $0.00
                                                                                                       Escrow (Taxes and Insurance)                 $0.00               $0.00
                                                                                                       Fees                                         $0.00               $0.00
                                                                                                       Partial Pavment (Unapplied)                  $0.00               $0.00
                                                                                                       Total                                        $0.00               $0.00
    *• Delinquency Notice **                                     Explanation of Amount Due
    You are late on your mortgage payments. Your                   Due Date          Principal           Interest            Escrow         Other Funds         Total
    account has been referred to an attorney to initiate a         4/1/2017            $4,024.85           $1 ,967.60             $0.00             $0.00       $5,992.45
    foreclosure action. Failure to bring your loan current        5/1/2017
    may result in fees and foreclosure -- the loss of your                           $131,596.38          $45,115.43              $0.00             $0.00      $176,711.81
                                                                    9/1/2019
    home. As of September 4. 2019, you are 885 days                10/1/2019             $5,073.48         $1,128,31              $0.00             $0,00        $6,201.79
    delinquent on your mortgage loan and your most               Total Payments Due                                                                            $188,906.05
    delinquent payment was due on 4/1/201 7. This is your        Total Fees and Charges                                                                         $56,445.27
    Recent Account History:
                                                                 Total Amount Due                                                                              $245,351.32
    •Payment due 04/01/2019
    •Payment due 05/01/2019                                                                 Customer Service: (800) 603-0836
                                                                               Website: borrower.snsc.com * Email: customserv@snsc.com
    •Payment due 06/01/2019

    * Payment due 07/01/2019                                     Important Messages
    * Payment due 08/01/2019                                     Payment Due Date now shows the date your next payment is due. Reinstatement figures are
    •Payment due 09/01/2019                                      subject to change.
                                                                 We may report information about your account to credit bureaus. Late payments, missed
    * Current Payment due 10/01/2019: $6,201 .79
                                                                 payments, or other defaults on your account may be reflected on your credit report,
     * Total: $245,351.32 due. You must pay this amount
    to bring your loan current.

    If you have previously received a discharge in bankruptcy and this debt was not reaffirmed, this correspondence is not and should not be construed to be an
    attempt to collect such a debt as your personal liability, but is instead a step in the enforcement of a mortgage lien against your property.
    Housing Counselor Information: II you would like counseling or assistance, you can contact the following:
       •     U.S. Department of Housing and Urban Development (HUD): For a list of homeownership counselors or counseling organizations in your area, go to
             hnp://wvyw.h^(^.qgv/gfficgg/h§q/§fh/hgg/hg§,gfm or call 800-569-4287.
    Other Balances                                                          Transaction Activity (8/8/2019 to 9/4/2019)
    Description                                                  Balance          Date       Description                                          Charges        Payments
    Late Fees                                                   $314.85        8/1 2/201 9   Late Charge Assessment                                $15,00
    Prior Serv Corp Adv                                       $19,906.05
    Prior Serv Esc Adv                                        $36,224.37




                                                                           Detach at Perforation

                                                                                                                       Payment Coupon
           Jjiq SERVICING CORPORATION                                                                Please return with your check payable to: SN Servicing Corporation

           Customer Service: (800) 603-0836

                                                                                                                    Amount due for Loan

                                                                                                      Due 10/1/2019                                         $5,992.45

                                                                                                      Total Amount Due*                                 $245,351.32
       DONAL MCDONAGH
                                                                                                         $15.00 late fee will be charged on or after 10/12/2019
       2416 SANDERS RIDGE LN
       GERMANTOWN, TN 38138                                                                           Additional Principal              $

                                                                                                      Additional Escrow                 $
                                                                                                      Total Amount Enclosed             $

                -i'HIi'i         'I      'I'll                                                        * Figures are subject to change.
                SN Servicing Corporation                                                              Please call (800) 603-0836 to update these figures prior to
                SCIG Series III Trust                                                                 remitting funds.

                PO BOX 660820
                DALLAS, TX 75266-0820
                                                                                                                                                      PAPERLESS
Case 2:20-cv-02539-JPM-cgc Document 22-1 Filed Account
                                                09/10/20          Page 23 of 53 PageID 240
                                                       Information - Statement Date: 8/7/2019

             ^ SERVICING CORPORATION                                                                   Account Number

                                                                                                       Payment Due Date                                           9/1/2019
                      323 5TH STREET
                      EUREKA CA 95501                                                                  Total Amount Due                                     $239,134.53
                                                                                                                   $15.00 late fee may be charged on or after 9/12/2019

                                                                                                       Outstanding Principal                                  $393,520.58
                                                                                                                               This is not the amount to pay off your loan
                                                                                                       Interest Rate (Until 7/1/2023)                                    6%
                                                                                                       Prepayment Penalty                                                 No
                                                                                                       Escrow Balance                                                $0.00

                                                                                                       Past Payment Breakdown

            DONAL MCDONAGH                                                                                                                    Paid Since     Paid Year to
            2416 SANDERS RIDGE LN                                                                                                              7/4/2019          Date
            GERMANTOWN, TN 38138                                                                       Principal                                    $0.00               $0.00
                                                                                                       Interest                                     $0.00               $0.00
                                                                                                       Escrow (Taxes and Insurance)                 $0.00               $0.00
                                                                                                       Fees                                         $0.00               $0.00
                                                                                                       Partial Pavment (Unapplied)                  $0.00               $0.00
                                                                                                       Total                                        $0.00               $0.00
    *• Delinquency Notice **                                     Explanation of Amount Due
    You are late on your mortgage payments. Your                   Due Date          Principal           Interest            Escrow         Other Funds         Total
    account has been referred to an attorney to initiate a         4/1/2017            $4,024.85           $1 ,967.60             $0.00             $0.00       $5,992.45
    foreclosure action. Failure to bring your loan current        5/1/2017
    may result in fees and foreclosure -- the loss of your                           $126,545.00          $43,965.02              $0.00             $0.00      $170,510.02
                                                                    8/1/2019
    home. As of August 7, 2019, you are 857 days                    9/1/2019             $5,051.38         $1,150,41              $0.00             $0,00        $6,201.79
    delinquent on your mortgage loan and your most               Total Payments Due                                                                            $182,704.26
    delinquent payment was due on 4/1/201 7. This is your        Total Fees and Charges                                                                         $56,430.27
    Recent Account History:
                                                                 Total Amount Due                                                                              $239,134.53
    * Payment due 03/01/2019

    * Payment due 04/01/2019                                                                Customer Service: (800) 603-0836
                                                                               Website: borrower.snsc.com * Email: customserv@snsc.com
    •Payment due 05/01/2019

    •Payment due 06/01/2019                                      Important Messages
    * Payment due 07/01/2019                                     Payment Due Date now shows the date your next payment is due. Reinstatement figures are
    * Payment due 08/01/2019                                     subject to change.
                                                                 We may report information about your account to credit bureaus. Late payments, missed
    * Current Payment due 09/01/2019: $6,201 .79
                                                                 payments, or other defaults on your account may be reflected on your credit report,
     * Total: $239,134.53 due. You must pay this amount
    to bring your loan current.

    If you have previously received a discharge in bankruptcy and this debt was not reaffirmed, this correspondence is not and should not be construed to be an
    attempt to collect such a debt as your personal liability, but is instead a step in the enforcement of a mortgage lien against your property.
    Housing Counselor Information: If you would like counseling or assistance, you can contact the following:
       •     U.S. Department of Housing and Urban Development (HUD): For a list of homeownership counselors or counseling organizations in your area, go to
             hnp://wvyw.h^(^.qgv/gfficgg/h§q/§fh/hgg/hg§,gfm or call 800-569-4287.
    Other Balances                                                          Transaction Activity (7/4/2019 to 8/7/2019)
    Description                                                  Balance          Date       Description                                          Charges         Payments
    Late Fees                                                   $299.85        7/1 2/201 9   Late Charge Assessment                                $15.00
    Prior Serv Corp Adv                                       $19,906.05
    Prior Serv Esc Adv                                        $36,224.37




                                                                           Detach at Perforation

                                                                                                                       Payment Coupon
           Jjiq SERVICING CORPORATION                                                                Please return with your check payable to: SN Servicing Corporation

           Customer Service: (800) 603-0836

                                                                                                                   Amount due for Loanl

                                                                                                      Due 9/1/2019                                          $5,992.45

                                                                                                      Total Amount Due*                                 $239,134.53
       DONAL MCDONAGH
                                                                                                          $15.00 late fee will be charged on or after 9/12/2019
       2416 SANDERS RIDGE LN
       GERMANTOWN, TN 38138                                                                           Additional Principal              $

                                                                                                      Additional Escrow                 $
                                                                                                      Total Amount Enclosed             $


                                                                                                      * Figures are subject to change.
                SN Servicing Corporation                                                              Please call (800) 603-0836 to update these figures prior to
                SCIG Series III Trust                                                                 remitting funds.

                PO BOX 660820
                DALLAS, TX 75266-0820
                                                                                                                                                             PAPERLESS
Case 2:20-cv-02539-JPM-cgc Document 22-1 Filed Account
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                                                       Information - Statement Date: 7/3/2019

             ^ SERVICING CORPORATION                                                                          Account Number

                                                                                                              Payment Due Date                                           8/1/2019
                        323 5TH STREET
                        EUREKA CA 95501                                                                       Total Amount Due                                     $232,917.74

                                                                                                                          $15.00 late fee may be charged on or after 8/12/2019

                                                                                                              Outstanding Principal                                  $393,520.58
                                                                                                                                      This is not the amount to pay off your loan
                                                                                                              Interest Rate (Until 7/1/2023)                                    6%
                                                                                                              Prepayment Penalty                                                 No
                                                                                                              Escrow Balance                                                $0.00

                                                                                                              Past Payment Breakdown

            DONAL MCDONAGH                                                                                                                           Paid Since     Paid Year to
            2416 SANDERS RIDGE LN                                                                                                                     6/6/2019          Date
            GERMANTOWN, TN 38138                                                                              Principal                                    $0.00               $0.00
                                                                                                              Interest                                     $0.00               $0.00
                                                                                                              Escrow (Taxes and Insurance)                 $0.00               $0.00
                                                                                                              Fees                                         $0.00               $0.00
                                                                                                              Partial Payment (Unapplied)                  $0.00               $0.00
                                                                                                              Total                                        $0.00               $0.00
    *• Delinquency Notice **                                          Explanation of Amount Due
    You are late on your mortgage payments. Your                         Due Date           Principal           Interest            Escrow         Other Funds          Total
    account has been referred to an attorney to initiate a               4/1/2017             $4,024.85           $1 ,967.60             $0.00             $0.00         $5,992.45
    foreclosure action. Failure to bring your loan current              5/1/2017
    may result in fees and foreclosure -- the loss of your                                  $121,515.62          $42,792.61              $0.00             $0.00      $164,308.23
                                                                         7/1/2019
    home. As of July 3. 2019, you are 822 days delinquent                8/1/2019               $5,029.38         $1,172,41              $0.00             $0,00         $6,201.79
    on your mortgage loan and your most delinquent                    Total Payments Due                                                                              $176,502.47
    payment was due on 4/1/2017. This is your Recent                  Total Fees and Charges                                                                           $56,415.27
    Account History:
                                                                      Total Amount Due                                                                                $232,917.74
    •Payment due 02/01/2019

    * Payment due 03/01/2019                                                                          Customer Service: (800) 603-0836
    •Payment due 04/01/2019
                                                                                     Website: borrower.snsc.com * Email: customserv@snsc.com

    •Payment due 05/01/2019                                           Important Messages
    •Payment due 06/01/2019
                                                                      Payment Due Date now shows the date your next payment is due. Reinstatement figures are
    •Payment due 07/01/2019                                           subject to change.
                                                                      We may report information about your account to credit bureaus. Late payments, missed
    * Current Payment due 08/01/2019: $6,201 .79
                                                                      payments, or other defaults on your account may be reflected on your credit report.
     * Total: $232,917.74 due. You must pay this amount
    to bring your loan current.

    If you have previously received a discharge in bankruptcy and this debt was not reaffirmed, this correspondence is not and should not be construed to be an
    attempt to collect such a debt as your personal liability, but is instead a step in the enforcement of a mortgage lien against your property.
    Housing Counselor Information: If you would like counseling or assistance, you can contact the following:
       •     U.S. Department of Housing and Urban Development (HUD): For a list of homeownership counselors or counseling organizations in your area, go to
             httP7ftvww.h^ ,qpv/P<*i gg?/h §q/§fn/h gg/h c§,gfm or call 800-569-4287.
    Other Balances                                                                 Transaction Activity (6/6/2019 to 7/3/2019)
    Description                                                       Balance            Date       Description                                          Charges         Payments
    Late Fees                                                        $284.85          6/1 2/201 9   Late Charge Assessment                                $15.00
    Prior Serv Corp Adv                                            $19,906.05
    Prior Serv Esc Adv                                             $36,224.37




                                                                                  Detach at Perforation

                                                                                                                              Payment Coupon
           Jjiq SERVICING CORPORATION                                                                       Please return with your check payable to: SN Servicing Corporation

           Customer Service: (800) 603-0836

                                                                                                                          Amount due for Loan

                                                                                                             Due 8/1/2019                                          $5,992.45

                                                                                                             Total Amount Due*                                 $232,917.74
       DONAL MCDONAGH
                                                                                                                 $15.00 late fee will be charged on or after 8/12/2019
       2416 SANDERS RIDGE LN
       GERMANTOWN, TN 38138                                                                                  Additional Principal              $

                                                                                                             Additional Escrow                 $
                                                                                                             Total Amount Enclosed             $

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                                                                                                             * Figures are subject to change.
                SN Servicing Corporation                                                                     Please call (800) 603-0836 to update these figures prior to
                SCIG Series III Trust                                                                        remitting funds.

                PO BOX 660820
                DALLAS, TX 75266-0820
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Case 2:20-cv-02539-JPM-cgc Document 22-1 Filed Account
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                                                       Information - Statement Date: 6/5/2019

             ^ SERVICING CORPORATION                                                                    Account Number

                                                                                                        Payment Due Date                                           7/1/2019
                     323 5TH STREET
                     EUREKA CA 95501                                                                    Total Amount Due                                     $226,700.95
                                                                                                                    $15.00 late fee may be charged on or after 7/12/2019

                                                                                                        Outstanding Principal                                  $393,520.58
                                                                                                                                This is not the amount to pay off your loan
                                                                                                        Interest Rate (Until 7/1/2023)                                    6%
                                                                                                        Prepayment Penalty                                                 No
                                                                                                        Escrow Balance                                                $0.00

                                                                                                        Past Payment Breakdown

            DONAL MCDONAGH                                                                                                                     Paid Since     Paid Year to
            2416 SANDERS RIDGE LN                                                                                                               5/9/2019          Date
            GERMANTOWN, TN 38138                                                                        Principal                                    $0.00               $0.00
                                                                                                        Interest                                     $0.00               $0.00
                                                                                                        Escrow (Taxes and Insurance)                 $0.00               $0.00
                                                                                                        Fees                                         $0.00               $0.00
                                                                                                        Partial Payment (Unapplied)                  $0.00               $0.00
                                                                                                        Total                                        $0.00               $0.00
    *• Delinquency Notice **                                      Explanation of Amount Due
    You are late on your mortgage payments. Your                     Due Date           Principal         Interest            Escrow         Other Funds          Total
    account has been referred to an attorney to initiate a           4/1/2017             $4,024.85         $1 ,967.60             $0.00             $0.00         $5,992.45
    foreclosure action. Failure to bring your loan current          5/1/2017
    may result in fees and foreclosure -- the loss of your                              $116,508.15        $41,598.29              $0.00             $0.00      $158,106.44
                                                                     6/1/2019
    home. As of June 5. 2019, you are 794 days delinquent            7/1/2019             $5,007.47         $1,194,32              $0.00             $0,00         $6,201.79
    on your mortgage loan and your most delinquent                Total Payments Due                                                                            $170,300.68
    payment was due on 4/1/2017. This is your Recent              Total Fees and Charges                                                                         $56,400.27
    Account History:
                                                                  Total Amount Due                                                                              $226,700.95
    •Payment due 01/01/2019
    •Payment due 02/01/2019                                                                     Customer Service: (800) 603-0836

    • Payment due 03/01/2019
                                                                                Website: borrower.snsc.com * Email: customserv@snsc.com

    •Payment due 04/01/2019                                       Important Messages
    * Payment due 05/01/2019                                      Payment Due Date now shows the date your next payment is due. Reinstatement figures are
    •Payment due 06/01/2019                                       subject to change.
                                                                  We may report information about your account to credit bureaus. Late payments, missed
    * Current Payment due 07/01/2019: $6,201 .79
                                                                  payments, or other defaults on your account may be reflected on your credit report.
     • Total: $226,700.95 due. You must pay this amount
    to bring your loan current.

    If you have previously received a discharge in bankruptcy and this debt was not reaffirmed, this correspondence is not and should not be construed to be an
    attempt to collect such a debt as your personal liability, but is instead a step in the enforcement of a mortgage lien against your property.
    Housing Counselor Information: If you would like counseling or assistance, you can contact the following:
       •     U.S. Department of Housing and Urban Development (HUD): For a list of homeownership counselors or counseling organizations in your area, go to
             httP7/www.h   iqpv/p<fi ggg/h §q/§fn/h gg/h c§,gfm or call 800-569-4287.
    Other Balances                                                           Transaction Activity (5/9/2019 to 6/5/2019)
    Description                                                   Balance          Date       Description                                          Charges         Payments
    Late Fees                                                    $269.85        5/1 2/201 9   Late Charge Assessment                                $15.00
    Prior Serv Corp Adv                                        $19,906.05
    Prior Serv Esc Adv                                         $36,224.37




                                                                            Detach at Perforation

                                                                                                                      Payment Coupon
           Jjiq SERVICING CORPORATION                                                                 Please return with your check payable to: SN Servicing Corporation

           Customer Service: (800) 603-0836

                                                                                                                    Amount due for Loan

                                                                                                       Due 7/1/2019                                          $5,992.45

                                                                                                       Total Amount Due*                                 $226,700.95
       DONAL MCDONAGH
                                                                                                           $15.00 late fee will be charged on or after 7/12/2019
       2416 SANDERS RIDGE LN
       GERMANTOWN, TN 38138                                                                            Additional Principal              $

                                                                                                       Additional Escrow                 $
                                                                                                       Total Amount Enclosed             $


                                                                                                       * Figures are subject to change.
                SN Servicing Corporation                                                               Please call (800) 603-0836 to update these figures prior to
                SCIG Series III Trust                                                                  remitting funds.

                PO BOX 660820
                DALLAS, TX 75266-0820
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                                                       Information - Statement Date: 5/8/2019

             ^ SERVICING CORPORATION                                                                   Account Number

                                                                                                       Payment Due Date                                           4/1/2017
                      323 5TH STREET
                      EUREKA CA 95501                                                                  Total Amount Due                                     $220,484.16
                                                                                                                   $15.00 late fee may be charged on or after 6/12/2019

                                                                                                       Outstanding Principal                                  $393,520.58
                                                                                                                               This is not the amount to pay off your loan
                                                                                                       Interest Rate (Until 7/1/2023)                                    6%
                                                                                                       Prepayment Penalty                                                 No
                                                                                                       Escrow Balance                                                $0.00

                                                                                                       Past Payment Breakdown

            DONAL MCDONAGH                                                                                                                    Paid Since     Paid Year to
            2416 SANDERS RIDGE LN                                                                                                              4/4/2019          Date
            GERMANTOWN, TN 38138                                                                       Principal                                    $0.00               $0.00
                                                                                                       Interest                                     $0.00               $0.00
                                                                                                       Escrow (Taxes and Insurance)                 $0.00               $0.00
                                                                                                       Fees                                         $0.00               $0.00
                                                                                                       Partial Payment (Unapplied)                  $0.00               $0.00
                                                                                                       Total                                        $0.00               $0.00
    *• Delinquency Notice **                                      Explanation of Amount Due
    You are late on your mortgage payments. Your                    Due Date           Principal         Interest            Escrow         Other Funds          Total
    account has been referred to an attorney to initiate a           4/1/2017            $4,024.85         $1 ,967.60             $0.00             $0.00         $5,992.45
    foreclosure action. Failure to bring your loan current          5/1/2017
    may result in fees and foreclosure -- the loss of your                             $111,522.49        $40,382.16              $0.00             $0.00      $151,904.65
                                                                     5/1/2019
    home. As of May 8. 2019, you are 766 days delinquent             6/1/2019            $4,985.66         $1,216,13              $0.00             $0,00         $6,201.79
    on your mortgage loan. This is your Recent Account            Total Payments Due                                                                           $164,098.89
    History:                                                      Total Fees and Charges                                                                        $56,385.27
    * Payment due 12/01/2018                                      Total Amount Due                                                                             $220,484.16
    * Payment due 01/01/2019
                                                                                                Customer Service: (800) 603-0836
    * Payment due 02/01/2019
                                                                                Website: borrower.snsc.com * Email: customserv@snsc.com
    •Payment due 03/01/2019

    •Payment due 04/01/2019                                       Important Messages

    •Payment due 05/01/2019                                       Statement includes transactions through 05-08-2019. Reinstatement figures are subject to change.
                                                                  We may report information about your account to credit bureaus. Late payments, missed
    * Current Payment due 06/01/2019: $6,201 .79
                                                                  payments, or other defaults on your account may be reflected on your credit report.
     * Total: $220,484.16 due. You must pay this amount
    to bring your loan current.

    If you have previously received a discharge in bankruptcy and this debt was not reaffirmed, this correspondence is not and should not be construed to be an
    attempt to collect such a debt as your personal liability, but is instead a step in the enforcement of a mortgage lien against your property.
                                       i:

       •     U.S. Department of Housing and Urban Development (HUD): For a list of homeownership counselors or counseling organizations in your area, go to
             htto y/www.h ud.qov/off ices/hsg/sf h/hcc/hcs.cfm or call 800-569-4287.
    Other Balances                                                           Transaction Activity (4/4/2019 to 5/8/2019)

    Description                                                   Balance          Date       Description                                         Charges         Payments
    Late Fees                                                    $254.85        4/1 2/201 9   Late Charge Assessment                               $15.00
    Prior Serv Corp Adv                                        $19,906.05
    Prior Serv Esc Adv                                         $36,224.37




                                                                            Detach at Perforation

                                                                                                                     Payment Coupon
           Jjiq SERVICING CORPORATION                                                                Please return with your check payable to: SN Servicing Corporation

           Customer Service: (800) 603-0836

                                                                                                                   Amount due for Loan 0000281460

                                                                                                      Due 4/1/2017                                          $5,992.45

                                                                                                      Total Amount Due*                                 $220,484.16
       DONAL MCDONAGH
                                                                                                          $15.00 late fee will be charged on or after 6/12/2019
       2416 SANDERS RIDGE LN
       GERMANTOWN, TN 38138                                                                           Additional Principal              $

                                                                                                      Additional Escrow                 $
                                                                                                      Total Amount Enclosed             $


                                                                                                      * Figures are subject to change.
                SN Servicing Corporation                                                              Please call (800) 603-0836 to update these figures prior to
                SCIG Series III Trust                                                                 remitting funds.

                PO BOX 660820
                DALLAS, TX 75266-0820
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Case 2:20-cv-02539-JPM-cgc Document 22-1 Filed Account
                                                09/10/20          Page 27 of 53 PageID 244
                                                       Information - Statement Date: 4/3/2019

             ^ SERVICING CORPORATION                                                                   Account Number

                                                                                                       Payment Due Date                                           4/1/2017
                      323 5TH STREET
                      EUREKA CA 95501                                                                  Total Amount Due                                     $214,267.37
                                                                                                                   $15.00 late fee may be charged on or after 5/12/2019

                                                                                                       Outstanding Principal                                  $393,520.58
                                                                                                                               This is not the amount to pay off your loan
                                                                                                       Interest Rate (Until 7/1/2023)                                    6%
                                                                                                       Prepayment Penalty                                                 No
                                                                                                       Escrow Balance                                                $0.00

                                                                                                       Past Payment Breakdown

            DONAL MCDONAGH                                                                                                                    Paid Since     Paid Year to
            2416 SANDERS RIDGE LN                                                                                                              3/7/2019          Date
            GERMANTOWN, TN 38138                                                                       Principal                                    $0.00               $0.00
                                                                                                       Interest                                     $0.00               $0.00
                                                                                                       Escrow (Taxes and Insurance)                 $0.00               $0.00
                                                                                                       Fees                                         $0.00               $0.00
                                                                                                       Partial Payment (Unapplied)                  $0.00               $0.00
                                                                                                       Total                                        $0.00               $0.00
    *• Delinquency Notice **                                      Explanation of Amount Due
    You are late on your mortgage payments. Your                    Due Date           Principal         Interest            Escrow         Other Funds          Total
    account has been referred to an attorney to initiate a           4/1/2017            $4,024.85         $1 .967.60             $0.00             $0.00         $5,992.45
    foreclosure action. Failure to bring your loan current          5/1/2017
    may result in fees and foreclosure -- the loss of your                             $106,558.55        $39,144.31              $0.00             $0.00      $145,702.86
                                                                     4/1/2019
    home. As of April 3. 2019, you are 731 days delinquent           5/1/2019            $4,963.94         $1 ,237,85             $0.00             $0,00         $6,201.79
    on your mortgage loan. This is your Recent Account            Total Payments Due                                                                           $157,897.10
    History:                                                      Total Fees and Charges                                                                        $56.370.27
    * Payment due 11/01/2018                                      Total Amount Due                                                                             $214,267.37
    * Payment due 12/01/2018
                                                                                                Customer Service: (800) 603-0836
    * Payment due 01/01/2019
                                                                                Website: borrower.snsc.com * Email: customserv@snsc.com
    * Payment due 02/01/2019

    * Payment due 03/01/2019                                      Important Messages

    •Payment due 04/01/2019                                       Statement includes transactions through 04-03-2019. Reinstatement figures are subject to change.
                                                                  We may report information about your account to credit bureaus. Late payments, missed
    * Current Payment due 05/01/2019: $6.201 .79
                                                                  payments, or other defaults on your account may be reflected on your credit report.
     * Total: $214,267.37 due. You must pay this amount
    to bring your loan current.

    If you have previously received a discharge in bankruptcy and this debt was not reaffirmed, this correspondence is not and should not be construed to be an
    attempt to collect such a debt as your personal liability, but is instead a step in the enforcement of a mortgage lien against your property.
                                       i:

       •     U.S. Department of Housing and Urban Development (HUD): For a list of homeownership counselors or counseling organizations in your area, go to
             htto y/www.h ud.gov/off ices/hsg/sf h/hcc/hcs.cfm or call 800-569-4287.
    Other Balances                                                           Transaction Activity (3/7/2019 to 4/3/2019)

    Description                                                   Balance          Date       Description                                         Charges         Payments
    Late Fees                                                    $239.85        3/1 2/201 9   Late Charge Assessment                               $15.00
    Prior Serv Corp Adv                                        $19,906.05
    Prior Serv Esc Adv                                         $36,224.37




                                                                            Detach at Perforation

                                                                                                                       Payment Coupon
           Jjiq SERVICING CORPORATION                                                                Please return with your check payable to: SN Servicing Corporation

           Customer Service: (800) 603-0836

                                                                                                                   Amount due for Loan

                                                                                                      Due 4/1/2017                                          $5,992.45

                                                                                                      Total Amount Due*                                 $214,267.37
       DONAL MCDONAGH
                                                                                                          $15.00 late fee will be charged on or after 5/12/2019
       2416 SANDERS RIDGE LN
       GERMANTOWN, TN 38138                                                                           Additional Principal              $

                                                                                                      Additional Escrow                 $
                                                                                                      Total Amount Enclosed             $

                         Ir'll                                                                        * Figures are subject to change.
                SN Servicing Corporation                                                              Please call (800) 603-0836 to update these figures prior to
                SCIG Series III Trust                                                                 remitting funds.

                PO BOX 660820
                DALLAS, TX 75266-0820
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                                                                                                                                                                  PageID 245
             ^ SERVICING CORPORATION                                                                    Account Number

                                                                                                        Payment Due Date                                              4/1/2017
                      323 5TH STREET
                      EUREKA CA 95501                                                                   Total Amount Due                                       $208,050.58
                                                                                                                     $15.00 late fee may be charged on or after 4/12/2019

                                                                                                        Outstanding Principal                                     $393,520 58
                                                                                                                                This is not the amount to pay off your loan
                                                                                                        Interest Rate (Until 7/1/2023)                                       6%
                                                                                                        Prepayment Penalty                                                    No

                                                                                                        Escrow Balance                                                   $0 00

                                                                                                        Past Payment Breakdown

            DONAL MCDONAGH                                                                                                                       Paid Since      Paid Year to
            2416 SANDERS RIDGE LN                                                                                                                 2/7/2019           Date
            GERMANTOWN, TN 38138
                                                                                                        Principal                                      $0.00                $0.00
                                                                                                        Interest                                       $0.00                $0.00
                                                                                                        Escrow (Taxes and Insurance)                   $0.00                $0.00

                                                                                                        Fees                                           $0.00                $0.00
                                                                                                        Partial Payment (Unapplied)                    $0.00                $0.00
                                                                                                        Total                                          $0.00                $0.00

    ** Delinquency Notice "                                       Explanation of Amount Due
    You are late on your mortgage payments. Your                    Due Date          Principal           Interest            Escrow          Other Funds            Total
    account has been referred to an attorney to initiate a           4/1/2017             $4,024.85         $1,967 60             $0.00                $0.00         $5,992.45
    foreclosure action. Failure to bring your loan current          5/1/2017
    may result in fees and foreclosure - the loss of your                             $101,616.23          $37,884 84             $0.00                $0.00       $139,501.07
                                                                     3/1/2019
    home. As of March 6, 2019, you are 703 days                      4/1/2019             $4,942.32         $1,259.47                                  $0.00         $6.201.79
                                                                                                                                  $0.00
    delinquent on your mortgage loan.    This is your Recent      Total Payments Due                                                                               $151,695.31
    Account History:                                              Total Fees and Charges                                                                            $56,355 27
    •Payment due 10/01/2018                                       Total Amount Due                                                                                 $208 050.58

    •Payment due 11/01/2018
                                                                                             Customer Service: (800) 603-0836
    •Payment due 12/01/2018
                                                                                Website: borrower.snsc.com " Email: customserv@snsc.com
    •Payment due 01/01/2019

    * Payment due 02/01/2019                                      Important Messages

    * Payment due 03/01/2019                                      Statement includes transactions through 03-06-2019. Reinstatement figures are subject to change.
                                                                  We may report information about your account to credit bureaus.            Late payments, missed
    * Current Payment due 04/01/2019: $6,201.79
                                                                  payments or other defaults on your account may be reflected on your credit report.
    'Total $208,050.58 due. You must pay this amount
    to bring your loan current.

    If you have previously received a discharge in bankruptcy and this debt was not reaffirmed, this correspondence is not and should not be construed to be an
    attempt to collect such a debt as your personal liability, but is instead a step in the enforcement of a mortgage lien against your property.
    Housing Counselor Information       If you would like counseling or assistance, you can contact the following:
       •     U.S. Department of Housing and Urban Development (HUD): For a list of homeownership counselors or counseling organizations in your area, go to
             httDV/www hud.aov/offices/hsa/sfh/hcc/hcs.cfm or call 800-569-4287.

    Other Balances                                                           Transaction Activity (2/7/2019 to 3/6/2019)

    Description                                                   Balance          Date       Description                                            Charges          Payments
    Late Fees                                                     $224.85       2/1 2/201 9   Late Charge Assessment                                   $15.00
    Prior Serv Corp Adv                                        $19,906.05
    Prior Serv Esc Adv                                         $36 224.37




                                                                            Detach at Perforation

                                                                                                                       Payment Coupon
           Jjiq SERVICING CORPORATION                                                                 Please return with your check payable to: SN Servicing Corporation

           Customer Service    (800) 603-0836

                                                                                                                     Amount due for Loan

                                                                                                       Due 4/1/2017                                             $5,992.45

                                                                                                       Total Amount Due •                                    $208,050.58
       DONAL MCDONAGH
                                                                                                           $15.00 late fee will be charged on or after 4/12/2019
       2416 SANDERS RIDGE LN
       GERMANTOWN, TN 38138                                                                            Additional Principal              $
                                                                                                       Additional Escrow                 $
                                                                                                       Total Amount Enclosed             $


                                                                                                       * Figures are subject to change.
                SN Servicing Corporation                                                               Please call (800) 603-0836 to update these figures prior to
                SCIG Series III Trust                                                                  remitting funds.

                PO BOX 660820
                DALLAS, TX 75266-0820
                                                                                                                                                              PAPERLESS
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                                                                                                                                                                       PageID 246
             ^ SERVICING CORPORATION                                                                         Account Number

                                                                                                             Payment Due Date                                              4/1/2017
                      323 5TH STREET
                      EUREKA CA 95501                                                                        Total Amount Due                                       $201,833.79
                                                                                                                          $15.00 late fee may be charged on or after 3/12/2019

                                                                                                             Outstanding Principal                                     $393,520 58
                                                                                                                                     This is not the amount to pay off your loan
                                                                                                             Interest Rate (Until 7/1/2023)                                       6%
                                                                                                             Prepayment Penalty                                                    No

                                                                                                             Escrow Balance                                                   $0 00

                                                                                                             Past Payment Breakdown

            DONAL MCDONAGH                                                                                                                            Paid Since      Paid Year to
            2416 SANDERS RIDGE LN                                                                                                                      1/3/2019           Date
            GERMANTOWN, TN 38138
                                                                                                             Principal                                      $0.00                $0.00
                                                                                                             Interest                                       $0.00                $0.00
                                                                                                             Escrow (Taxes and Insurance)                   $0.00                $0.00

                                                                                                             Fees                                           $0.00                $0.00
                                                                                                             Partial Payment (Unapplied)                    $0.00                $0.00
                                                                                                             Total                                          $0.00                $0.00

    ** Delinquency Notice "                                           Explanation of Amount Due
    You are late on your mortgage payments. Your                        Due Date          Principal            Interest            Escrow          Other Funds            Total
    account has been referred to an attorney to initiate a               4/1/2017              $4,024.85         $1,967 60             $0.00                $0.00         $5,992.45
    foreclosure action. Failure to bring your loan current              5/1/2017
    may result in fees and foreclosure - the loss of your                                     $96,695.44        $36,603 84             $0.00                $0.00       $133,299.28
                                                                         2/1/2019
    home. As of February 6, 2019, you are 675 days                       3/1/2019              $4.920.79         $1.281 00                                  $0.00         $6.201.79
                                                                                                                                       $0.00
    delinquent on your mortgage loan.        This is your Recent      Total Payments Due                                                                                $145,493.52
    Account History:                                                  Total Fees and Charges                                                                             $56,340 27
    * Payment due 09/01/2018                                          Total Amount Due                                                                                  $201 833.79

    •Payment due 10/01/2018
                                                                                                 Customer Service: (800) 603-0836
    •Payment due 11/01/2018
                                                                                    Website: borrower.snsc.com " Email: customserv@snsc.com
    •Payment due 12/01/2018

    •Payment due 01/01/2019                                           Important Messages

    * Payment due 02/01/2019                                          Statement includes transactions through 02-06-2019. Reinstatement figures are subject to change.
                                                                      We may report information about your account to credit bureaus.             Late payments, missed
    * Current Payment due 03/01/2019: $6,201.79
                                                                      payments or other defaults on your account may be reflected on your credit report.
    'Total $201,833.79 due. You must pay this amount
    to bring your loan current.

    If you have previously received a discharge in bankruptcy and this debt was not reaffirmed, this correspondence is not and should not be construed to be an
    attempt to collect such a debt as your personal liability, but is instead a step in the enforcement of a mortgage lien against your property.
    Housing Counselor Information            If you would like counseling or assistance, you can contact the following:
       •     U.S. Department of Housing and Urban Development (HUD): For a list of homeownership counselors or counseling organizations in your area, go to
             httDV/www hud.aov/offices/hsa/sfh/hcc/hcs.cfm or call 800-569-4287.

    Other Balances                                                               Transaction Activity (1/3/2019 to 2/6/2019)

    Description                                                       Balance          Date        Description                                            Charges          Payments
    Late Fees                                                         $209.85        1/12/2019     Late Charge Assessment                                   $15.00
    Prior Serv Corp Adv                                            $19,906.05
    Prior Serv Esc Adv                                             $36 224.37




                                                                                Detach at Perforation

                                                                                                                            Payment Coupon
           Jjiq SERVICING CORPORATION                                                                      Please return with your check payable to: SN Servicing Corporation

           Customer Service    (800) 603-0836

                                                                                                                          Amount due for Loan

                                                                                                            Due 4/1/2017                                             $5,992.45

                                                                                                            Total Amount Due •                                    $201,833.79
       DONAL MCDONAGH
                                                                                                                $15.00 late fee will be charged on or after 3/12/2019
       2416 SANDERS RIDGE LN
       GERMANTOWN, TN 38138                                                                                 Additional Principal              $
                                                                                                            Additional Escrow                 $
                                                                                                            Total Amount Enclosed             $


                     Illl'l       Illlllll                                                                  * Figures are subject to change.
                SN Servicing Corporation                                                                    Please call (800) 603-0836 to update these figures prior to
                SCIG Series III Trust                                                                       remitting funds.

                PO BOX 660820
                DALLAS, TX 75266-0820
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                                                                                                                                                                     PageID 247
             ^ SERVICING CORPORATION                                                                      Account Number

                                                                                                          Payment Due Date                                              4/1/2017
                      323 5TH STREET
                      EUREKA CA 95501                                                                     Total Amount Due                                       $195,617.00
                                                                                                                       $15.00 late fee may be charged on or after 2/12/2019

                                                                                                          Outstanding Principal                                     $393,520 58
                                                                                                                                  This is not the amount to pay off your loan
                                                                                                          Interest Rate (Until 7/1/2023)                                       6%
                                                                                                          Prepayment Penalty                                                    No

                                                                                                          Escrow Balance                                                   $0 00

                                                                                                          Past Payment Breakdown

            DONAL MCDONAGH                                                                                                                         Paid Since      Paid Year to
            2416 SANDERS RIDGE LN                                                                                                                   12/6/2018          Date
            GERMANTOWN, TN 38138
                                                                                                          Principal                                      $0.00                $0.00
                                                                                                          Interest                                       $0.00                $0.00
                                                                                                          Escrow (Taxes and Insurance)                   $0.00                $0.00

                                                                                                          Fees                                           $0.00                $0.00
                                                                                                          Partial Payment (Unapplied)                    $0.00                $0.00
                                                                                                          Total                                          $0.00                $0.00

    ** Delinquency Notice "                                       Explanation of Amount Due
    You are late on your mortgage payments. Your                    Due Date           Principal            Interest            Escrow          Other Funds            Total
    account has been referred to an attorney to initiate a           4/1/2017               $4,024.85         $1,967 60             $0.00                $0.00         $5,992.45
    foreclosure action. Failure to bring your loan current          5/1/2017
    may result in fees and foreclosure - the loss of your                                  $91,796.09        $35,301.40             $0.00                $0.00       $127,097.49
                                                                     1/1/2019
    home. As of January 2, 2019, you are 640 days                    2/1/2019               $4,899.35         $1,302.44                                  $0.00         $6.201.79
                                                                                                                                    $0.00
    delinquent on your mortgage loan.    This is your Recent      Total Payments Due                                                                                 $139,291.73
    Account History:                                              Total Fees and Charges                                                                              $56,325 27
    * Payment due 08/01/2018                                      Total Amount Due                                                                                   $195 617.00

    * Payment due 09/01/2018
                                                                                             Customer Service: (800) 603-0836
    •Payment due 10/01/2018
                                                                                Website: borrower.snsc.com " Email: customserv@snsc.com
    •Payment due 11/01/2018

    •Payment due 12/01/2018                                       Important Messages

    •Payment due 01/01/2019                                       Statement includes transactions through 01-02-2019. Reinstatement figures are subject to change.
                                                                  We may report information about your account to credit bureaus.              Late payments, missed
    * Current Payment due 02/01/2019: $6,201 .79
                                                                  payments or other defaults on your account may be reflected on your credit report.
    'Total $195,617.00 due. You must pay this amount
    to bring your loan current.

    If you have previously received a discharge in bankruptcy and this debt was not reaffirmed, this correspondence is not and should not be construed to be an
    attempt to collect such a debt as your personal liability, but is instead a step in the enforcement of a mortgage lien against your property.
    Housing Counselor Information       If you would like counseling or assistance, you can contact the following:
       •     U.S. Department of Housing and Urban Development (HUD): For a list of homeownership counselors or counseling organizations in your area, go to
             httDV/www hud.aov/offices/hsa/sfh/hcc/hcs.cfm or call 800-569-4287.

    Other Balances                                                            Transaction Activity (12/6/2018 to 1/2/2019)

    Description                                                   Balance           Date        Description                                            Charges          Payments
    Late Fees                                                     $194.85       1 2/1 2/201 8   Late Charge Assessment                                   $15.00
    Prior Serv Corp Adv                                        $19,906.05
    Prior Serv Esc Adv                                         $36 224.37




                                                                             Detach at Perforation

                                                                                                                         Payment Coupon
           Jjiq SERVICING CORPORATION                                                                   Please return with your check payable to: SN Servicing Corporation

           Customer Service    (800) 603-0836

                                                                                                                       Amount due for Loan

                                                                                                         Due 4/1/2017                                             $5,992.45

                                                                                                         Total Amount Due •                                     $195,617.00
       DONAL MCDONAGH
                                                                                                             $15.00 late fee will be charged on or after 2/12/2019
       2416 SANDERS RIDGE LN
       GERMANTOWN, TN 38138                                                                              Additional Principal              $
                                                                                                         Additional Escrow                 $
                                                                                                         Total Amount Enclosed             $


                                                                     In1'!                               * Figures are subject to change.
                SN Servicing Corporation                                                                 Please call (800) 603-0836 to update these figures prior to
                SCIG Series III Trust                                                                    remitting funds.

                PO BOX 660820
                DALLAS, TX 75266-0820
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                                                                                                                                                                       PageID 248
             ^ SERVICING CORPORATION                                                                     Account Number

                                                                                                         Payment Due Date
                                                                                                                                                                   I

                                                                                                                                                                          4/1/2017
                      323 5TH STREET
                      EUREKA CA 95501                                                                    Total Amount Due                                       $189,400.21
                                                                                                                      $15.00 late fee may be charged on or after 1/12/2019

                                                                                                         Outstanding Principal                                         $393,520 58
                                                                                                                                 This is not the amount to pay off your loan
                                                                                                         Interest Rate (Until 7/1/2023)                                          6%
                                                                                                         Prepayment Penalty                                                      No

                                                                                                         Escrow Balance                                                      $0 00

                                                                                                         Past Payment Breakdown

            DONAL MCDONAGH                                                                                                                        Paid Since      Paid Year to
            2416 SANDERS RIDGE LN                                                                                                                  11/8/2018             Date
            GERMANTOWN, TN 38138
                                                                                                         Principal                                      $0.00            $7,989.72
                                                                                                         Interest                                       $0.00            $3 995.18
                                                                                                         Escrow (Taxes and Insurance)                   $0.00                $0.00

                                                                                                         Fees                                         $152.74            $4,608.46
                                                                                                         Partial Payment (Unapplied)                    $0.00                $0.00
                                                                                                         Total                                        $152.74           $16,593.36

    ** Delinquency Notice "                                       Explanation of Amount Due
    You are late on your mortgage payments. Your                    Due Date           Principal           Interest           Escrow           Other Funds               Total
    account has been referred to an attorney to initiate a           4/1/2017              $4,024.85          $1,967 60            $0.00                $0.00            $5,992.45
    foreclosure action. Failure to bring your loan current          5/1/2017
    may result in fees and foreclosure - the loss of your                                 $86,918.08        $33,977 62             $0.00                $0.00          $120,895.70
                                                                    12/1/2018
    home. As of December 5, 2018, you are 612 days                   1/1/2019              $4.878.01          $1,323.78                                 $0.00            $6.201.79
                                                                                                                                   $0.00
    delinquent on your mortgage loan.    This is your Recent      Total Payments Due                                                                                   $133,089.94
    Account History:                                              Total Fees and Charges                                                                                $56,310 27
    * Payment due 07/01/2018                                      Total Amount Due                                                                                     $189 400,21

    * Payment due 08/01/2018
                                                                                             Customer Service: (800) 603-0836
    * Payment due 09/01/2018
                                                                                Website: borrower.snsc.com " Email: customserv@snsc.com
    •Payment due 10/01/2018

    •Payment due 11/01/2018                                       Important Messages

    •Payment due 12/01/2018                                       Statement includes transactions through 12-05-2018. Reinstatement figures are subject to change.
                                                                  We may report information about your account to credit bureaus.             Late payments, missed
    * Current Payment due 01/01/2019: $6,201.79
                                                                  payments or other defaults on your account may be reflected on your credit report.
    ' Total $1 89,400.21 due. You must pay this amount
    to bring your loan current.

    If you have previously received a discharge in bankruptcy and this debt was not reaffirmed, this correspondence is not and should not be construed to be an
    attempt to collect such a debt as your personal liability, but is instead a step in the enforcement of a mortgage lien against your property.
    Housing Counselor Information       If you would like counseling or assistance, you can contact the following:
       •     U.S. Department of Housing and Urban Development (HUD): For a list of homeownership counselors or counseling organizations in your area, go to
             httDV/www hud.aov/offices/hsa/sfh/hcc/hcs.cfm or call 800-569-4287.

    Other Balances                                                           Transaction Activity (11/8/2018 to 12/5/2018)

    Description                                                   Balance          Date         Description                                           Charges             Payments
    Late Fees                                                     $179.85       1 1/1 2/201 8   Late Charge Assessment                                  $15.00
    Prior Serv Corp Adv                                        $19,906.05       11/16/2018      Prepetition Unapplied Payment Reversal                                     -$152.74
    Prior Serv Esc Adv                                         $36 224.37       11/16/2018      Prior Serv Corp Adv Payment                                                 $152.74
                                                                                1 1/27/201 8    Prior Serv Corp Adv Waiver                         -$20,112.18
                                                                                1 1/27/201 8    Prior Serv Esc Adv Assessment                       $20 112.18




                                                                            Detach at Perforation

                                                                                                                        Payment Coupon
           Jjiq SERVICING CORPORATION                                                                  Please return with your check payable to: SN Servicing Corporation

           Customer Service    (800) 603-0836

                                                                                                                      Amount due for Loan

                                                                                                        Due 4/1/2017                                             $5,992.45

                                                                                                        Total Amount Due •                                     $189,400.21
       DONAL MCDONAGH
                                                                                                            $15.00 late fee will be charged on or after 1/12/2019
       2416 SANDERS RIDGE LN
       GERMANTOWN, TN 38138                                                                             Additonal Principal               $
                                                                                                        Additional Escrow                 $
                                                                                                        Total Amount Enclosed             $


                                                                                                        * Figures are subject to change.
                SN Servicing Corporation                                                                Please call (800) 603-0836 to update these figures prior to
                SCIG Series III Trust                                                                   remitting funds.

                PO BOX 660820
                DALLAS, TX 75266-0820
                                                                                                                                                             PAPERLESS
Case 2:20-cv-02539-JPM-cgc Document 22-1 Filed 09/10/20 Page 32 of 53                                       Account Information - Statement Date          11/7/2018
                                                                                                                                                                          PageID 249
              ^ SERVICING CORPORATION                                                                       Account Number

                                                                                                            Payment Due Date
                                                                                                                                                                      I

                                                                                                                                                                             4/1/2017
                        323 5TH STREET
                        EUREKA CA 95501                                                                     Total Amount Due                                       $183,336.16
                                                                                                                         $15.00 late fee may be charged on or after 12/12/2018

                                                                                                            Outstanding Principal                                         $393,520 58
                                                                                                                                     This is not the amount to pay off your loan
                                                                                                            Interest Rate (Until 7/1/2023)                                          6%
                                                                                                            Prepayment Penalty                                                      No

                                                                                                            Escrow Balance                                                      $0 00

                                                                                                            Past Payment Breakdown

             DONAL MCDONAGH                                                                                                                          Paid Since      Paid Year to
             2416 SANDERS RIDGE LN                                                                                                                    10/4/2018             Date
             GERMANTOWN, TN 38138
                                                                                                            Principal                                      $0.00            $7,989.72
                                                                                                            Interest                                       $0.00            $3 995.18
                                                                                                            Escrow (Taxes and Insurance)                   $0.00                $0.00

                                                                                                            Fees                                           $0.00            $4,455.72
                                                                                                            Partial Payment (Unapplied)                    $0.00                $0.00
                                                                                                            Total                                          $0.00           $16,440.62

    ** Delinquency Notice "                                         Explanation of Amount Due
    You are late on your mortgage payments.          Failure to       Due Date           Principal            Interest           Escrow           Other Funds               Total
    bring your loan current may result in fees and                     4/1/2017               $4,024.85         $1,967 60               $0.00              $0.00            $5,992.45
    foreclosure — the loss of your home. As of November 7,            5/1/2017
    2018, you are 584 days delinquent on your mortgage                                       $82,061.32        $32,632 59               $0.00              $0.00          $114,693.91
                                                                      11/1/2018
    loan.   This is your Receni Accoum History :                      12/1/2018               $4.856.76         $1.345 03                                  $0.00            $6,201.79
                                                                                                                                        $0.00
    * Payment due 06/01/2018                                        Total Payments Due                                                                                    $126,888.15
                                                                    Total Fees and Charges                                                                                 $56,448 01
    * Payment due 07/01/2018
                                                                    Total Amount Due                                                                                      $183 336.16
    * Payment due 08/01/2018

    * Payment due 09/01/2018                                                                   Customer Service: (800) 603-0836
    •Payment due 10/01/2018                                                       Website: borrower.snsc.com " Email: customserv@snsc.com

    •Payment due 11/01/2018
                                                                    Important Messages
    •Current Payment due 12/01/2018: $6,201.79
                                                                    Statement includes transactions through 1 1-07-2018.
    'Total $183,336.16 due. You must pay this amount                We may report information about your account to credit bureaus.              Late payments, missed
    to bring your loan current.                                     payments or other defaults on your account may be reflected on your credit report.

    If you have previously received a discharge in bankruptcy and this debt was not reaffirmed, this correspondence is not and should not be construed to be an
    attempt to collect such a debt as your personal liability, but is instead a step in the enforcement of a mortgage lien against your property.
    Housing Counselor Information       If you would like counseling or assistance, you can contact the following:
        •     U.S. Department of Housing and Urban Development (HUD): For a list of homeownership counselors or counseling organizations in your area, go to

              http;//www.hud.qQY/Qffices/hsq/sflVhcc/hcs.cfm or can 800-569-4287.
    Other Balances                                                              Transaction Activity (10/4/2018 to 11/7/2018)

    Description                                                     Balance           Date        Description                                            Charges             Payments
    Late Fees                                                       $164.85       1 0/1 2/201 8   Late Charge Assessment                                   $15.00
    Prior Serv Corp Adv                                           $40,170.97
    Prior Serv Esc Adv                                            $16,112.19
    Unapplied                                                       $152.74




                                                                               Detach at Perforation

                                                                                                                            Payment Coupon
            Jjiq SERVICING CORPORATION                                                                    Please return with your check payable to: SN Servicing Corporation

            Customer Service   (800) 603-0836

                                                                                                                          Amount due for Loan

                                                                                                           Due 4/1/2017                                             $5,992.45

                                                                                                           Total Payments Due *                                   $126,888.15
       DONAL MCDONAGH
                                                                                                              $15.00 late fee will be charged on or after 12/12/2018
       2416 SANDERS RIDGE LN
       GERMANTOWN, TN 38138                                                                                Additonal Principal               $
                                                                                                           Additional Escrow                 $
                                                                                                           Total Amount Enclosed             $


                ••ill                                                                                      * Does not include other fees, charges and balances.
                SN Servicing Corporation
                SCIG Series III Trust
                PO BOX 660820
                DALLAS, TX 75266-0820
                                                                                                                                                             PAPERLESS
Case 2:20-cv-02539-JPM-cgc Document 22-1 Filed 09/10/20 Page 33 of 53                                       Account Information - Statement Date          10/3/2018
                                                                                                                                                                          PageID 250
              ^ SERVICING CORPORATION                                                                       Account Number

                                                                                                            Payment Due Date
                                                                                                                                                                      I

                                                                                                                                                                             4/1/2017
                       323 5TH STREET
                       EUREKA CA 95501                                                                      Total Amount Due                                       $177,119.37
                                                                                                                         $15.00 late fee will be charged on or after 11/12/2018

                                                                                                            Outstanding Principal                                         $393,520 58
                                                                                                                                    This is not the amount to pay off your loan
                                                                                                            Interest Rate (Until 7/1/2023)                                          6%
                                                                                                            Prepayment Penalty                                                      No

                                                                                                            Escrow Balance                                                      $0 00

                                                                                                            Past Payment Breakdown

             DONAL MCDONAGH                                                                                                                          Paid Since      Paid Year to
             2416 SANDERS RIDGE LN                                                                                                                    9/6/2018              Date
             GERMANTOWN, TN 38138
                                                                                                            Principal                                      $0.00            $7,989.72
                                                                                                            Interest                                       $0.00            $3 995.18
                                                                                                            Escrow (Taxes and Insurance)                   $0.00                $0.00

                                                                                                            Fees                                           $0.00            $4,455.72
                                                                                                            Partial Payment (Unapplied)                    $0.00                $0.00
                                                                                                            Total                                          $0.00           $16,440.62

    ** Delinquency Notice "                                         Explanation of Amount Due
    You are late on your mortgage payments.          Failure to       Due Date           Principal            Interest           Escrow           Other Funds               Total
    bring your loan current may result in fees and                     4/1/2017               $4,024.85         $1,967 60              $0.00               $0.00            $5,992.45
    foreclosure — the loss of your home. As of October 3,             5/1/2017
    2018, you are 549 days delinquent on your mortgage                                       $77,225.71        $31,266.41              $0.00               $0.00          $108,492.12
                                                                      10/1/2018
    loan.   This is your Receni Accoum History :                      11/1/2018               $4.835.61         $1.366.18                                  $0.00            $6,201.79
                                                                                                                                       $0.00
    * Payment due 05/01/2018                                        Total Payments Due                                                                                    $120,686.36
                                                                    Total Fees and Charges                                                                                 $56,433 01
    * Payment due 06/01/2018
                                                                    Total Amount Due                                                                                      $177 119.37
    * Payment due 07/01/2018

    * Payment due 08/01/2018                                                                   Customer Service: (800) 603-0836
    * Payment due 09/01/2018                                                      Website: borrower.snsc.com " Email: customserv@snsc.com

    •Payment due 10/01/2018
                                                                    Important Messages
    •Current Payment due 11/01/2018: $6,201.79
                                                                    Statement includes transactions through 10-03-2018.
    'Total $177,119.37 due. You must pay this amount                We may report information about your account to credit bureaus.              Late payments, missed
    to bring your loan current.                                     payments or other defaults on your account may be reflected on your credit report.

    If you have previously received a discharge in bankruptcy and this debt was not reaffirmed, this correspondence is not and should not be construed to be an
    attempt to collect such a debt as your personal liability, but is instead a step in the enforcement of a mortgage lien against your property.
    Housing Counselor Information       If you would like counseling or assistance, you can contact the following:
        •     U.S. Department of Housing and Urban Development (HUD): For a list of homeownership counselors or counseling organizations in your area, go to

              http;//www.hud.qQY/Qffices/hsq/sflVhcc/hcs.cfm or can 800-569-4287.
    Other Balances                                                              Transaction Activity (9/6/2018 to 10/3/2018)

    Description                                                     Balance           Date        Description                                            Charges             Payments
    Late Fees                                                       $149.85        9/1 2/201 8    Late Charge Assessment                                   $15.00
    Prior Serv Corp Adv                                           $40,170.97
    Prior Serv Esc Adv                                            $16,112.19
    Unapplied                                                       $152.74




                                                                               Detach at Perforation

                                                                                                                           Payment Coupon
            Jjiq SERVICING CORPORATION                                                                    Please return with your check payable to: SN Servicing Corporation

            Customer Service   (800) 603-0836

                                                                                                                         Amount due for Loan

                                                                                                           Due 4/1/2017                                             $5,992.45

                                                                                                           Total Payments Due *                                  $120,686.36
       DONAL MCDONAGH
                                                                                                              $15.00 late fee will be charged on or after 11/12/2018
       2416 SANDERS RIDGE LN
       GERMANTOWN, TN 38138                                                                                Additonal Principal               $
                                                                                                           Additional Escrow                 $
                                                                                                           Total Amount Enclosed             $


                                                        I                                                  * Does not include other fees, charges and balances.
                SN Servicing Corporation
                SCIG Series III Trust
                PO BOX 660820
                DALLAS, TX 75266-0820
                                                                                                                                                             PAPERLESS
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                                                                                                                                                                      PageID 251
              ^ SERVICING CORPORATION                                                                       Account Number

                                                                                                            Payment Due Date                                              4/1/2017
                       323 5TH STREET
                       EUREKA CA 95501                                                                      Total Amount Due                                       $170,902.58
                                                                                                                         $15.00 late fee will be charged on or after 10/12/2018

                                                                                                            Outstanding Principal                                     $393,520 58
                                                                                                                                    This is not the amount to pay off your loan
                                                                                                            Interest Rate (Until 7/1/2023)                                       6%
                                                                                                            Prepayment Penalty                                                    No

                                                                                                            Escrow Balance                                                   $0 00

                                                                                                            Past Payment Breakdown

             DONAL MCDONAGH                                                                                                                          Paid Since      Paid Year to
             2416 SANDERS RIDGE LN                                                                                                                    8/9/2018           Date
             GERMANTOWN, TN 38138
                                                                                                            Principal                                      $0.00         $7,989.72
                                                                                                            Interest                                       $0.00         $3 995.18
                                                                                                            Escrow (Taxes and Insurance)                   $0.00                $0.00

                                                                                                            Fees                                       $4,455.72         $4,455.72
                                                                                                            Partial Payment (Unapplied)               -$4 455.72                $0.00
                                                                                                            Total                                          $0.00        $16,440.62

    " Delinquency Notice "                                          Explanation of Amount Due
    You are late on your mortgage payments.          Failure to       Due Date           Principal            Interest           Escrow           Other Funds            Total
    bring your loan current may result in fees and                     4/1/2017               $4,024.85         $1,967 60              $0.00               $0.00         $5,992.45
    foreclosure — the loss of your home. As of September 5,           5/1/2017
    2018, you are 521 days delinquent on your mortgage                                       $72,411.16        $29,879.17              $0.00               $0.00       $102,290.33
                                                                       9/1/2018
    loan.   This is your Receni Accoum History :                      10/1/2018               $4.814,55         $1.387 24                                  $0.00         $6,201.79
                                                                                                                                       $0.00
    * Payment due 04/01/2018                                        Total Payments Due                                                                                 $114,484.57
                                                                    Total Fees and Charges                                                                              $56,418 01
    * Payment due 05/01/2018
                                                                    Total Amount Due                                                                                   $170 902.58
    * Payment due 06/01/2018

    * Payment due 07/01/2018                                                                   Customer Service: (800) 603-0836
    * Payment due 08/01/2018                                                      Website: borrower.snsc.com " Email: customserv@snsc.com

    * Payment due 09/01/2018
                                                                    Important Messages
    * Current Payment due 10/01/2018: $6,201.79
                                                                    Statement includes transactions through 09-05-2018.
    'Total $170,902.58 due. You must pay this amount                We may report information about your account to credit bureaus.              Late payments, missed
    to bring your loan current.                                     payments or other defaults on your account may be reflected on your credit report.

    If you have previously received a discharge in bankruptcy and this debt was not reaffirmed, this correspondence is not and should not be construed to be an
    attempt to collect such a debt as your personal liability, but is instead a step in the enforcement of a mortgage lien against your property.
    Housing Counselor Information       If you would like counseling or assistance, you can contact the following:
        •     U.S. Department of Housing and Urban Development (HUD): For a list of homeownership counselors or counseling organizations in your area, go to

              http;//www.hud.qQY/Qfflces/hsq/sflVhcc/hcs.cfm or can 800-569-4287.
    Partial Payments Any partial payments that you make are not applied to your mortgage, but instead are held in a separate suspense account. If you pay the
    balance of a partial payment, the funds will then be applied to your mortgage.

    Other Balances                                                              Transaction Activity (8/9/2018 to 9/5/2018)

    Description                                                     Balance           Date        Description                                            Charges          Payments
    Late Fees                                                       $134.85        8/1 2/201 8    Late Charge Assessment                                   $15.00
    Prior Serv Corp Adv                                           $40,170.97       8/1 6/201 8    Prior Serv Esc Adv Payment                                              $4,608.46
    Prior Serv Esc Adv                                            $16,112.19       8/16/2018      Unapplied Payment Reversal                                             -$4,455.72
    Unapplied                                                       $152.74        8/1 6/201 8    Prior Serv Esc Adv Payment Reversal                                      -$152.74




                                                                               Detach at Perforation

                                                                                                                           Payment Coupon
            Jjiq SERVICING CORPORATION                                                                    Please return with your check payable to: SN Servicing Corporation

            Customer Service   (800) 603-0836

                                                                                                                         Amount due for Loai

                                                                                                           Due 4/1/2017                                             $5,992.45

                                                                                                           Total Payments Due *                                  $114,484.57
       DONAL MCDONAGH
                                                                                                              $15.00 late fee will be charged on or after 10/12/2018
       2416 SANDERS RIDGE LN
       GERMANTOWN, TN 38138                                                                                Additonal Principal               $
                                                                                                           Additional Escrow                 $
                                                                                                           Total Amount Enclosed             $


                                                                                                           * Does not include other fees, charges and balances.
                SN Servicing Corporation
                SCIG Series III Trust
                PO BOX 660820
                DALLAS, TX 75266-0820
                                                                                                                                                                  PAPERLESS
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                                                                                                                                                                           PageID 252
              ^ SERVICING CORPORATION                                                                            Account Number

                                                                                                                 Payment Due Date                                              4/1/2017
                        323 5TH STREET
                        EUREKA CA 95501                                                                          Total Amount Due                                       $169,141.51
                                                                                                                               $15.00 late fee will be charged on or after 9/12/2018

                                                                                                                 Outstanding Principal                                     $393,520 58
                                                                                                                                         This is not the amount to pay off your loan
                                                                                                                 Interest Rate (Until 7/1/2023)                                       6%
                                                                                                                 Prepayment Penalty                                                    No

                                                                                                                 Escrow Balance                                                   $0 00

                                                                                                                 Past Payment Breakdown

             DONAL MCDONAGH                                                                                                                               Paid Since      Paid Year to
             2416 SANDERS RIDGE                                                                                                                            7/5/2018           Date
             GERMANTOWN, TN 38138
                                                                                                                 Principal                                  $4,004.82         $7,989.72
                                                                                                                 Interest                                   $1 987.63         $3 995.18
                                                                                                                 Escrow (Taxes and Insurance)                   $0.00                $0.00

                                                                                                                 Fees                                           $0.00                $0.00
                                                                                                                 Partial Payment (Unapplied)                   -$0.45         $4 455.72
                                                                                                                 Total                                      $5,992.00        $16,440.62

    " Delinquency Notice "                                              Explanation of Amount Due
    You are late on your mortgage payments.             Failure to         Due Date           Principal            Interest           Escrow           Other Funds            Total
    bring your loan current may result in fees and                         4/1/2017                $4,024.85         $1,967 60              $0.00               $0.00         $5,992.45
    foreclosure — the loss of your home. As of August 8,                  5/1/2017
    2018, you are 493 days delinquent on your mortgage                                            $67,617.59        $28,470 95              $0.00               $0.00        $96,088 54
                                                                           8/1/2018
    loan.   This is your Receni Accoum History :                           9/1/2018                $4,793.57         $1,408 22                                  $0.00         $6,201.79
                                                                                                                                            $0.00
    * Payment due 03/01/2018                                            Total Payments Due                                                                                  $108,282.78
                                                                        Total Fees and Charges                                                                               $60,858.73
    * Payment due 04/01/2018
                                                                        Total Amount Due                                                                                    $169 141.51
    * Payment due 05/01/2018

    * Payment due 06/01/2018                                                                        Customer Service: (800) 603-0836
    * Payment due 07/01/2018                                                           Website: borrower.snsc.com " Email: customserv@snsc.com

    * Payment due 08/01/2018
                                                                        Important Messages
    * Current Payment due 09/01/2018: $6,201.79
                                                                        Statement includes transactions through 08-08-2018.
    'Total $169,141.51 due. You must pay this amount                    We may report information about your account to credit bureaus.               Late payments, missed
    to bring your loan current.                                         payments or other defaults on your account may be reflected on your credit report.

    If you have previously received a discharge in bankruptcy and this debt was not reaffirmed, this correspondence is not and should not be construed to be an
    attempt to collect such a debt as your personal liability, but is instead a step in the enforcement of a mortgage lien against your property.
    Housing Counselor Information           If you would like counseling or assistance, you can contact the following:
        •     U.S. Department of Housing and Urban Development (HUD): For a list of homeownership counselors or counseling organizations in your area, go to

              http;//www.hud.qQY/Qfflces/hsq/sflVhcc/hcs.cfm or can 800-569-4287.
    Partial Payments Any partial payments that you make are not applied to your mortgage, but instead are held in a separate suspense account. If you pay the
    balance of a partial payment, the funds will then be applied to your mortgage.

    Other Balances                                                                   Transaction Activity (7/5/2018 to 8/8/2018)

    Description                                                         Balance            Date        Description                                            Charges          Payments
    Late Fees                                                           $119.85         7/23/2018      Unapplied Payment                                                       $5,992.00
    Prior Serv Corp Adv                                              $40,170.97         7/23/2018      Unapplied Payment Reversal                                             -$5,992.45
    Prior Serv Esc Adv                                               $20,567.91         7/23/2018      Payment                                                                 $5,992.45
    Unapplied                                                         $4 608.46         7/28/2018      Late Charge Assessment                                  $119.85




                                                                                    Detach at Perforation

                                                                                                                                Payment Coupon
            Jjiq SERVICING CORPORATION                                                                         Please return with your check payable to: SN Servicing Corporation

            Customer Service     (800) 603-0836

                                                                                                                              Amount due for Loan

                                                                                                                Due 4/1/2017                                             $5,992.45

                                                                                                                Total Payments Due *                                  $108,282.78
       DONAL MCDONAGH
                                                                                                                    $15.00 late fee will be charged on or after 9/12/2018
       2416 SANDERS RIDGE
       GERMANTOWN, TN 38138                                                                                     Additonal Principal               $
                                                                                                                Additional Escrow                 $
                                                                                                                Total Amount Enclosed             $

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                                                                                                                * Does not include other fees, charges and balances.
                SN Servicing Corporation
                SCIG Series III Trust
                PO BOX 660820
                DALLAS, TX 75266-0820
Case 2:20-cv-02539-JPM-cgc Document 22-1 Filed 09/10/20 Page 36 of 53                                     Account Information - Statement Date          7/4/2018
                                                                                                                                                                    PageID 253
             ^ SERVICING CORPORATION                                                                      Account Number

                                                                                                          Payment Due Date                                              3/1/2017
                        323 5TH STREET
                                                                                                          Total Amount Due                                          $168,812.32
                        EUREKA CA 95501
                                                                                                                          $0.00 late fee will be charged on or after 8/1/2018

                                                                                                          Outstanding Principal                                     $397,525.40
                                                                                                                                  This is not the amount to pay off your loan
                                                                                                          Interest Rate (Until 7/1/2023)                                       6%
                                                                                                          Prepayment Penalty                                                   No

                                                                                                          Escrow Balance                                                   $0 00

                                                                                                          Past Payment Breakdown

            DONAL MARTIN MCDONAGH                                                                                                                  Paid Since      Paid Year to
            2416 SANDERS RIDGE                                                                                                                      6/7/2018           Date

            GERMANTOWN, TN 38138                                                                          Principal                                      $0.00         $3 984.90

                                                                                                          Interest                                       $0.00         $2,007.55
                                                                                                          Escrow (Taxes and Insurance)                   $0.00               $0.00
                                                                                                          Fees                                           $0.00               $0.00
                                                                                                          Partial Payment (Unapplied)                  $490.85         $4,456.17

                                                                                                          Total                                        $490.85        $10,448.62

    " Delinquency Notice "                                        Explanation of Amount Due
    You are late on your mortgage payments. Failure to              Due Date           Principal            Interest           Escrow           Other Funds            Total
    bring your loan current may result in fees and                   3/1/2017               $4 004.82         $1 987 63             $0.00                $0.00         $5 992.45
    foreclosure — the loss of your home. As of July 4, 201 8,       4/1/2017
    you are 489 days delinquent on your mortgage loan.                                     $66,869.75        $29,009.45             $0.00                $0.00        $95,879 20
                                                                     7/1/2018
    This is your Recent Account History:                             8/1/2018               $4 772.69                                                                  $6 201.79
                                                                                                              $1 429.10             $0.00                $0.00
    * Payment due 02/01/2018                                      Total Payments Due                                                                                 $108,073.44

    * Payment due 03/01/2018                                      Total Fees and Charqes                                                                              $60 738 88
                                                                  Total Amount Due                                                                                   $168 812.32
    * Payment due 04/01/2018

    * Payment due 05/01/2018                                                                 Customer Service: (800) 603-0836
    * Payment due 06/01/2018                                                    Website: borrower.snsc.com " Email: customserv@snsc.com

    * Payment due 07/01/2018
                                                                  Important Messages
    * Current Payment due 08/01/2018: $6,201.79
                                                                  Statement includes transactions through 07-04-2018.
    'Total $168,812.32 due. You must pay this amount              We may report information about your account to credit bureaus.              Late payments, missed
    to bring your loan current.                                   payments, or other defaults on your account may be reflected on your credit report.

    If you have previously received a discharge in bankruptcy and this debt was not reaffirmed, this correspondence is not and should not be construed to be an
    attempt to collect such a debt as your personal liability, but is instead a step in the enforcement of a mortgage lien against your property.
    Housing Counselor Information       If you would like counseling or assistance, you can contact the following:
       •     U.S. Department of Housing and Urban Development (HUD): For a list of homeownership counselors or counseling organizations in your area, go to

             http;//www.hud.qQY/Qfflces/hsq/sflVhcc/hcs.cfm or can 800-569-4287.
    Partial Payments Any partial payments that you make are not applied to your mortgage, but instead are held in a separate suspense account. If you pay the
    balance of a partial payment, the funds will then be applied to your mortgage.

    Other Balances                                                            Transaction Activity (6/7/2018 to 7/4/2018)

    Description                                                   Balance           Date        Description                                            Charges          Payments
    Prior Serv Corp Adv                                         $40,170.97       6/11/2018      Unapplied Payment                                                         $258.37
    Prior Serv Esc Adv                                          $20,567.91       6/27/2018      Unapplied Payment                                                         $232.48
    Unapplied                                                    $4,608.91




                                                                             Detach at Perforation

                                                                                                                         Payment Coupon
           Jjiq SERVICING CORPORATION                                                                   Please return with your check payable to: SN Servicing Corporation

           Customer Service    (800) 603-0836

                                                                                                                       Amount due for Loai

                                                                                                         Due 3/1/2017                                            $5,992.45

                                                                                                         Total Payments Due *                                  $108,073.44
       DONAL MARTIN MCDONAGH
                                                                                                              $0.00 late fee will be charged on or after 8/1/2018
       2416 SANDERS RIDGE
       GERMANTOWN, TN 38138                                                                              Additonal Principal               $
                                                                                                         Additional Escrow                 $
                                                                                                         Total Amount Enclosed             $

                »   "
                                                                                                         * Does not include other fees, charges and balances.
                SN Servicing Corporation
                SCIG Series III Trust
                PO BOX 660820
                DALLAS, TX 75266-0820
                                                                                             MAILING BLOCK: PLEASE CONTACT SERVICER
Case 2:20-cv-02539-JPM-cgc Document 22-1 Filed 09/10/20 Page 37 of 53                                     Account Information - Statement Date           6/6/2018
                                                                                                                                                                      PageID 254
             ^ SERVICING CORPORATION                                                                      Account Number

                                                                                                           Post-Petition Payment Due Date                                3/1/2017
                      323 5TH STREET
                                                                                                           Post-Petition Total Amount Due                            $162,610.53
                      EUREKA CA 95501
                                                                                                                             $0.00 late fee will be charged on or after 7/1/2018

                                                                                                           Outstanding Principal                                     $397,525.40
                                                                                                                                    This is not the amount to pay off your loan
                                                                                                           Interest Rate (Until 7/1/2023)                                        6%
                                                                                                           Prepayment Penalty                                                    No

                                                                                                           Escrow Balance                                                   $0 00

                                                                                                           Past Payment Breakdown

            DONAL MARTIN MCDONAGH                                                                                                                    Paid Since     Paid Year to
            2416 SANDERS RIDGE                                                                                                                        5/3/2018          Date

            GERMANTOWN, TN 38138                                                                           Principal                                       $0.00        $3 984.90

                                                                                                           Interest                                        $0.00        $2,007.55
                                                                                                           Escrow (Taxes and Insurance)                    $0.00            $0.00
                                                                                                           Fees                                            $0.00            $0.00
                                                                                                           Partial Payment (Unapplied)                     $0.00        $3,965.32

                                                                                                          Total                                            $0.00        $9,957.77

                      Bankruptcy Message                            Explanation of Amount Due (Post-Petition Payment)

    Our records show that you are a debtor in                         Due Date          Principal            Interest            Escrow            Other Funds          Total
    bankruptcy. We are sending this statement to you                  3/1/2017              $4 004.82            $1 987 63             $0.00              $0.00         $5 992.45
    for informational and compliance purposes only. It               4/1/2017
                                                                                         $62,532.24           $27,354 51               $0.00              $0.00        $89,886.75
    is not an attempt to collect a debt against you.                  6/1/2018
                                                                      7/1/2018              $4 337,51            $1 654 94             $0.00              $0.00         $5 992.45
    If your bankruptcy plan requires you to send your regular
                                                                    Total Payments Due                                                                                $101,871.65
    monthly mortgage payments to the Trustee, you should
                                                                    Total Fees and Charqes                                                                             $60 738 88
    pay the Trustee instead of us. Please contact your
                                                                    Total Amount Due                                                                                  $162 610.53
    attorney or the Trustee if you have questions.
                                                                    The Payment Amount does not include any amount that was past due before you filed for
    If you want to stop receiving statements, write to us.
                                                                    bankruptcy.



                                                                                               Customer Service: (800) 603-0836
                                                                                  Website: borrower.snsc.com " Email: customserv@snsc.com

    Important Messages

    Statement includes transactions through 06-06-2018.
    We may report information about your account to credit bureaus. Late payments, missed payments, or other defaults on your account may be reflected on
    your credit report.
    We have not received all of your mortgage payments due since you filed for bankruptcy.
    This statement may not show recent payments you sent to the Trustee that the T rustee has not yet forwarded to us. Please contact your attorney or the
    T rustee if you have questions.

    Housing Counselor Information       If you would like counseling or assistance, you can contact the following:
       •     U.S. Department of Housing and Urban Development (HUD): For a list of homeownership counselors or counseling organizations in your area, go to
             httDV/www hud.aov/offices/hsa/sfh/hcc/hcs.cfm or call 800-569-4287.

    Summary of Amounts Past Due Before Bankruptcy Filing (Pre-Petition Arrearage)

    Paid on or after 5/3/2018                              $0.00 Amounts have not been Finalized

    Total Paid During Bankruptcy                         $152.74

    Current Balance                                    ($152.74)


    Other Balances                                                              Transaction Activity (5/3/2018 to 6/6/2018)

    Description                                                     Balance          Date          Description                                           Charges         Payments
    Prior Serv Corp Adv                                         $40,170.97                         No Transactional Detail
    Prior Serv Esc Adv                                          $20,567.91
    Unapplied                                                    $4,118.06




                                                                              Detach at Perforation

                                                                                                                             Payment Coupon
           Jjiq SERVICING CORPORATION                                                                   Please return with your check payable to: SN Servicing Corporation

           Customer Service     (800) 603-0836

                                                                                                                  Post-Petition Amount due for Loan

                                                           If your bankruptcy plan requires you to send     Due 3/1/2017                                             $5,992.45
                                                           your regular monthly mortgage payments to
                                                           the Trustee, you should pay the Trustee         Total Payments Due *                                    $101,871.65
      DONAL MARTIN MCDONAGH                                instead of us. Please contact your attorney
                                                           or the Trustee if you have questions.                   $0.00 late fee will be charged on or after 7/1/2018
      2416 SANDERS RIDGE
      GERMANTOWN, TN 38138                                                                                  Additonal Principal                $
                                                                                                            Additional Escrow                  $
                                                                                                            Total Amount Enclosed              $

                                                                "                                           ' Does not include other fees, charges and balances.
                SN Servicing Corporation
                SCIG Series III Trust
                PO BOX 660820
                DALLAS, TX 75266-0820
                                                                                                  MAILING BLOCK: PLEASE CONTACT SERVICER
Case 2:20-cv-02539-JPM-cgc Document 22-1 Filed 09/10/20 Page 38 of 53                                          Account Information - Statement Date           5/2/2018
                                                                                                                                                                           PageID 255
             ^ SERVICING CORPORATION                                                                           Account Number

                                                                                                               Post-Petition Payment Due Date                                 3/1/2017
                      323 5TH STREET
                                                                                                               Post-Petition Total Amount Due                             $156,618.08
                      EUREKA CA 95501
                                                                                                                                  $0.00 late fee will be charged on or after 6/1/2018

                                                                                                               Outstanding Principal                                      $397,525.40
                                                                                                                                         This is not the amount to pay off your loan
                                                                                                               Interest Rate (Until 7/1/2018)                                         6%
                                                                                                               Prepayment Penalty                                                     No

                                                                                                               Escrow Balance                                                    $0 00

                                                                                                               Past Payment Breakdown

            DONAL MARTIN MCDONAGH                                                                                                                         Paid Since     Paid Year to
            2416 SANDERS RIDGE                                                                                                                             4/2/2018          Date

            GERMANTOWN, TN 38138                                                                               Principal                                    $3 984.90        $3 984.90

                                                                                                               Interest                                     $2,007.55        $2,007.55
                                                                                                               Escrow (Taxes and Insurance)                     $0.00            $0.00
                                                                                                               Fees                                             $0.00            $0.00
                                                                                                               Partial Payment (Unapplied)                  $3,965.32        $3,965.32

                                                                                                               Total                                        $9,957.77        $9,957.77

                      Bankruptcy Message                                 Explanation of Amount Due (Post-Petition Payment)

    Our records show that you are a debtor in                              Due Date          Principal             Interest           Escrow            Other Funds          Total
    bankruptcy. We are sending this statement to you                       3/1/2017              $4 004.82            $1 987 63             $0.00              $0.00         $5 992.45
    for informational and compliance purposes only. It                    4/1/2017
                                                                                              $58,216.31            $25,677 99              $0.00              $0.00        $83,894 30
    is not an attempt to collect a debt against you.                       5/1/2018
                                                                           6/1/2018              $4 315.93            $1 676 52             $0.00              $0.00         $5 992.45
    If your bankruptcy plan requires you to send your regular
                                                                         Total Payments Due                                                                                 $95,879 20
    monthly mortgage payments to the Trustee, you should
                                                                         Total Fees and Charqes                                                                             $60 738 88
    pay the Trustee instead of us. Please contact your
                                                                         Total Amount Due                                                                                  $156 618.08
    attorney or the Trustee if you have questions.
                                                                         The Payment Amount does not include any amount that was past due before you filed for
    If you want to stop receiving statements, write to us.
                                                                         bankruptcy.



                                                                                                    Customer Service: (800) 603-0836
                                                                                       Website: borrower.snsc.com " Email: customserv@snsc.com

    Important Messages

    Statement includes transactions through 05-02-2018.
    We may report information about your account to credit bureaus. Late payments, missed payments, or other defaults on your account may be reflected on
    your credit report.
    We have not received all of your mortgage payments due since you filed for bankruptcy.
    This statement may not show recent payments you sent to the Trustee that the T rustee has not yet forwarded to us. Please contact your attorney or the
    Trustee if you have questions.
    Partial Payments: Any partial payments listed here are not applied to your mortgage, but instead are held in one or more separate suspense accounts. Once
    we receive funds equal to a full monthly payment, we will apply those funds to your mortgage.

    Housing Counselor Information           If you would like counseling or assistance, you can contact the following:
       •     U.S. Department of Housing and Urban Development (HUD): For a list of homeownership counselors or counseling organizations in your area, go to
             httDV/www hud.aov/offices/hsa/sfh/hcc/hcs.cfm or call 800-569-4287.

    Summary of Amounts Past Due Before Bankruptcy Filing (Pre-Petition Arrearage)

    Paid on or after 4/2/2018                                    $0.00 Amounts have not been Finalized

    Total Paid During Bankruptcy                               $152.74

    Current Balance                                        ($152.74)


    Other Balances                                                                   Transaction Activity (4/2/2018 to 5/2/2018)

    Description                                                          Balance          Date          Description                                           Charges         Payments
    Prior Serv Corp Adv                                            $40,170.97           4/27/2018       Other Fee Assessment                                $60,738.88
    Prior Serv Esc Adv                                             $20,567.91           4/30/2018       Unapplied Payment                                                      $9,957.77
    Unapplied                                                        $4,118.06          4/30/2018       Prepetition Unapplied Payment                                           $152.74
                                                                                        4/30/2018       Unapplied Payment Reversal                                            -$5,992.45
                                                                                        4/30/2018       Payment                                                                $5,992.45




                                                                                   Detach at Perforation

                                                                                                                                  Payment Coupon
           Jjiq SERVICING CORPORATION                                                                        Please return with your check payable to: SN Servicing Corporation

           Customer Service     (800) 603-0836

                                                                                                                       Post-Petition Amount due for Loan

                                                                If your bankruptcy plan requires you to send      Due 3/1/2017                                            $5,992.45
                                                                your regular monthly mortgage payments to
                                                                the Trustee, you should pay the Trustee           Total Payments Due *                                   $95,879.20
      DONAL MARTIN MCDONAGH                                     instead of us. Please contact your attorney
                                                                or the Trustee if you have questions.                   $0.00 late fee will be charged on or after 6/1/2018
      2416 SANDERS RIDGE
      GERMANTOWN, TN 38138                                                                                        Additonal Principal               $
                                                                                                                  Additional Escrow                 $
                                                                                                                  Total Amount Enclosed             $


                •'I       I           Ill                 II                                                      ' Does not include other fees, charges and balances.
                SN Servicing Corporation
                SCIG Series III Trust
                PO BOX 660820
                DALLAS, TX 75266-0820
        Case 2:20-cv-02539-JPM-cgc Document 22-1 Filed 09/10/20 Page 39 of 53                                   PageID 256
                   SERVICING CORPORATIO s
                                                                                                                      (800) 603-0836
                  EUREKA CA 95501                                                             Para Espanol, Ext. 2660, 2643 o 2772
                                                                                                    8:00 a.m. - 5:00 p.m. Pacific Time
                                                                                                            Main Office NMLS #5985
                                                                                                          Branch Office NMLS #9785




                DONAL MARTIN MCDONAGH                                                                                 May 18, 2018
               2416 SANDERS RIDGE
                GERMANTOWN TN 38138




RE: Loan Number:

                                Subsequent Interest Rate Adjustment Notice
THIS COMMUNICATION IS FROM A DEBT COLLECTOR. SN SERVICING CORPORATION. THEIR EMPLOYEES. AGENTS AND ATTORNEYS ARE

ATTEMPTING TO COLLECT A DEBT. ANY INFORMATION OBTAINED BY US WILL BE USED FOR THAT PURPOSE. TO THE EXTENT THAT YOU
MAY HAVE RECEIVED A DISCHARGE IN BANKRUPTCY THIS COMMUNICATION SHOULD NOT BE CONSTRUED AS INTENT TO SUBJECT YOU TO

PERSONAL LIABILITY FOR THE DISCHARGED DEBT.



Changes to Your Mortgage Interest Rate and Payments on July 1, 2018


Under the terms of your Adjustable-Rate Mortgage (ARM), you had a five-year period during which your interest rate
stayed the same. That period ends on July 1, 2018, so on that date your interest rate and mortgage payment change.
After that, your interest rate will not change every 5 years for the rest of your loan       erm.

                                                                      Current Rate                        New Rate
                                                                 and Monthly Payment                and Monthly Payment

         Interest Rate
                                                                                                              $6,201.79
        Total Monthly Payment                                         $5,992.45
                                                                                                    (due August 1,2018)


IMPORTANT : To the extent your original obligation was discharged, or is subject to an automatic stay of bankruptcy under Title
1 1 of the United States Code, this statement is for compliance and/or informational purposes only and does not constitute an
attempt to collect a debt or to impose personal liability for such obligation. However, Creditor retains rights under its security
instrument, including the right to foreclose its lien.
Interest Rate: We calculated your interest rate by taking a published "index rate" and adding a certain number of percentage
points, called the "margin." Under your loan agreement, your index rate is the 1 Yr T reas. Sec Wkly Avg and your margin is
3.00%. The 1 Yr Treas. Sec Wkly Avg index is published Weekly in The Federal Reserve. The index rate plus margin will be
rounded to the nearest 0.125%.
Rate Limits: Your rate cannot go higher than 12.25%, or lower than 3.00% over the life of the loan. Your rate can increase ever>
years by no more than 2.00%. Your rate can decrease every 5 years by no more than 2.00%.
New Interest Rate and Monthly Payment: The table above shows your new interest rate and new monthly payment. These
amounts are based on the 1 Yr Treas. Sec Wkly Avg index, your margin, your loan balance of $326,650.83, and your remaining
loan term of 60 months.
Prepayment Penalty: None
Please continue to mail your payments as previously directed. The title and telephone number of a person who will answer any
question you may have regarding this notice is:


Name: Katie Greene
Title: Asset Manager
Toll Free Number: (800) 603-0836, ext: 2715
         Case 2:20-cv-02539-JPM-cgc Document 22-1 Filed 09/10/20 Page 40 of 53        PageID 257
5*$                          &&$     '    /. $            / &&         **        &$     &          *
  6 6(     0
  Case 2:20-cv-02539-JPM-cgc
     Pocq  1 9,97^/1 9 rwiRR Document
                              BiatUMfl22-1 Filed 09/10/20 Page
                                            PntoroHn^/Qi/iQ    41 of 53Desc
                                                            15:45:42     PageID
                                                                            Main 258
 Fill in this information to identify the case:                                                     5

 Debtor 1              Donal Martin McDonagh

 Debtor 2              Michele Rawls McDonagh
 (Spouse, if filing)


 United States Bankruptcy Court for the: Western District of Tennessee


 Case number           1 2-27 642




Official Form 410S1

Notice of Mortgage Payment Change                                                                                                                   12/15


If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.




 Name of creditor: US Bank Trust National Association, et al.                               Court claim no. (if known): 21-1


 Last 4 digits of any number you use to                                                     Date of payment change:
 identify the debtor's account:                             14            6      0          Must be at least 21 days afterdate         08/01/2018
                                                                                            of this notice



                                                                                            New total payment:
                                                                                                                                       $       6,201.79
                                                                                            Principal, interest, and escrow, if any


 Parti       j Escrow Account Payment Adjustment
 1.   Will there be a change in the debtor's escrow account payment?

            No

           Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                   the basis for the change. If a statement is not attached, explain why:




                   Current escrow payment:       $                                     New escrow payment:            $



 Part 2:         Mortgage Payment Adjustment



 2.   Will the debtor's principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?

            No
           Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                   attached, explain why:




                   Current interest rate:                      6.00%                   New interest rate:                             5.25%


                   Current principal and interest payment: $            5,992.45       New principal and interest payment: $                  6,201.79



 Part 3:         Other Payment Change


 3.   Will there be a change in the debtor's mortgage payment for a reason not listed above?

            No

           Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                   ( Court approval may be required before the payment change can take effect)

                   Reason for change:


                   Current mortgage payment: $                                         New mortgage payment:          $



Official Form 410S1                                           Notice of Mortgage Payment Change                                                   page 1
  Case 2:20-cv-02539-JPM-cgc
     Case  12-27642   Doc 166 Document   22-1 Filed
                               Filed 05/31/18       09/10/20
                                               Entered        Page
                                                       05/31/18    42 of 53Desc
                                                                15:45:42     PageID
                                                                                Main 259
                                                                           Document         Page 2 of 5


Debtor 1         Donal Martin McDonagh                                                               Case number (ifknown)   1 2-27642
                 First Name      Middle Name                   Last Name




 Part 4:         Sign Here



 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.

 Check the appropriate box.


           I am the creditor.

     Si I am the creditor's authorized agent.


 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.




  X/s/ Megan M. Lynch                                                                                Date   05/31/2018

     Signature




                    Megan                               M.                  Lynch                    Titie Bankruptcy Asset Manager
 Print:
                    First Name                          Middle Name           Last Name




 Company            SN Servicing Corporation



 Address            323 5th Street
                    Number                     Street


                     Eureka                                                  CA       95501
                    City                                                      State       ZIP Code




 Contact phone       800-603-0836                                                                    Emaii bknotices@snsc.com




Official Form 410S1                                                         Notice of Mortgage Payment Change                            page 2
              ^'llRVICINGCORPdST pise 3ecf°55,31/18 15:45:42 ^ ^
         Case 2:20-cv-02539-JPM-cgc Document 22-1 Filed 09/10/20 Page 43 of 53

                        323 FIFTH STREET
                                                                                                                         PageID 260


                        EUREKA CA 95501                                                                                          (800) 603-0836
                                                                                                          Para Espaflol, Ext. 2660, 2643
                                                                                                                                          o 2772
                                                                                                              8:00 a.m. - 5:00 p.m. Pacific
                                                                                                                                            Time
                                                                                                                      Main Office NMLS #5985
                                                                                                                      Branch Office NMLS #9785




                    DONAL MARTIN MCDONAGH
                    2416 SANDERS RIDGE                                                                                              May 18, 2018
                    GERMANTOWN TN 38138




   RE: Loan Number:

                                           Subsequent Interest Rate Ad
  THIS COMMUNICATION IS
                                                                      justment Notice
                         FROM A DEBT COLLECTOR.
                                                SN SERVICING CORPORAT
  ATTEMPTING TO COLLECT A                                              ION, THEIR EMPLOYEES, AGEN
                           DEBT. ANY INFORMATION OBTA                                             TS AND ATTORNEYS ARE
                                                      INED BY US WILL BE USED FOR
  MAY HAVE RECEIVED A DISC                                                         THAT PURPOSE. TO THE EXTE
                           HARGE IN BANKRUPTCY THIS                                                          NT THAT YOU
                                                     COMMUNICATION SHOULD
  PERSONAL LIABILITY FOR                                                      NOT BE CONSTRUED AS INTE
                         THE DISCHARGED DEBT.                                                          NT TO SUBJECT YOU TO


   Changes to Your Mortgage
                            Interest Rate and Payments
                                                       on July 1. 2018

  Under the terms of your Adju
                                 stable-Rate Mortgage (ARM),
                                                                 you had a five-year period duri
  stayed the same. That peri                                                                     ng which your interest rate
                               od ends on July 1, 2018, so
                                                           on that date your interest rate
  After that, your interest rate                                                             and mortgage payment chan
                                 will not change every 5 year                                                            ge.
                                                              s for the rest of your loan term
                                                                                               .

                                                                                                                         Rate , .
                                                                        and
                           Mllill—lililU    —
                                                                              ifp;   iWPJffW .             and Monthly Payment
           Interest Rate
                                                                                                      —              5.55%     —
          Total Monthly Payment
                                                                              $5,992.45                                $6,201.79
                                                                                                           (due August 1, 2018)
 IMPORTANT: To the extent your
                                     original obligation was discharg
 1 1 of the United States Code, this                                  ed, or is subject to an automati
                                                                                                       c stay of bankruptcy under Title
                                      statement is for compliance and/
 attempt to collect a debt or to                                        or informational purposes only and
                                 impose personal                                                              does not constitute an
                                                       liability for such obligation. How
  instrument, including the right                                                            ever, Creditor retains rights unde
                                   to foreclose its lien.                                                                      r its security
 Interest Rate: We calculated
                                   your interest rate by taking a publ
 points, called the "margin." Und                                          ished "index rate" and adding
                                     er your loan agreement, your                                           a certain number of percentage
                                                                        index rate is the 1 Yr Treas. Sec
 3.00%. The 1 Yr Treas. Sec                                                                                  Wkly Avg and your margin is
                                Wkly Avg index is published
                                                                    Weekly in The Federal Rese
 rounded to the nearest 0.125%.                                                                     rve. The index rate plus marg
                                                                                                                                    in will be
 Rate Limits: Your rate cannot
                                    go higher than 12.25%, or lowe
years by no more than 2.00%.                                             r than 3.00% over the life of the
                                   Your rate can decrease every                                              loan. Your rate can increase ever
                                                                        5 years by no more than 2.00                                            y
New Interest Rate and Mon                                                                                %.
                                 thly Payment: The table abov
                                                                      e shows your new interest rate
amounts are based on the 1                                                                               and new monthly payment. Thes
                                Yr Treas. Sec Wkly Avg inde                                                                                  e
                                                                    x, your margin, your loan bala
loan term of 60 months.                                                                               nce of $326,650.83, and your
                                                                                                                                      remaining
Prepayment Penalty: None
Please continue to mail your paym
                                        ents as previously directed. The
question you may have rega                                                     title and telephone number of
                               rding this notice is:                                                            a person who will answer any

Name: Katie Greene
Title: Asset Manager
Toll Free Number: (800) 603-
                             0836, ext: 2715
    CaseCase
         2:20-cv-02539-JPM-cgc
             12-27642   Doc 166 Document   22-1 Filed
                                 Filed 05/31/18       09/10/20
                                                 Entered         Page
                                                          05/31/18    44 of 53Desc
                                                                   15:45:42     PageID
                                                                                   Main 261
"If your account is not contractually currentDbcORYeprtymefilagflo^iafvSlI not go into effect until your loan is due for
08/01/2018.
   hijklmnmopqm rstlpp uvrs
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Case 2:20-cv-02539-JPM-cgc Document 22-1 Filed 09/10/20 Page 45 of 53
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                               0123454063185912*401
                    +,-,./01-230/453-61/75,8/097:;/2<,
            36:=>?@:A2B@CD6C=EFGHBFD?F3?I?E=JGK=@FLHFD=1LM@FB?HLE=J?GKN3?ILO=E
     FD=?>=LHPQB=?EJ?@K@LF?R?EFBFLFD=SGFDG@?CFGL@NIBTMJG@=JJ?KKE=JJGJUVU0GHFD
     +FE==F6.ME=W?61?XGHLE@G?YZZ[PA
            /@:?BUPJFV[PQ3J=EO=KFD=SGFDG@5/,31./0:/4,\-\.]-8:.5,
     19-5\.L@?XXG@F=E=JF=KR?EFG=JG@FDGJRELC==KG@>TBRX?CG@>?FEM=?@KCLEE=CFCLRB
     FD=E=LH=@CXLJ=KG@?J=?X=K=@O=XLR=SGFDRLJF?>=RE=R?GKG@FD=7@GF=K+F?F=JI?GX?F
     .ME=W?61?XGHLE@G?6?KKE=JJ=K?JHLXXLSJ^
     <L@?X?@K:GCD=X=:CKL@?>D
     V_P`+?@K=EJ4GK>=
     \=EI?@FLS@6,5UQPUQa`P__
     \=LE>=bA+F=O=@JL@
     ZUZ[]LRX?E-O=@M=6+MGF=Z[[
     :=IRDGJ6,5UQPPYaU`Yc
     d?I=J<A\=@FEB
     ZP[[]LRX?E-O=@M=6+MGF=V[[Q
     :=IRDGJ6,5UQPUc
           3C=EFGHBM@K=ER=@?XFBLHR=EeMEBFD?FFD=HLE=>LG@>GJFEM=?@KCLEE=CFA
           .f=CMF=KL@:?BUPJFV[PQ?F.ME=W?61?XGHLE@G?A
                                            gJg:=>?@:A2B@CD
                                            :=>?@:A2B@CD
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 Fill in this information to identify the case:                                                     5

 Debtor 1              Donal Martin McDonagh

 Debtor 2               Michele Rawls McDonagh
 (Spouse, if filing)



 United States Bankruptcy Court for the: Western District of Tennessee


 Case number            12-27642




Official Form 410S1

Notice of Mortgage Payment Change                                                                                                                   12/15


If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1 .



 Name of creditor: US Bank Trust National Association, et al.                               Court claim no. (if known): 21-1


 Last 4 digits of any number you use to                                                     Date of payment change:
 identify the debtor's account:                             14            6      0          Must be at least 21 days after date        08/01/2018
                                                                                            of this notice



                                                                                            New total payment:
                                                                                                                                       $       6,201,79
                                                                                            Principal, interest, and escrow, if any


 Part 1:         Escrow Account Payment Adjustment


 1.   Will there be a change in the debtor's escrow account payment?

      fif No
            Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                   the basis for the change. If a statement is not attached, explain why:




                       Current escrow payment:   $                                     New escrow payment:            $



 Part 2:         Mortgage Payment Adjustment



2.    Will the debtor's principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?

            No
      if Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                   attached, explain why:




                   Current interest rate:                      6.00%                   New interest rate:                             5.25%


                   Current principal and interest payment: $            5,992.45       n6W principal and interest payment: $                  6,201.79



 Part 3:         Other Payment Change


3.    Will there be a change in the debtor's mortgage payment for a reason not listed above?

      Si No
            Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                   (Court approval may be required before the payment change can take effect.)

                       Reason for change:


                       Current mortgage payment: $                                     New mortgage payment: $



Official Form 410S1                                            Notice of Mortgage Payment Change                                                  page 1
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Debtor 1
                 Donal Martin McDonagh                                                        Case number {if known)   12-27642
                 First Name      Middle Name             Last Name




 Part 4:         Sign Here



 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.

 Check the appropriate box.


           I am the creditor,

     il I am the creditor's authorized agent.


 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.




  X/s/ Megan M. Lynch                                                                         Date   05/31/2018
     Signature




 Print:              Megan                          M.               Lynch                    Titie Bankruptcy Asset Manager
                    First Name                  Middle Name            Last Name




 Company             SN Servicing Corporation



 Address            323 5th Street
                    Number                 Street


                     Eureka                                          CA        95501
                    City                                               State       Z P Code




 Contact phone       800-603-0836                                                             Emaii bknotices@snsc.com




Official Form 410S1                                                  Notice of Mortgage Payment Change                            page 2
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        Case 2:20-cv-02539-JPM-cgc Document 22-1 Filed 09/10/20 Page 48 of 53    PageID 265
                     SERVICING                      Page
                                                                          5:42 Des c Main
                       323 FIFTH STREET
                       EUREKA CA 95501                                                                                         (800) 603-0836
                                                                                                      Para Espartol, Ext. 2660, 2643
                                                                                                                                     o 2772
                                                                                                          8:00 a.m. - 5:00 p.m Pacific Time
                                                                                                                  Main Office NMLS #5985
                                                                                                                Branch Office NMLS #9785




                   DONAL MARTIN MCDONAGH
                   2416 SANDERS RIDGE                                                                                        May 18, 2018
                   GERMANTOWNTN 38138




   RE: Loan Number:

                                   Subsequent Interest Rate Ad
   THIS COMMUNICATION IS FROM
                                                               justment Notice
                              A DEBT COLLECTOR. SN SERV
                                                       ICING CORPORATION. THEI
   ATTEMPTING TO COLLECT A                                                     R EMPLOYEES, AGENTS AND
                           DEBT. ANY INFORMATION OBTA                                                  ATTORNEYS ARE
                                                       INED BY US WILL BE USED FOR
  MAY HAVE RECEIVED A DISC                                                         THAT PURPOSE. TO THE EXTE
                           HARGE IN BANKRUPTCY Tl IIS                                                        NT THAT YOU
                                                      COMMUNICATION SHOULD NOT
  PERSONAL LIABILITY FOR                                                          BE CONSTRUED AS INTENT TO
                         THE DISCHARGED DEBT.                                                               SUBJECT YOU TO

   Changes to Your Mortgage
                            Interest Rate and Payments
                                                       on July 1. i'OIB

  Under the terms of your Adju
                                  stable-Rate Mortgage (ARM
                                                              ), you had a five-year period
  stayed the same. That period                                                               during which your interest
                                   ends on July 1, 2018, so on                                                          rate
  After that, your interest rate                                that date your interest rate
                                 wilt not change every S year                                and mortgage payment chan
                                                              s for the rest of your loan term                           ge.
                                                                                               .
                                                       :'V
                                                                                                            New Rate
                                                                        and Mo                         and Monthly Payment
          rasi
                                                               -                                 I
          Total Monthly Payment
                                                                   __
                                                                                                                5m"
                                                                           $5,992.45                            $6,201.79
                                                                                                       (due August 1,2018)
 IMPORTANT: To the extent your
                                    original obligation was discharg
 11 of the United States Code, this                                  ed, or is subject to an automati
                                                                                                      c stay of bankruptcy under Title
                                     statement is for compliance and/
 attempt to collect a debt or to                                       or informational purposes only
                                 impose pers                                                            and does not constitute an
                                              onal liability for such obligation
 instrument, including the right                                                 . However, Creditor retains right
                                 to foreclose its lien.                                                            s under its security
 Interest Rate: We calculated your
                                   interest rate by taking a publ ished "index rate" and adding a
 points, called the "margin." Und                                                                  certain number of percentage
                                  er your loan agreement, your
                                                               index rate is the 1 Yr Treas. Sec
 3.00%. The 1 Yr Treas. Sec Wkly                                                                 Wkly Avg and your margin is
                                     Avg index is published Weekly
 rounded to the nearest 0.125%.                                     in The Federal Reserve. The
                                                                                                  index rate plus margin will be
 Rate Limits: Your rate cannot
                               go higherthan 1 2.25%, or lower than 3.00
 years by no more than 2.00%.                                            % over the life of the loan. You
                              Your rate can decrease every                                               r rate can increase every
                                                            5 years by no more than 2.00
 New Interest  Rate and Monthly Payment: The                                               %.
                                             table  above shows your new interest
amounts are based on the 1                                                         rate and new monthly payment.
                           Yr Treas. Sec Wkly Avg index,
                                                         your margin, your loan balance
                                                                                                                   These
loan term of 60 months.                                                                  of $326,650.83, and your rema
                                                                                                                       ining
Prepayment Pgnglty: None
Please continue to mail your
                             payments as previously directed.
question you may have regarding                               The title and telephone number
                                 this notice is:                                             of a person who will answer any

Name: Katie Greene
Title: Asset Manager
Toll Free Number: (800) 603-
                             0836, ext: 2715
     CaseCase
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*tf your account is not contractually currentDbeDBreR^ymeRtagso&iCtfvGill not go into effect
                                                                                             until your loan is due for
08/01/2018.
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                                 CERTIFICATE OF SERVICE

                     STATE OF CALIFORNIA, COUNTY OF HUMBOLDT

            I, Megan M. Lynch, certify that I am a resident of the County aforesaid; I am over

     the age of 18 years and not a party to the within action; my business address is 323 Fifth

     Street, Eureka, California 95501.

            On May 31st 2018 I served the within NOTICE OF MORTGAGE PAYMENT

     CHANGE on all interested parties in this proceeding by placing a true and correct copy

     thereof enclosed in a sealed envelope with postage prepaid in the United States mail at

     Eureka, California, addressed as follows:

     Donal and Michele Mcdonagh
     2416 Sanders Ridge
     Germantown, TN 38138-6144

     George W. Stevenson
     5350 Poplar Avenue, Suite 500
     Memphis, TN 38119-3697

     James D. Gentry
     5100 Poplar Avenue, Suite 2008
     Memphis, TN 38137


            I certify under penalty of perjury that the foregoing is true and correct.

            Executed on May 31st 2018 at Eureka, California.

                                                   /s/ Megan M. Lynch
                                                   Megan M. Lynch
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 Fill in this information to identify the case:


 Debtor 1              DONAL MARTIN MCDONAGH


 Debtor 2              MICHELE RAWLS MCDONAGH
 (Spouse, if filing)


 United States Bankruptcy Court for tbe: Western District of Tennessee

 Case number           12-27642




Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                                                      12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy
filing that you assert are recoverable against the debtor or against the debtor's principal residence.

File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1 .

                            Wilmington Savings Fund Society, FSB, d/b/a Christiana Trust, not in its
                            individual capacity but solely in its capacity as Certificate Trustee for NNPL
                            Trust Series 2012-1
 Name of creditor:                                                                                              Court claim no. (if known): 21_


 Last 4 digits of any number you use to
                                                                       5         8         8
 identify the debtor's account:


 Does this notice supplement a prior notice of postpetition fees,
 expenses, and charges?

        No
 Of Yes. Date of the last notice: 1 2/27/201 7

 Part 1      | Itemize Postpetition Fees, Expenses, and Charges
 Itemize the fees, expenses, and charges incurred on the debtor's mortgage account after the petition was filed. Do not include any
 escrow account disbursements or any amounts previously itemized in a notice filed in this case or ruled on by the bankruptcy court.


      Description                                                                              Dates incurred                                          Amount


  1 . Late charges                                                                                                                               a)    $
  2. Non-sufficient funds (NSF) fees                                                                                                             (2)   $
  3. Attorney fees                                                                                                                               (3)   $
  4. Filing fees and court costs                                                                                                                 (4)   $
  5. Bankruptcy/Proof of claim fees                                                                                                              (5)   $
  6. Appraisal/Broker's price opinion fees                                                                                                       (6)   $
  7. Property inspection fees                                                                  01/05/2018 515, 02/08/2018 $15, 04/04/2018 $15    (7)   $        45.00

  8. Tax advances (non-escrow)                                                                                                                   (8)   $
  9. Insurance advances (non-escrow)                                                                                                             O)    $
 10. Property preservation expenses. Specify:.                                                                                                  (10)   $
 11. Other. Specify:                                                                                                                            (11)   $
 12. Other. Specify:                                                                                                                            (12)   $
 13. Other. Specify:                                                                                                                            (13)   $
 14. Other. Specify:                                                                                                                            (14)   $


 The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
 See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.



Official Form 410S2                                     Notice of Postpetition Mortgage Fees, Expenses, and Charges                                             page 1
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Debtor 1       DONAL MARTIN MCDONAGH                                                         Case number uknomi 12-27642
               First Name      Middle Name              Last Name




 Part 2:
           I   Sign Here



  The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
  telephone number.

  Check the appropriate box.


       I am the creditor.

   ^ I am the creditor's authorized agent.


  I declare under penalty of perjury that the information provided in this claim is true and correct to the best
  of my knowledge, information, and reasonable belief.




               X /si Ankita Gupta                                                            Date    05/02/2018
                  Signature




 Print:            Ankita Gupta                                                              Title   Claims Processor
                  First Name                      Middle Name       Last Name




 Company           AIS Portfolio Services, LP



 Address           P.O. Box 201347
                  Number                 Street

                   Arlington                                        TX          76006
                  City                                              State         Z P Code




 Contact phone     888-455-6662                                                              Email




Official Form 410S2                                 Notice of Postpetition Mortgage Fees, Expenses, and Charges            page 2
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    Case
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                                       IN THE UNITED STATES BANKRUPTCY COURT
                                         FOR THE Western DISTRICT OF Tennessee
                                                   MEMPHIS Division

IN RE:                                                                    Judge: David S. Kennedy
                                                                          Case No. 12-27642

Case Name: Donal Martin Mcdonagh AND Michele Rawls Mcdonagh

                Debtor(s).


                   NOTICE OF POSTPETITION MORTGAGE FEES, EXPENSES AND CHARGES

PLEASE BE ADVISED that on 05/02/2018 (the “Notice Date”), pursuant to Federal Rule of Bankruptcy Procedure 3002.1(c)
(the “Bankruptcy Rules”), SN Servicing Corporation filed a Notice of Postpetition Mortgage Fees, Expenses and Charges (the
“Notice”) on the Bankruptcy Court’s Claims Register, supplementing SN Servicing Corporation’s previously filed proof of claim.
The Notice was filed within 180 days after the date on which the fees, expenses and/or charges were incurred by Donal Martin
Mcdonagh AND Michele Rawls Mcdonagh. A copy of the Notice is attached hereto.

The filing of this Notice, via the Court’s Electronic Filing system, constitutes service upon the Chapter 13 Trustee and counsel for
the Debtor(s), pursuant to Bankruptcy Rule 3002.1 and all applicable Bankruptcy Rules. Further, a copy of the Notice was served
upon the Debtor(s) on the Notice Date, at the address listed below, via Electronic Notice or by First Class U.S. Mail, postage
prepaid, within 180 days after the date on which the fees, expenses and/or charges were incurred by Donal Martin Mcdonagh
AND Michele Rawls Mcdonagh.

Donal Martin Mcdonagh AND Michele Rawls Mcdonagh
2416 SANDERS RIDGE
GERMANTOWN,TN 38138

Date: 05/02/2018
                                                             By: /s/ Ankita Gupta
                                                                  Ankita Gupta, Claims Processor
                                                                  P.O. Box 165028
                                                                  Irving, TX 75016
                                                                  (817) 277-2011 Office
                                                                  (888) 455-6662 Toll Free
                                                                  (817) 461-8070 Fax
                                                                  Authorized Agent for Shellpoint Mortgage Servicing
         DEBTOR ATTORNEY:
         JAMES D GENTRY
         GENTRY ARNOLD & MITCHELL PLLC
         5100 POPLAR AVENUE SUITE 2008
         MEMPHIS,TN 38137

         TRUSTEE:
         GEORGE W STEVENSON
         Trustee of the U.S. Bankruptcy Court
         5350 POPLAR AVENUE SUITE 500
         MEMPHIS,TN 38119
